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 7

 8                                 UNITED STATES BANKRUPTCY COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
10

11    In re                                             Case No. 2:21-bk-11188-BB
12                                                      Chapter 11
      GLENROY COACHELLA, LLC,
13                                                      CHAPTER 11 TRUSTEE’S MOTION TO
                                                        CONVERT CASE TO ONE UNDER
14                     Debtor.                          CHAPTER 7 PURSUANT TO 11 U.S.C.
                                                        §1112(B); MEMORANDUM OF POINTS OF
15                                                      AUTHORITIES; DECLARATION OF
                                                        RICHARD A. MARSHACK IN SUPPORT
16
                                                          Hearing:
17                                                        Date: August 18, 2021
                                                          Time: 10:00 a.m.
18                                                        Ctrm: 15391
19

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25 1 Due to the COVID-19 outbreak, Judge Bluebond will be holding all hearings remotely until further

26 notice. Some hearings will be held via telephone using CourtCall and some hearings will be held via
   ZoomGov. The cover page for the publicly posted hearing calendar will state whether the hearings
27 that day will be held via telephone by CourtCall or via ZoomGov. The calendar is posted to the
   public at least 2 weeks prior to the hearing and can be accessed at the following web address:
28 http://ecf-ciao.cacb.uscourts.gov/CiaoPosted/?jid=BB (Click on the “Select Judge” tab on the upper
   left side of the screen and select Judge Bluebond)
                                                      1
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 1 TO THE HONORABLE SHERI BLUEBOND, UNITED STATES BANKRUPTCY COURT

 2 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED

 3 PARTIES:

 4            Richard A. Marshack, in his capacity as Chapter 11 Trustee (“Trustee”) of the bankruptcy
 5 estate (“Estate”) of Glenroy Coachella, LLC (“Debtor”) moves the Court to convert Debtor’s

 6 Chapter 11 case to Chapter 7 (“Motion”). In support of this Motion, the Trustee represents as

 7 follows:

 8 1.         Summary of Argument
 9            A bankruptcy court shall convert a Chapter 11 case to Chapter 7 upon a showing of cause. In
10 this case, the Estate’s primary asset is the five parcels of real property scheduled by Debtor as being

11 commonly known as 84141 Avenue 48, Coachella, California (“Real Property”), a luxury hotel

12 project that is only partially constructed. Trustee recently reached an agreement with the Estate’s

13 largest secured creditor that, among other things, would allow for the sale of the Property free and

14 clear of its lien pursuant to which the creditor will accept a discounted amount. Trustee has

15 concurrently filed a motion to approve this compromise setting forth the terms of that compromise,

16 which pursuant to its terms must remain effective post-conversion and shall be binding on any

17 successor trustee. Separately, Trustee is finalizing a purchase and sale agreement with a prospective

18 purchaser that has already executed a letter of intent. Given that the Trustee is proceeding with a sale

19 of the Property which is by far the Estate’s largest asset, there is no purpose served by remaining in

20 Chapter 11. Conversion is also in the best interest of the Estate because it will avoid unnecessary

21 Chapter 11 administrative claims on an unnecessary plan of reorganization.

22 2.         Bankruptcy Filing
23            On February 15, 2021, Debtor filed a voluntary petition under Chapter 11 of the Bankruptcy
24 Code. A true and correct copy of this Court’s webPACER Docket for Case No. 2:21-bk-11188-BB

25 as of July 28, 2021, is attached to the Declaration of Richard A. Marshack (“Marshack Declaration”)

26 as Exhibit “1.”

27            On March 19, 2021, as Dk. No. 126, the Court entered an order approving the United States
28 Trustee’s application for the appointment of a Chapter 11 Trustee. Id., pg. 32. Since his appointment,

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 1 the Trustee and his professionals investigated and spent hundreds of hours conducting due diligence

 2 analyzing whether there was any value to be realized from the Property.

 3 3.         The Real Property
 4            A.      Ownership and Encumbrances
 5            On the petition date, Debtor’s primary asset was a 70.5% interest in the Real Property and
 6 a 100% interest in the Project. Debtor owned the Real Property as a tenant-in-common with three

 7 other non-debtor entities: Force Rubin LLC (3.7885%); Force Rubin 2, LLC (21.2115%); and

 8 Coachella Resort, LLC (4.5%) (collectively, the “TICs”). To facilitate Trustee’s sale of the Real

 9 Property, the TICs have delivered grant deeds transferring their collective 29.5% interest in the

10 Real Property to Trustee (“Deeds”). The Deeds were recorded on July 2, 2021, and the Court

11 entered an order approving the TIC Agreement on July 28, 2021.2

12            The Real Property is encumbered by California Statewide Communities Development
13 Authority (“PACE”) liens against the Real Property (“PACE Liens”) and Mello Roos assessments

14 by the Community Facilities District No. 2005 (“Mello Roos Assessments”) which have asserted

15 claims of approximately $11,400,000. The PACE Liens and Mellos Roos Assessments are in first

16 priority along with delinquent real property taxes in the approximate amount of $688,477. A true and

17 correct copy of recent Preliminary Title Reports3 (“PTRs”) for the five parcels are attached to the

18 Marshack Declaration as Exhibits “2-6.”

19            There are approximately 33 mechanic’s liens totaling approximately $9 million that have
20 been recorded against the Real Property (“Mechanic’s Liens”), and at least thirteen lis pendens

21 related to pending lawsuits have been recorded (“Lis Pendens”).

22            There is also a deed of trust held by U.S. Real Estate Credit Holdings III-A (“Lender”),
23 which has filed a secured proof of claim in the amount of $30,878,944.46 (“Lender Lien”).

24

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     2
26   On May 25, 2021, when the Trustee initially attempted to record the deeds delivered by the TICs to
   the Trustee, the Riverside County Recorder’s Office notified the Trustee of deficiencies related to
27 the deeds. All deficiencies have been corrected and, as noted above, the Deeds have been recorded.

28 3 Separate PTRs have been prepared for each of the Parcels 1, 2, 4, 5 and 6, respectively, and they
   are attached to the Marshack Declaration as Exhibits “2-6”.
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 1 Certificates of Indebtedness were recorded against the Real Property by the Receiver and in favor of

 2 Lender totaling $2,406,718.57 (“Certificates”), and Trustee is informed that additional Receiver’s

 3 Certificates have been issued and, although not recorded, are of super-priority status against any

 4 non-Debtor interests in accordance with the order appointing the receiver in the state court action

 5 which remains pending.

 6            There are ongoing disputes between the holders of the Mechanic’s Liens and Lender
 7 regarding whose liens have priority.

 8            Lastly, there is a judgment in the amount of $94,275.04 recorded against the Real Property
 9 on August 29, 2019, related to a U.S. District Court lawsuit entitled Silhouette Outdoor Furniture,

10 Inc. v. Glenroy Coachella, LLC, Case No. EDCV 19-00373-CJC(KKx) (“Silhouette Lien”).

11            B.      Marketing Efforts and Sale of the Real Property
12            According to the Schedules prepared by the Debtor, Debtor’s 70.5% of the Real Property was
13 worth $52.2 million as of the Petition Date. Upon his appointment, Trustee immediately mobilized

14 with his professionals to investigate and ascertain the Debtor’s assets and liabilities, with a primary

15 focus on creating a path for the Property to be administered for and the benefit of the Estate.

16            Trustee has met with a number of parties potentially interested in purchasing the Property. To
17 date, Trustee has a signed letter of intent. Proceeding with finalizing a proposed purchase and sale

18 agreement, however, was slowed by negotiations to get Lender’s consent to a sale free and clear of

19 its lien for a substantially discounted amount (subject to the terms of the compromise), without

20 which it would have been difficult, if not impossible, for Trustee to effectuate a sale.

21            Trustee has concurrently filed motions for approval of the agreement with Lender and will
22 file a motion for approval of overbid procedures in the very near future.

23            C.      Valuation of the Property and Anticipated Completion Costs
24            Trustee spent considerable time investigating and analyzing the anticipated costs to complete
25 construction of the Hotel and the Project. To that end, Trustee and his professionals interviewed Mr.

26 Lyle of Coldwell Banker and Mr. Reay of Atlas Hospitality who specialize in the marketing of

27 similar hotel projects in the Coachella Valley. Trustee assessed the market report for Coachella

28 Valley hotel comparables obtained from Coldwell Banker.

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 1            Based on the information provided by Mr. Lyle and Mr. Reay, it appeared to that there was
 2 little to no equity in the Property based on the amount of recorded liens. Moreover, given the lack of

 3 liquid assets in the Estate, Trustee concluded that the Estate was not in a position to finance the

 4 completion of construction. As such, a sale of the Real Property is the best course of action for the

 5 Estate because Lender has agreed to a release price of not less than $27.2 million (plus any post-

 6 petition taxes and related delinquencies paid by Lender) for the sale to Buyer. If the transaction is

 7 concluded, approximately $42 million of debt against the Estate will be eliminated.

 8            D.      Ongoing Post-Petition Expenses
 9            Aside from any benefit that will inure to the Estate pursuant to the proposed sale, Debtor has
10 no money and continues to incur substantial post-petition fees, and administrative expenses.

11 Quarterly fees payable to the Office of the United States Trustee (“UST”) also continue to accrue.

12 Indeed, the number and amount of secured claims recorded against the Real Property create the real

13 possibility that the Estate will not realize sufficient funds from a sale to pay administrative expenses

14 in full whether or not the case is converted. But, Trustee and his retained professionals have accepted

15 this risk to get secured claims paid and minimize claims against the Estate that can be paid from

16 potential avoidance actions.

17            To date, Lender has been footing the bill to maintain the Property, including upkeep, taxes,
18 and insurance. Lender has accrued more than $400,000 in administrative expenses4 and continues to

19 accrue ongoing costs of approximately $130,000 per month to preserve and protect the Property,

20 exclusive of real estate taxes and without accounting for professional fees and legal fees. See

21 Declaration of Simond Lavian in support of Lender’s opposition to the Trustee’s motion for

22 extension of time limits, Dk. No. 233 (“Lender Oppo”), ¶¶ 3-4. Moreover, semi-annual property

23 taxes are now due in the amount of $688,477 and are delinquent and accruing interest. Id., ¶ 4.

24 Understandably, Lender has expressed extreme frustration at having to pay these huge and

25 continuous sums of cash. See, generally, Lender Oppo.

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    Which amount will be allowed as a Chapter 11 administrative claim pursuant to the Agreement
28 between Lender and the Trustee.

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 1 4.         Legal Discussion
 2            Section 1112(b)5 prescribes the general procedure for the conversion or dismissal of a
 3 Chapter 11 case upon the motion of any party in interest. Relief under Section 1112(b) is predicated

 4 on a showing of “cause.” If a movant establishes “cause,” after notice and a hearing, the Court shall

 5 dismiss or convert a case from Chapter 11 to Chapter 7 depending on what’s in the best interests of

 6 creditors. 11 U.S.C. § 1112(b)(2).

 7            Section 1112(b)(4) enumerates 16 non-exclusive examples of “cause” including, among
 8 other things:

 9            (A)     substantial or continuing loss to or diminution of the estate and the
                      absence of a reasonable likelihood of rehabilitation;
10                    …
              (J)     failure to file a disclosure statement, or to file or confirm a plan, within the
11                    time fixed by this title or by order of the court; and
                      …
12
              (M)     inability to effectuate substantial consummation of a confirmed plan.
13
     11 U.S.C §112(b)(4)(A), (J), and (M).
14
              The statutory factors set forth in § 1112(b)(4) are non-exclusive, and Courts have broad
15
     discretion in determining what constitutes “cause” under the statute. In re Sullivan, 522 B.R. 604,
16
     614 (9th Cir. BAP 2014). Any one of the 16 grounds may be sufficient to justify the conversion or
17
     dismissal of a case. See, 11 U.S.C. § 1112(b)(4); In re SGL Carbon Corp., 200 F.3d 154 (3d Cir.
18
     1999); In re Koerner, 800 F.2d 1358 (5th Cir. 1986). But the decision to convert or dismiss remains
19
     within the discretion of the court. See, In re Lumber Exchange Building Ltd. Partnership, 968 F.2d
20
     647 (8th Cir. 1992); In re Albany Partners, 749 F.2d 670 (11th Cir. 1984).
21
              A.      There is cause to convert under 11 U.S.C. § 1112(b)(4)(A) because
22
                      continuing in Chapter 11 will cause a diminution of the estate.
23
              Establishing cause under § 1112(b)(4)(A) requires the satisfaction of two elements. First, the
24
     Trustee must establish that there is “a substantial or continuing loss to or diminution of the estate.”
25
     Second, the Court must find that there is an “absence of a reasonable likelihood of rehabilitation.” In
26

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   5
     Unless otherwise indicated, all Chapter and Section references are to the Bankruptcy Code, 11
28 U.S.C. §§ 101–1532. All references to “Rule” refer to the Federal Rules of Bankruptcy Procedure.

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 1 re Continental Holdings, Inc., 170 B.R 919 (Bankr. N.D. Ohio 1994); In re Great Am. Pyramid Joint

 2 Venture, 144 B.R. 780 (Bankr. W.D. Tenn. 1992). If both conditions exist, cause exists and the court

 3 shall dismiss or convert the case. In re Johnston, 149 B.R. 158 (9th Cir. B.A.P. 1992).

 4            Significantly, the second part of the test under section 1112(b)(4)(A) requires a reasonable
 5 likelihood of “rehabilitation,” not “reorganization.” Thus, the standard is not whether the debtor can

 6 confirm a plan, but, rather, whether the debtor's business prospects justify continuance of the

 7 reorganization effort. See, Johnston, supra, 149 B.R. at 162 (debtor lacks sufficient income to fund

 8 a plan). See also, Quarles v. United States Trustee, 194 B.R. 94 (W.D. Va. 1996) (no likelihood of

 9 rehabilitation where debtor was losing money and only hope of reorganization depended entirely on

10 speculative outcomes in pending litigation). In almost every case, the Chapter 11 debtor’s prospects

11 will depend on whether the debtor has formulated, or can formulate within a reasonable amount of

12 time, a reasonably detailed plan.

13            Here, there is no likelihood, let alone a reasonable likelihood, of rehabilitating this Debtor.
14 The Trustee has assessed the market report for Coachella Valley hotel comparables obtained from

15 Coldwell Banker, and he does not believe that the Estate is in a position to finance the completion of

16 construction. Debtor continues to accrue hundreds of thousands of dollars in Chapter 11

17 administrative claims, UST fees, taxes, and other costs. At this point, it is in the best interest of the

18 Estate to consummate sale of the Real Property to Buyer, and make a distribution to creditors

19 according to the provisions of the Bankruptcy Code. Thus, there is no reason for the Estate to

20 continue to incur the additional administrative cost of being in a Chapter 11 proceeding nor to seek

21 confirmation of a liquidating Chapter 11 plan.

22            Additionally, the Debtor is not operating a business and has no operating income with which
23 to fund a Chapter 11 plan of reorganization. As a result, remaining in Chapter 11 post-sale will only

24 generate unnecessary administrative claims opposing Debtor’s disclosure statement and plan,

25 quarterly fees, and operating reports. Debtor’s lack of business precludes any finding of a reasonable

26 likelihood of rehabilitation and continuing any reorganization effort in Chapter 11 case is neither

27 justified nor in the best interests of the Estate.

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 1            B.      There is cause to convert under 11 U.S.C. § 1112(b)(4)(J) because
 2                    Debtor has not filed a disclosure statement or confirmed a plan
 3                    within the time fixed by this title.
 4            “[A] debtor’s inability to accomplish substantive progress toward confirmation inherently
 5 carries the risk of unreasonable and undue delay, which is nearly always prejudicial toward

 6 creditors…” Samuels v. Wilmington Sav. Fund Soc’y (In re Samuels), 2019 Bankr. LEXIS 3595, at

 7 *6 (1st Cir. BAP 2019) (quoting Synovus Bank v. Brooks (In re Brooks), 488 B.R. 483, 490 (Bankr.

 8 N.D. Ga. 2013)). “[F]ailure to confirm a plan itself constitutes cause for dismissing a chapter 11

 9 petition.’” Id. (quoting Aleshire v. Wells Fargo Bank, N.A., 589 B.R. 154, 162 (N.D. Ill. 2018)).

10            Debtor, which has acknowledged it is a single asset real estate debtor, has failed to confirm a
11 plan in the four-month period post-petition. Thus, cause exists to dismiss or convert this case

12 pursuant to § 1112(b)(4)(J). See In re CCT Communs., Inc., 420 B.R. 160, 174 (Bankr. S.D.N.Y.

13 2009) (finding that movant sustained its burden of proof that cause exists under § 1112(b)(4)(J)

14 when debtor failed to confirm a plan within the statutory deadline).

15            C.      There is cause to convert under 11 U.S.C. § 1112(b)(4)(M) because
16                    Debtor has no ability to effectuate substantial consummation of a
17                    confirmed plan.
18            “Inability to effectuate a plan arises where the debtor lacks the capacity to ‘formulate a plan
19 or carry one out.’” Hall v. Vance, 887 F.2d 1041, 1044 (10th Cir. 1989); see, also, In re Blunt, 236

20 B.R. 861, 864 (Bankr. M.D. Fla. 1999). As explained above, confirming a Chapter 11 plan would be

21 difficult, if not impossible. Trustee is about to sell Debtor’s most valuable asset, Debtor is not

22 engaged in any post-petition business activities, Debtor continues to accrue enormous post-petition

23 fees and expenses, and there is currently no source of income from which to pay such fees and

24 expenses. Given the vastly divergent positions of the various lienholders and creditors in this case,

25 the plan confirmation process could require lengthy negotiations and potentially extensive litigation.

26 The Estate simply does not have the funds to pay professionals to prepare a plan and take it to

27 confirmation.

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 1            The Estate’s creditors will benefit from the conversion as the Trustee believes that he can
 2 administer the Estate more cost-effectively in a Chapter 7. Specifically, by converting the case to a

 3 Chapter 7 proceeding, Trustee will avoid the administrative expenses associated with confirmation

 4 of a Chapter 11 plan. In turn, the Trustee anticipates that this savings will result in a higher

 5 distribution to creditors.

 6            D.      Conversion, rather than dismissal, is in the best interests of the
 7                    creditors and the Estate.
 8            Section 1112(b)(1) provides, in relevant part, that “...the court shall convert a case under this
 9 chapter to a case under chapter 7 or dismiss a case under this chapter, whichever is in the best

10 interests of creditors and the estate, for cause ....” 11 U.S.C. § 1112(b)(1). Emphasis added. If cause

11 is established, the decision whether to convert or dismiss the case falls within the sound discretion of

12 the court. In re Sullivan, 522 B.R. 604, 612 (9th Cir. B.A.P. 2014) (citing Mitan v. Duval (In re

13 Mitan), 573 F.3d 237, 247 (6th Cir.2009)). Thus, “[t]he standard for choosing conversion or

14 dismissal based on ‘the best interest of creditors and the estate’ implies a balancing test to be applied

15 through case-by-case analysis.” In re Staff Inv. Co., 146 B.R. at 260.

16            The Ninth Circuit has held that, “when deciding between dismissal and conversion under 11
17 U.S.C. § 1112(b), the court must consider the interests of all of the creditors.” See, In re Owens, 552

18 F.3d 958, 961 (9th Cir. 2009) (internal quotation omitted) (emphasis in original). “The element of

19 the best interest of the estate focuses upon whether the economic value of the estate is greater inside

20 or outside of bankruptcy…As [a chapter 7] trustee's powers to recover property are generally greater

21 than would be available outside of bankruptcy, this factor tends to favor conversion where there is

22 not continuing revenue-generating activity.” In re Staff Inv. Co., 146 B.R. at 261. Emphasis added.

23            In this case, conversion is in the best interests of creditors and the Estate. This case was filed
24 by Debtor after engaging in unsuccessful litigation prior to bankruptcy (which resulted in the

25 appointment of a receiver) and in the face of serious allegations of misconduct against Debtor’s

26 principals. See, generally, Declarations of Marsha A. Houston, Simond Lavian, and Gary Stiffleman

27 in support of Lender’s motion for appointment of a Chapter 11 trustee, Dk. Nos. 18, 19, and 21. To

28 the extent possible, the claims that Debtor incurred can and should be paid by the Trustee. If the case

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 1 were dismissed, litigation would likely continue while Debtor continues to accrue substantial

 2 additional debt. Additionally, a foreclosure by Lender which has already recorded a notice of default

 3 and notice of sale would potentially result in a number of lien creditors becoming unsecured which

 4 would dilute the estate’s unsecured creditor body.

 5            E.      The Estate’s professionals should continue their representation of the
 6                    Estate upon conversion.
 7            While the conversion of a case to a different chapter automatically terminates a trustee’s
 8 service, “a trustee may continue serving the estate until further order of the court if necessary to

 9 preserve the assets of the estate.” In re Seychelles, 30 B.R. 75, 76 fn.1 (Bankr. N.D. Tex. 1983)

10 (citing and interpreting In Re Alpine Lumber and Nursery, 13 B.R. 977 (D.Bkrtcy.S.D.Ca.1981)); §

11 328(e). It follows that professionals retained by the Trustee to represent the Estate should similarly

12 continue to serve the estate.

13            If upon conversion to Chapter 7, a different trustee is appointed and that trustee chooses to
14 retain substitute professionals, it is within his or her discretion pursuant to 11 U.S.C. §§ 327 or 328.

15 However, if the current Trustee is reappointed post-conversion, he anticipates retaining the same

16 professionals. Specifically, in light of the complexity of the issues that will remain in the case upon

17 conversion, and the professionals’ familiarity with these issues, the Trustee believes it would be in

18 the best interest of the Estate to allow the same firms to continue their representation of the Estate.

19 To resolve any ambiguity regarding employment post-conversion, the Trustee requests an order

20 reflecting that the professionals retained by the Trustee to represent the Estate pre-conversion shall

21 continue to represent the Estate post-conversion without the need for further order of the Court. The

22 Trustee suggests that upon conversion, and if he is appointed, the Trustee will file a notice of post-

23 conversion retention of professionals.

24            F.      The Compromise with the Lender Should Remain Effective
25                    Notwithstanding any Conversion.
26            As set forth in the Compromise Motion and as expressly set forth in the settlement agreement
27 between Trustee and Lender, the terms of the settlement, including all releases, allowances of claim,

28 and the like, are to remain effective notwithstanding any conversion of this bankruptcy case. Trustee

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 1 has agreed to be bound by the settlement terms, subject to court approval, and the terms of such

 2 settlement and Lender’s willingness to proceed with the settlement are expressly conditioned on the

 3 settlement remaining effective post-conversion and effective as against any successor trustee, if one

 4 is appointed.

 5 5.         Conclusion
 6            For all the foregoing reasons, Trustee requests that the Court grant this Motion and enter an
 7 order authorizing:

 8            1.      Conversion of the case from Chapter 11 to Chapter 7;
 9            2.      That the professionals retained by the Trustee to represent the Estate pre-conversion
10 shall continue to represent the Estate post-conversion without the need for further order of the Court;

11 and

12            3.      That the conversion shall not affect the proposed compromise reached with Lender.
13

14 Dated: July 28, 2021                                    MARSHACK HAYS LLP
15
                                                           By: /s/ Chad V. Haes
16                                                           D. EDWARD HAYS
                                                             CHAD V. HAES
17                                                           Attorneys for Chapter 11 Trustee,
                                                             Richard A. Marshack
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 1                                 Declaration of Richard A. Marshack
 2

 3            I, RICHARD A. MARSHACK, declare and state:
 4            1.      I am the duly-appointed Chapter 11 Trustee of the bankruptcy estate (“Estate”) of
 5 Glenroy Coachella, LLC (“Debtor”). The matters stated below are within my own knowledge or

 6 information and, if called upon to testify, I could and would competently testify thereto.

 7            2.      I make this declaration in support of my Motion to Convert Chapter 11 Case to One
 8 Under Chapter 7 Pursuant to 11 U.S.C. §1112(b) (“Motion.”)

 9            3.      I reviewed the docket in this case prior to execution of this Declaration to refresh my
10 memory as to the dates on which particular documents were filed.

11            4.      On February 15, 2021, Debtor filed a voluntary petition under Chapter 11 of the
12 Bankruptcy Code. A true and correct copy of this Court’s webPACER Docket for Case No. 2:21-bk-

13 11188-BB as of July 28, 2021, is attached here as Exhibit “1.”

14            5.      On March 19, 2021, as Dk. No. 126, the Court entered an order approving the United
15 States Trustee’s application for the appointment of a Chapter 11 Trustee.

16            6.      Since my appointment, my professionals and I have investigated and spent hundreds
17 of hours conducting due diligence analyzing whether there was any value to be realized from the real

18 property scheduled by Debtor as being located at and commonly known as 84-141 Avenue 48,

19 Coachella, California (“Real Property”).

20            7.      Debtor owns approximately 70.5% of the Real Property as a tenant-in-common with
21 three other non-debtor entities (“TICs”) and a 100% interest in the hotel development project. To

22 facilitate a sale of the Real Property, the other approximate 29.5% of the Real Property has been

23 deeded to me. The deeds were recorded on July 2, 2021, and the Court entered an order approving

24 the TIC Agreement on July 28, 2021.

25            8.      The Real Property is encumbered by California Statewide Communities Development
26 Authority (“PACE”) liens against the Real Property (“PACE Liens”) and Mello Roos assessments

27 by the Community Facilities District No. 2005 (“Mello Roos Assessments”) which total

28 approximately $11,400,000. The PACE Liens and Mello Roos Assessments are in first priority along

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 1 with delinquent real property taxes in the approximate amount of $688,477. A true and correct copy

 2 of recent Preliminary Title Reports (“PTRs”) for the five parcels are attached hereto as Exhibits “2-

 3 6.”

 4            9.      There are approximately 33 mechanic’s liens totaling approximately $9 million that
 5 have been recorded against the Real Property (“Mechanic’s Liens”), and at least thirteen lis pendens

 6 related to pending lawsuits have been recorded (“Lis Pendens”).

 7            10.     There is also a deed of trust held by U.S. Real Estate Credit Holdings III-A
 8 (“Lender”), which has filed a secured proof of claim in the amount of $30,878,944.46 (“Lender

 9 Lien”). Certificates of Indebtedness were recorded against the Real Property by the Receiver and in

10 favor of Lender totaling $2,406,718.57 (“Certificates”). I am informed that additional Receiver’s

11 Certificates have been issued and, although not recorded, are of super-priority status against any

12 non-Debtor interests in accordance with the order appointment the receiver in the state court action

13 which remains pending.

14            11.     There are ongoing disputes between the holders of the Mechanic’s Liens and Lender
15 regarding whose liens have priority.

16            12.     Lastly, there is a judgment in the amount of $94,275.04 recorded against the Real
17 Property on August 29, 2019, related to a U.S. District Court lawsuit entitled Silhouette Outdoor

18 Furniture, Inc. v. Glenroy Coachella, LLC, Case No. EDCV 19-00373-CJC(KKx) (“Silhouette

19 Lien”).

20            13.     I have met with a number of parties potentially interested in purchasing the Real
21 Property. To date, I have a signed letter of intent with a prospective purchaser and am working on

22 finalizing a purchase and sale agreement. I expect to file a motion to approve a proposed sale prior to

23 the hearing on this motion. Under my proposed agreement with Lender, it will consent to a sale free

24 and clear of its lien upon satisfaction of certain conditions including a minimum cash payment and a

25 closing on or before September 30, 2021.

26            14.     I have spent considerable time investigating and analyzing the anticipated costs to
27 complete construction of the Hotel and the Project. To that end, my professionals and I have

28 interviewed Mr. Lyle of Coldwell Banker and Mr. Reay of Atlas Hospitality who specialize in the

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 1 marketing of similar hotel projects in the Coachella Valley. I assessed the market report for

 2 Coachella Valley hotel comparables obtained from Coldwell Banker.

 3            15.     Based on the information provided by Mr. Lyle and Mr. Reay, it appeared that there
 4 was little to no equity in the Property based on the amount of recorded liens. Moreover, given the

 5 lack of liquid assets in the Estate, I have concluded that the Estate is not in a position to finance the

 6 completion of construction. As such, the sale of the Real Property and hotel project is the best course

 7 of action for the Estate because Lender has agreed to a release price that I believe will allow me to

 8 sell the property free and clear of liens. If that transaction is concluded, tens of millions of dollars of

 9 debt against the Estate will be eliminated.

10            16.     Debtor has no money, but the estate continues to incur substantial post-petition fees,
11 administrative expenses, and real property taxes. Quarterly fees payable to the Office of the United

12 States Trustee (“UST”) also continue to accrue.

13            17.     The number and amount of secured claims recorded against the Real Property create
14 the real possibility that the Estate will not realize sufficient funds post-sale to pay administrative

15 expenses in full. My retained professionals and I are accepting this risk in order to attempt to get

16 secured claims paid and minimize claims against the Estate that can be paid from potential

17 avoidance actions.

18            18.     To date, Lender has been footing the bill to maintain the Property, including upkeep,
19 taxes, and insurance. I am informed and believe that Lender has accrued at least $400,000 in

20 administrative expenses and continues to accrue ongoing costs of approximately $130,000 per month

21 to preserve and protect the Property, exclusive of real estate taxes and without accounting for

22 professional fees and legal fees.

23            19.     There is no reason for the Estate to continue to incur the additional administrative
24 cost of being in a Chapter 11 proceeding nor to seek confirmation of a liquidating Chapter 11 plan.

25            20.     There is no likelihood, let alone a reasonable likelihood, of rehabilitating this Debtor.
26            21.     So long as this Debtor remains in Chapter 11, it must continue to prepare monthly
27 operating reports and pay quarterly fees. These administrative costs are unnecessary and only serve

28 to diminish the Estate.

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 1            22.     To ensure that the interests of Debtor and the Estate are furthered, and assets are
 2 safeguarded for the benefit of creditors, the case should be converted to one under Chapter 7.

 3            23.     I declare that the foregoing is true and correct under the penalty of perjury. Executed
 4 July 28, 2021.

 5                                                  ____________________________
                                                    RICHARD A. MARSHACK
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                                                                                                                     DsclsDue, PlnDue


                                                  U.S. Bankruptcy Court
                                         Central District of California (Los Angeles)
                                          Bankruptcy Petition #: 2:21-bk-11188-BB
                                                                                                             Date filed: 02/15/2021
 Assigned to: Sheri Bluebond                                                                               341 meeting: 09/10/2021
 Chapter 11                                                                                 Deadline for filing claims: 04/30/2021
                                                                                     Deadline for filing claims (govt.): 08/24/2021
 Voluntary
                                                                                   Deadline for objecting to discharge: 05/17/2021
 Asset


 Debtor                                                                             represented by Crystle Jane Lindsey
 Glenroy Coachella, LLC                                                                            Weintraub & Selth, APC
 1801 S. La Cienega Blvd., Suite 301                                                               11766 Wilshire Blvd.
 Los Angeles, CA 90035                                                                             Suite 1170
 LOS ANGELES-CA                                                                                    Los Angeles, CA 90025
 Tax ID / EIN: XX-XXXXXXX                                                                          (310) 207-1494
                                                                                                   Fax : (310) 442-0660
                                                                                                   Email: crystle@wsrlaw.net

                                                                                                        James R Selth
                                                                                                        Weintraub & Selth APC
                                                                                                        11766 Wilshire Blvd Ste 1170
                                                                                                        Los Angeles, CA 90025
                                                                                                        310-207-1494
                                                                                                        Fax : 310-442-0660
                                                                                                        Email: jim@wsrlaw.net

                                                                                                        Daniel J Weintraub
                                                                                                        Weintraub and Selth APC
                                                                                                        11766 Wilshire Blvd Ste 1170
                                                                                                        Los Angeles, CA 90025-6553
                                                                                                        310-207-1494
                                                                                                        Fax : 310-442-0660
                                                                                                        Email: dan@wsrlaw.net

 Trustee                                                                            represented by Chad V Haes
 Richard A Marshack (TR)                                                                           Marshack Hays LLP
 Marshack Hays LLP                                                                                 870 Roosevelt Ave
 870 Roosevelt                                                                                     Irvine, CA 92620
 Irvine, CA 92620                                                                                  949-333-7777
 949-333-7777                                                                                      Fax : 949-333-7778
                                                                                                   Email: chaes@marshackhays.com

                                                                                                        D Edward Hays
                                                                                                        Marshack Hays LLP
                                                                                                        870 Roosevelt Ave
                                                                                                        Irvine, CA 92620
                                                                                                        949-333-7777
                                                                                                        Fax : 949-333-7778

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                                                                                                        Email: ehays@marshackhays.com

 U.S. Trustee                                                                       represented by Eryk R Escobar
 United States Trustee (LA)                                                                        Office of the United States
 915 Wilshire Blvd, Suite 1850                                                                     Trustee
 Los Angeles, CA 90017                                                                             915 Wilshire Blvd., Suite 1850
 (213) 894-6811                                                                                    Los Angeles, CA 90017
                                                                                                   202-934-4168
                                                                                                   Fax : 213-894-2603
                                                                                                   Email: eryk.r.escobar@usdoj.gov

                                                                                                        Kenneth G Lau
                                                                                                        Office of the United States
                                                                                                        Trustee
                                                                                                        125 Ottawa Avenue NW
                                                                                                        Suite 200R
                                                                                                        Grand Rapids, MI 49503
                                                                                                        616-456-2002
                                                                                                        Fax : 616-456-2550
                                                                                                        Email: kenneth.g.lau@usdoj.gov
                                                                                                        TERMINATED: 02/23/2021

 Creditor Committee                                                                 represented by Daren Brinkman
 Committee of Unsecured Creditors, Committee of                                                    4333 Pk Terr Dr Ste 205
 Unsecured Creditors                                                                               Westlake Village, CA 91361
                                                                                                   818-597-2992
                                                                                                   Email: office@brinkmanlaw.com

     Filing Date                         #                                                      Docket Text

                                       1                      Chapter 11 Voluntary Petition Non-Individual. Fee Amount $1738 Filed
                                       (34 pgs; 2 docs)       by Glenroy Coachella, LLC Summary of Assets and Liabilities (Form
                                                              106Sum or 206Sum ) due 03/1/2021. Schedule A/B: Property (Form
                                                              106A/B or 206A/B) due 03/1/2021. Schedule C: The Property You Claim
                                                              as Exempt (Form 106C) due 03/1/2021. Schedule D: Creditors Who Have
                                                              Claims Secured by Property (Form 106D or 206D) due 03/1/2021.
                                                              Schedule E/F: Creditors Who Have Unsecured Claims (Form 106E/F or
                                                              206E/F) due 03/1/2021. Schedule G: Executory Contracts and Unexpired
                                                              Leases (Form 106G or 206G) due 03/1/2021. Schedule H: Your Codebtors
                                                              (Form 106H or 206H) due 03/1/2021. Declaration Under Penalty of
                                                              Perjury for Non-Individual Debtors (Form 202) due 03/1/2021. Statement
                                                              of Financial Affairs (Form 107 or 207) due 03/1/2021. Incomplete Filings
                                                              due by 03/1/2021. (Weintraub, Daniel) WARNING: CASE IS NOT
                                                              DEFICIENT FOR: Schedule C (Form 106C) as this document is not
                                                              required in a Chapter 11 Non-Individual Case; Modified on 2/16/2021
   02/15/2021                                                 (Jackson, Wendy Ann). (Entered: 02/15/2021)

                                       2                      Statement of Corporate Ownership filed. Corporate parents added to case:
                                       (3 pgs)                Glenroy Coachella Holdings, LLC. Filed by Debtor Glenroy Coachella,
   02/15/2021                                                 LLC. (Weintraub, Daniel) (Entered: 02/15/2021)

                                                              Receipt of Voluntary Petition (Chapter 11)(2:21-bk-11188) [misc,volp11]
                                                              (1738.00) Filing Fee. Receipt number 52469470. Fee amount 1738.00. (re:
   02/16/2021                                                 Doc# 1) (U.S. Treasury) (Entered: 02/16/2021)

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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
   02/16/2021                          3                      Notice to Filer of Correction Made/No Action Required: Incorrect
                                                              schedules /statements recorded as deficient. THE PROPER
                                                              DEFICIENCY HAS BEEN ISSUED. CASE IS NOT DEFICIENT
                                                              FOR: Schedule C (Form 106C); (RE: related document(s)1 Voluntary
                                                              Petition (Chapter 11) filed by Debtor Glenroy Coachella, LLC) (Jackson,
                                                              Wendy Ann) (Entered: 02/16/2021)

                                       4                      Request for courtesy Notice of Electronic Filing (NEF) Filed by Selth,
   02/16/2021                          (1 pg)                 James. (Selth, James) (Entered: 02/16/2021)

                                       5                      Order setting initial status conference in chapter 11 case (BNC-PDF)
                                       (4 pgs)                Signed on 2/16/2021 (RE: related document(s)1 Voluntary Petition
                                                              (Chapter 11) filed by Debtor Glenroy Coachella, LLC). Status hearing to
                                                              be held on 4/7/2021 at 10:00 AM at Crtrm 1539, 255 E Temple St., Los
                                                              Angeles, CA 90012. The case judge is Sheri Bluebond Initial Status
                                                              Conference Report Due By 3/24/2021. (Jackson, Wendy Ann) (Entered:
   02/16/2021                                                 02/16/2021)

                                       6                      Hearing Set (RE: related document(s)1 Voluntary Petition (Chapter 11)
                                                              filed by Debtor Glenroy Coachella, LLC) Status hearing to be held on
                                                              4/7/2021 at 10:00 AM at Crtrm 1539, 255 E Temple St., Los Angeles, CA
                                                              90012. The case judge is Sheri Bluebond (Jackson, Wendy Ann) (Entered:
   02/16/2021                                                 02/16/2021)

                                       7                      Meeting of Creditors 341(a) meeting to be held on 3/16/2021 at 09:00 AM
                                       (2 pgs)                at UST-LA2, TELEPHONIC MEETING. CONFERENCE LINE:1-866-
                                                              816-0394, PARTICIPANT CODE:5282999. Last day to oppose discharge
   02/16/2021                                                 or dischargeability is 5/17/2021. (Ventura, Olivia) (Entered: 02/16/2021)

                                       8                      Request for courtesy Notice of Electronic Filing (NEF) Filed by Tippie,
   02/16/2021                          (1 pg)                 Alan. (Tippie, Alan) (Entered: 02/16/2021)

                                       9                      Request for courtesy Notice of Electronic Filing (NEF) Filed by
   02/16/2021                          (1 pg)                 Horoupian, Mark. (Horoupian, Mark) (Entered: 02/16/2021)

                                       10                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Kogan,
   02/17/2021                          (1 pg)                 Michael. (Kogan, Michael) (Entered: 02/17/2021)

                                       11                     Notice of Appearance and Request for Special Notice Filed by Creditor
                                       (3 pgs)                U.S. Real Estate Credit Holdings III-A, LP. (Houston, Marsha) (Entered:
   02/17/2021                                                 02/17/2021)

                                       12                     Notice to Filer of Error and/or Deficient Document Incorrect docket
                                                              event was used to file this document. The correct docket event is:
                                                              Notice of Appearance and Request for Notice; THE FILER IS
                                                              INSTRUCTED TO RE-FILE THE DOCUMENT USING THE
                                                              CORRECT DOCKET EVENT. (RE: related document(s)11 Notice filed
                                                              by Creditor U.S. Real Estate Credit Holdings III-A, LP) (Jackson, Wendy
   02/17/2021                                                 Ann) (Entered: 02/17/2021)

   02/17/2021                          13                     Application to Employ Weintraub & Selth, APC as General Bankruptcy
                                       (27 pgs)               Counsel Notice of Opportunity to Request Hearing on Motion and
                                                              Application of Chapter 11 Debtor and Debtor in Possession to Employ
                                                              Weintraub & Selth, APC, as General Bankruptcy Counsel Effective
                                                              February 15, 2021; Declarations of Daniel J. Weintraub and Stuart Rubin
                                                              in Support Thereof Filed by Debtor Glenroy Coachella, LLC (Weintraub,
                                                              Daniel) (Entered: 02/17/2021)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                 3/38


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                                       14                     Notice of Appearance and Request for Notice by Debra Riley Filed by
                                       (2 pgs)                Creditor California Statewide Communities Development Authority.
   02/17/2021                                                 (Riley, Debra) (Entered: 02/17/2021)

                                       15                     Motion to Set Last Day to File Proofs of Claim Filed by Debtor Glenroy
   02/17/2021                          (8 pgs)                Coachella, LLC (Lindsey, Crystle) (Entered: 02/17/2021)

                                       16                     Motion to Appoint Trustee Motion for the Appointment of a Chapter 11
                                       (25 pgs)               Trustee Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP
   02/17/2021                                                 (Rivas, Christopher) (Entered: 02/17/2021)

                                       17                     Notice of Hearing Notice of Motion for Appointment of a Chapter 11
                                       (4 pgs)                Trustee Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE:
                                                              related document(s)16 Motion to Appoint Trustee Motion for the
                                                              Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real Estate
   02/17/2021                                                 Credit Holdings III-A, LP). (Rivas, Christopher) (Entered: 02/17/2021)

                                       18                     Declaration re: Declaration of Marsha A. Houston In Support of Motion
                                       (153 pgs)              for the Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP (RE: related document(s)17 Notice of
                                                              Hearing). (Rivas, Christopher). Related document(s) 16 Motion to
                                                              Appoint Trustee Motion for the Appointment of a Chapter 11 Trustee filed
                                                              by Creditor U.S. Real Estate Credit Holdings III-A, LP. Modified on
                                                              2/18/2021 to relate the document to the motion; (Jackson, Wendy Ann).
   02/17/2021                                                 (Entered: 02/17/2021)

                                       19                     Declaration re: Declaration of Simond Lavian In Support of Motion for the
                                       (243 pgs)              Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP (RE: related document(s)17 Notice of Hearing).
                                                              (Rivas, Christopher). Related document(s) 16 Motion to Appoint Trustee
                                                              Motion for the Appointment of a Chapter 11 Trustee filed by Creditor U.S.
                                                              Real Estate Credit Holdings III-A, LP. Modified on 2/18/2021 to relate the
   02/17/2021                                                 document to the motion; (Jackson, Wendy Ann). (Entered: 02/17/2021)

                                       20                     Declaration re: Declaration of Edwin Leslie In Support of Motion for the
                                       (63 pgs)               Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP (RE: related document(s)17 Notice of Hearing).
                                                              (Rivas, Christopher). Related document(s) 16 Motion to Appoint Trustee
                                                              Motion for the Appointment of a Chapter 11 Trustee filed by Creditor U.S.
                                                              Real Estate Credit Holdings III-A, LP. Modified on 2/18/2021 to relate the
   02/17/2021                                                 document to the motion; (Jackson, Wendy Ann). (Entered: 02/17/2021)

                                       21                     Declaration re: Declaration of Gary Stiffelman In Support of Motion for
                                       (6 pgs)                the Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP (RE: related document(s)17 Notice of
                                                              Hearing). (Rivas, Christopher). Related document(s) 16 Motion to
                                                              Appoint Trustee Motion for the Appointment of a Chapter 11 Trustee filed
                                                              by Creditor U.S. Real Estate Credit Holdings III-A, LP. Modified on
                                                              2/18/2021 to relate the document to the motion; (Jackson, Wendy Ann).
   02/17/2021                                                 (Entered: 02/17/2021)

   02/17/2021                          22                     Declaration re: Declaration of Alan G. Tippie Filed by Creditor U.S. Real
                                       (15 pgs)               Estate Credit Holdings III-A, LP (RE: related document(s)17 Notice of
                                                              Hearing). (Rivas, Christopher). Related document(s) 16 Motion to
                                                              Appoint Trustee Motion for the Appointment of a Chapter 11 Trustee filed
                                                              by Creditor U.S. Real Estate Credit Holdings III-A, LP. Modified on

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                4/38


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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
                                                              2/18/2021 to relate the document to the motion; (Jackson, Wendy Ann).
                                                              (Entered: 02/17/2021)

                                       23                     Hearing Set (RE: related document(s)16 Motion to Appoint Trustee filed
                                                              by Creditor U.S. Real Estate Credit Holdings III-A, LP) The Hearing date
                                                              is set for 3/10/2021 at 10:00 AM at Crtrm 1539, 255 E Temple St., Los
                                                              Angeles, CA 90012. The case judge is Sheri Bluebond (Jackson, Wendy
   02/18/2021                                                 Ann) (Entered: 02/18/2021)

                                       24                     Emergency motion EMERGENCY MOTION OF DEBTOR FOR ORDER
                                       (10 pgs)               TO CONTINUE THE HEARING ON THE MOTION TO APPOINT
                                                              CHAPTER 11 TRUSTEE; SUPPORTING DECLARATION OF DANIEL J.
                                                              WEINTRAUB Filed by Debtor Glenroy Coachella, LLC (Weintraub,
                                                              Daniel). Related document(s) 16 Motion to Appoint Trustee Motion for
                                                              the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP. Modified on 2/19/2021 to properly relate the
   02/18/2021                                                 document to the motion; (Jackson, Wendy Ann). (Entered: 02/18/2021)

                                       25                     BNC Certificate of Notice (RE: related document(s)7 Meeting of
                                       (7 pgs)                Creditors Chapter 11 (Corporations or Partnerships) (309F1)) No. of
   02/18/2021                                                 Notices: 132. Notice Date 02/18/2021. (Admin.) (Entered: 02/18/2021)

                                       26                     BNC Certificate of Notice (RE: related document(s)1 Voluntary Petition
                                       (2 pgs)                (Chapter 11) filed by Debtor Glenroy Coachella, LLC) No. of Notices: 1.
   02/18/2021                                                 Notice Date 02/18/2021. (Admin.) (Entered: 02/18/2021)

                                       27                     BNC Certificate of Notice - PDF Document. (RE: related document(s)5
                                       (6 pgs)                Order setting initial status conference in chapter 11 case (BNC-PDF)) No.
   02/18/2021                                                 of Notices: 1. Notice Date 02/18/2021. (Admin.) (Entered: 02/18/2021)

                                       28                     Notice to Filer of Error and/or Deficient Document Incorrect docket
                                                              event was used to file this document. The correct docket event is:
                                                              Continue Hearing/Reschedule Hearing (motion) and filer should not
                                                              type in secondary text all Capital letters. THE FILER IS
                                                              INSTRUCTED TO RE-FILE THE DOCUMENT USING THE
                                                              CORRECT DOCKET EVENT. (RE: related document(s)24 Emergency
                                                              motion filed by Debtor Glenroy Coachella, LLC) (Jackson, Wendy Ann)
   02/19/2021                                                 (Entered: 02/19/2021)

                                       29                     Motion to Continue Hearing On (related documents 16 Motion to Appoint
                                       (10 pgs)               Trustee) Emergency Motion of Debtor for Order to Continue the Hearing
                                                              on the Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy
   02/19/2021                                                 Coachella, LLC (Weintraub, Daniel) (Entered: 02/19/2021)

                                       30                     Objection (related document(s): 24 Emergency motion EMERGENCY
                                       (16 pgs)               MOTION OF DEBTOR FOR ORDER TO CONTINUE THE HEARING
                                                              ON THE MOTION TO APPOINT CHAPTER 11 TRUSTEE;
                                                              SUPPORTING DECLARATION OF DANIEL J. WEINTRAUB filed by
                                                              Debtor Glenroy Coachella, LLC) Objection to Emergency Motion of
                                                              Debtor for Order to Continue the Hearing on the Motion to Appoint
                                                              Chapter 11 Trustee Filed by Creditor U.S. Real Estate Credit Holdings III-
                                                              A, LP (Rivas, Christopher). Related document(s) 29 Motion to Continue
                                                              Hearing On (related documents 16 Motion to Appoint Trustee) Emergency
                                                              Motion of Debtor for Order to Continue the Hearing on the Motion to
                                                              Appoint Chapter 11 Trustee filed by Debtor Glenroy Coachella, LLC.
                                                              Modified on 2/19/2021 to relate the document to the correct motion filed;
   02/19/2021                                                 (Jackson, Wendy Ann). (Entered: 02/19/2021)

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   02/19/2021                          31                     Order 1) Denying Debtor's Emergency Motion for order to continue the
                                       (2 pgs)                hearing on the Motion to Appoint Chapter 11 Trustee and (ii) extending
                                                              the deadlines to file oppositions and replies to the Motion to Appoint
                                                              Chapter 11 Trustee; ORDERED that the Motion is Denied; Debtor may
                                                              have until 3/3/21 to file an opposition and Movant may have until
                                                              12:00pm on 3/8/21 to serve/file a reply; (BNC-PDF) (Related Doc # 24
                                                              and 29) Signed on 2/19/2021 (Jackson, Wendy Ann). Related document(s)
                                                              29 Motion to Continue Hearing On (related documents 16 Motion to
                                                              Appoint Trustee) Emergency Motion of Debtor for Order to Continue the
                                                              Hearing on the Motion to Appoint Chapter 11 Trustee filed by Debtor
                                                              Glenroy Coachella, LLC. Modified on 2/19/2021 (Jackson, Wendy Ann).
                                                              (Entered: 02/19/2021)

                                       32                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Laquer,
   02/19/2021                          (1 pg)                 Timothy. (Laquer, Timothy) (Entered: 02/19/2021)

                                       33                     BNC Certificate of Notice - PDF Document. (RE: related document(s)31
                                       (4 pgs)                ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   02/21/2021                                                 Notice Date 02/21/2021. (Admin.) (Entered: 02/21/2021)

                                       34                     Addendum to voluntary petition Amended Petition to Designate as Single
                                       (5 pgs)                Asset Real Estate Filed by Debtor Glenroy Coachella, LLC. (Selth, James)
   02/23/2021                                                 (Entered: 02/23/2021)

                                       35                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Djang,
   02/23/2021                          (1 pg)                 Caroline. (Djang, Caroline) (Entered: 02/23/2021)

                                       36                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Rallis,
   02/23/2021                          (1 pg)                 Dean. (Rallis, Dean) (Entered: 02/23/2021)

                                       37                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Pham,
   02/23/2021                          (1 pg)                 Matthew. (Pham, Matthew) (Entered: 02/23/2021)

                                       38                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Lerner,
   02/23/2021                          (1 pg)                 Leib. (Lerner, Leib) (Entered: 02/23/2021)

                                       39                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Harris,
   02/23/2021                          (1 pg)                 Douglas. (Harris, Douglas) (Entered: 02/23/2021)

                                       40                     Notice of Appearance and Request for Notice by Steven M Berman Filed
                                       (4 pgs)                by Interested Party EFO Financial Group LLC. (Berman, Steven)
   02/23/2021                                                 (Entered: 02/23/2021)

                                       41                     Motion Application for Order Setting Hearing on Shortened Notice [LBR
                                       (13 pgs)               9075-1(b)] Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP
   02/23/2021                                                 (Rivas, Christopher) (Entered: 02/23/2021)

                                       42                     Motion to Excuse State Court Receiver, Edwin Leslie, From Turnover of
                                       (13 pgs)               Assets Under 11 U.S.C. Section 543; Memorandum of Points and
                                                              Authorities Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP
   02/23/2021                                                 (Rivas, Christopher) (Entered: 02/23/2021)

   02/23/2021                          43                     Declaration re: Declaration of Edwin Leslie In Support of Motion to
                                       (111 pgs)              Excuse State Court Receiver, Edwin Leslie, From Turnover of Assets
                                                              Under 11 U.S.C. Section 543 Filed by Creditor U.S. Real Estate Credit
                                                              Holdings III-A, LP (RE: related document(s)42 Motion to Excuse State

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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
                                                              Court Receiver, Edwin Leslie, From Turnover of Assets Under 11 U.S.C.
                                                              Section 543; Memorandum of Points and Authorities). (Rivas,
                                                              Christopher) (Entered: 02/23/2021)

                                       44                     Application shortening time Application for Order Setting Hearing On
                                       (7 pgs)                Shortened Notice [LBR 9075-1(b)] Filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP (Rivas, Christopher). Related document(s) 42
                                                              Motion to Excuse State Court Receiver, Edwin Leslie, From Turnover of
                                                              Assets Under 11 U.S.C. Section 543; Memorandum of Points and
                                                              Authorities filed by Creditor U.S. Real Estate Credit Holdings III-A, LP.
                                                              Modified on 2/24/2021 to relate the document to the motion; (Jackson,
   02/23/2021                                                 Wendy Ann). (Entered: 02/23/2021)

                                       45                     Notice of lodgment of Order in Bankruptcy Case Re: Order Granting
                                       (7 pgs)                Application and Setting Hearing on Shortened Notice Filed by Creditor
                                                              U.S. Real Estate Credit Holdings III-A, LP (RE: related document(s)44
                                                              Application shortening time Application for Order Setting Hearing On
                                                              Shortened Notice [LBR 9075-1(b)]). (Rivas, Christopher) (Entered:
   02/23/2021                                                 02/23/2021)

                                       46                     Objection (related document(s): 44 Application shortening time
                                       (5 pgs)                Application for Order Setting Hearing On Shortened Notice [LBR 9075-
                                                              1(b)] filed by Creditor U.S. Real Estate Credit Holdings III-A, LP) Filed
                                                              by Debtor Glenroy Coachella, LLC (Lindsey, Crystle) (Entered:
   02/23/2021                                                 02/23/2021)

                                       47                     Notice to Filer of Error and/or Deficient Document Incorrect docket
                                                              event was used to file this document. The correct docket event is:
                                                              Shortening time (motion)THE FILER IS INSTRUCTED TO RE-
                                                              FILE THE DOCUMENT USING THE CORRECT DOCKET
                                                              EVENT. (RE: related document(s)41 Generic Motion filed by Creditor
                                                              U.S. Real Estate Credit Holdings III-A, LP) (Jackson, Wendy Ann)
   02/24/2021                                                 (Entered: 02/24/2021)

                                       48                     Order Granting Application and Setting hearing on shortened notice re:
                                       (5 pgs)                Motion to Excuse State Court Receiver, Edwin Leslie, from turnover of
                                                              assets under 11 USC Section 543; (BNC-PDF); ORDERED that the
                                                              hearing is set for: MARCH 10, 2021 @ 10AM; (Related Doc # 44 )
   02/24/2021                                                 Signed on 2/24/2021 (Jackson, Wendy Ann) (Entered: 02/24/2021)

                                       49                     Hearing Set (RE: related document(s)42 Generic Motion filed by Creditor
                                                              U.S. Real Estate Credit Holdings III-A, LP) The Hearing date is set for
                                                              3/10/2021 at 10:00 AM at Crtrm 1539, 255 E Temple St., Los Angeles,
                                                              CA 90012. The case judge is Sheri Bluebond (Jackson, Wendy Ann)
   02/24/2021                                                 (Entered: 02/24/2021)

                                       50                     Notice of Hearing Filed by Creditor U.S. Real Estate Credit Holdings III-
                                       (137 pgs)              A, LP (RE: related document(s)42 Motion to Excuse State Court Receiver,
                                                              Edwin Leslie, From Turnover of Assets Under 11 U.S.C. Section 543;
                                                              Memorandum of Points and Authorities Filed by Creditor U.S. Real Estate
   02/24/2021                                                 Credit Holdings III-A, LP). (Rivas, Christopher) (Entered: 02/24/2021)

                                       51                     Notice of Appearance and Request for Notice by Daren Brinkman Filed
                                       (3 pgs)                by Creditor Saxon Engineering Services Inc.. (Brinkman, Daren) (Entered:
   02/24/2021                                                 02/24/2021)

   02/25/2021                          52                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Doling,

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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
                                       (1 pg)                 Jenny. (Doling, Jenny) (Entered: 02/25/2021)

                                       53                     Order Granting Motion To Set Set Last Day To File Proofs of Claim
                                       (2 pgs)                (BNC-PDF) (Related Doc # 15) Signed on 2/25/2021. Proofs of Claims
                                                              due by 4/30/2021. Government Proof of Claim due by 8/24/2021.
   02/25/2021                                                 (Jackson, Wendy Ann) (Entered: 02/25/2021)

                                       54                     Notice of Bar Date for Filing Proofs of Claim in a Chapter 11 Filed by
   02/25/2021                          (10 pgs)               Debtor Glenroy Coachella, LLC. (Lindsey, Crystle) (Entered: 02/25/2021)

                                       55                     Request for courtesy Notice of Electronic Filing (NEF) Filed by OKeefe,
   02/25/2021                          (3 pgs)                Sean. (OKeefe, Sean) (Entered: 02/25/2021)

                                       56                     BNC Certificate of Notice - PDF Document. (RE: related document(s)48
                                       (7 pgs)                ORDER shortening time (BNC-PDF)) No. of Notices: 1. Notice Date
   02/26/2021                                                 02/26/2021. (Admin.) (Entered: 02/26/2021)

                                       57                     BNC Certificate of Notice - PDF Document. (RE: related document(s)53
                                       (4 pgs)                Order on Motion To Set Last Day to File Proofs of Claim (BNC-PDF))
                                                              No. of Notices: 1. Notice Date 02/27/2021. (Admin.) (Entered:
   02/27/2021                                                 02/27/2021)

                                       58                     Declaration Under Penalty of Perjury for Non-Individual Debtors (Official
                                       (51 pgs)               Form 202) , Schedule A/B Non-Individual: Property (Official Form
                                                              106A/B or 206A/B) , Schedule D Non-Individual: Creditors Who Have
                                                              Claims Secured by Property (Official Form 106D or 206D) , Schedule E/F
                                                              Non-Individual: Creditors Who Have Unsecured Claims (Official Form
                                                              106F or 206F) , Schedule G Non-Individual: Executory Contracts and
                                                              Unexpired Leases (Official Form 106G or 206G) , Schedule H Non-
                                                              Individual: Your Codebtors (Official Form 106H or 206H) , Statement of
                                                              Financial Affairs for Non-Individual Filing for Bankruptcy (Official Form
                                                              107 or 207) , Disclosure of Compensation of Attorney for Debtor (Official
                                                              Form 2030) Filed by Debtor Glenroy Coachella, LLC (RE: related
                                                              document(s)1 Voluntary Petition (Chapter 11)). (Lindsey, Crystle)
   03/01/2021                                                 (Entered: 03/02/2021)

                                       59                     Notice of Perfection Filed by Creditor Doug Wall Construction. (Djang,
   03/02/2021                          (10 pgs)               Caroline) (Entered: 03/02/2021)

                                       60                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Shulman,
   03/02/2021                          (1 pg)                 Leonard. (Shulman, Leonard) (Entered: 03/02/2021)

                                       61                     Objection (related document(s): 16 Motion to Appoint Trustee Motion for
                                       (7 pgs)                the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP, 19 Declaration filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP) Debtors Evidentiary Objections to
                                                              Declaration of Simond Lavian Filed by Debtor Glenroy Coachella, LLC
   03/03/2021                                                 (Selth, James) (Entered: 03/03/2021)

                                       62                     Objection (related document(s): 16 Motion to Appoint Trustee Motion for
                                       (7 pgs)                the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP, 20 Declaration filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP) Debtors Evidentiary Objections to
                                                              Declaration of Edwin Leslie Filed by Debtor Glenroy Coachella, LLC
   03/03/2021                                                 (Selth, James) (Entered: 03/03/2021)

   03/03/2021                          63                     Objection (related document(s): 16 Motion to Appoint Trustee Motion for
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                 8/38


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                                       (7 pgs)                the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP, 21 Declaration filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP) Debtors Evidentiary Objections to
                                                              Declaration of Gary Stiffelman Filed by Debtor Glenroy Coachella, LLC
                                                              (Selth, James) (Entered: 03/03/2021)

                                       64                     Objection (related document(s): 16 Motion to Appoint Trustee Motion for
                                       (5 pgs)                the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP, 22 Declaration filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP) Debtors Evidentiary Objections to
                                                              Declaration of Alan G. Tippie Filed by Debtor Glenroy Coachella, LLC
   03/03/2021                                                 (Selth, James) (Entered: 03/03/2021)

                                       65                     Opposition to (related document(s): 16 Motion to Appoint Trustee Motion
                                       (88 pgs; 2 docs)       for the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP) Filed by Interested Party Stuart Rubin
                                                              (Attachments: # 1 Affidavit Declaration of Sean A. OKeefe In Support of
   03/03/2021                                                 Opposition) (OKeefe, Sean) (Entered: 03/03/2021)

                                       66                     Opposition to (related document(s): 16 Motion to Appoint Trustee Motion
                                       (19 pgs)               for the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP) Filed by Debtor Glenroy Coachella,
   03/03/2021                                                 LLC (Weintraub, Daniel) (Entered: 03/03/2021)

                                       67                     Declaration re: Declaration of Joseph Rubin In Support of Opposition to
                                       (67 pgs)               Motion to Appoint Trustee Motion for the Appointment of a Chapter 11
                                                              Trustee Filed by Debtor Glenroy Coachella, LLC (RE: related
   03/03/2021                                                 document(s)66 Opposition). (Weintraub, Daniel) (Entered: 03/03/2021)

                                       68                     Declaration re: Declaration of Laurence Berman In Support of Opposition
                                       (24 pgs)               to Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy
                                                              Coachella, LLC (RE: related document(s)66 Opposition). (Weintraub,
   03/03/2021                                                 Daniel) (Entered: 03/03/2021)

                                       69                     Declaration re: Declaration of Renzo Renzi In Support of Opposition to
                                       (41 pgs)               Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy Coachella,
                                                              LLC (RE: related document(s)66 Opposition). (Weintraub, Daniel)
   03/03/2021                                                 (Entered: 03/03/2021)

                                       70                     Declaration re: Declaration of Dana Barbera In Support of Opposition to
                                       (430 pgs)              Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy Coachella,
                                                              LLC (RE: related document(s)66 Opposition). (Weintraub, Daniel)
   03/03/2021                                                 (Entered: 03/03/2021)

                                       71                     Declaration re: Declaration of Steven Bram In Support of Opposition to
                                       (8 pgs)                Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy Coachella,
                                                              LLC (RE: related document(s)66 Opposition). (Weintraub, Daniel)
   03/03/2021                                                 (Entered: 03/03/2021)

                                       72                     Declaration re: Declaration of Ian Waddell In Support of Opposition to
                                       (6 pgs)                Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy Coachella,
                                                              LLC (RE: related document(s)66 Opposition). (Weintraub, Daniel)
   03/03/2021                                                 (Entered: 03/03/2021)

   03/03/2021                          73                     Opposition to (related document(s): 42 Motion to Excuse State Court
                                       (13 pgs)               Receiver, Edwin Leslie, From Turnover of Assets Under 11 U.S.C. Section
                                                              543; Memorandum of Points and Authorities filed by Creditor U.S. Real
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                 9/38


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                                                              Estate Credit Holdings III-A, LP) Filed by Debtor Glenroy Coachella,
                                                              LLC (Weintraub, Daniel) (Entered: 03/03/2021)

                                       74                     Declaration re: Declaration of Stuart Rubin In Support of Opposition to
                                       (18 pgs)               Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy Coachella,
                                                              LLC (RE: related document(s)73 Opposition). (Weintraub, Daniel)
   03/03/2021                                                 (Entered: 03/03/2021)

                                       75                     Exhibit Exhibits 1 through 4 In Support of Declaration of Stuart Rubin
                                       (414 pgs)              Filed by Debtor Glenroy Coachella, LLC (RE: related document(s)74
   03/03/2021                                                 Declaration). (Weintraub, Daniel) (Entered: 03/03/2021)

                                       76                     Exhibit Exhibits 5 Through 14 In Support of Declaration of Stuart Rubin
                                       (130 pgs)              Filed by Debtor Glenroy Coachella, LLC (RE: related document(s)74
   03/03/2021                                                 Declaration). (Weintraub, Daniel) (Entered: 03/03/2021)

                                       77                     Notice to Filer of Error and/or Deficient Document
                                                              Incorrect/incomplete/unreadable PDF was attached to the docket
                                                              entry. No proof of service provided and All documents filed with the
                                                              court must have a pleading cover sheet that includes debtor's name,
                                                              case number and title of document. THE FILER IS INSTRUCTED
                                                              TO RE-FILE THE DOCUMENT WITH THE CORRECT PDF
                                                              IMMEDIATELY. (RE: related document(s)74 Declaration filed by
                                                              Debtor Glenroy Coachella, LLC, 75 Exhibit filed by Debtor Glenroy
                                                              Coachella, LLC, 76 Exhibit filed by Debtor Glenroy Coachella, LLC)
   03/04/2021                                                 (Pennington-Jones, Patricia) (Entered: 03/04/2021)

                                       78                     Declaration re: Sean A. OKeefe In Opposition To Motion Filed by
                                       (78 pgs)               Interested Party Stuart Rubin (RE: related document(s)42 Motion to
                                                              Excuse State Court Receiver, Edwin Leslie, From Turnover of Assets
                                                              Under 11 U.S.C. Section 543; Memorandum of Points and Authorities).
   03/04/2021                                                 (OKeefe, Sean) (Entered: 03/04/2021)

                                       79                     Exhibit Exhibits 1 Through 3 for Declaration of Stuart Rubin in Support of
                                       (417 pgs)              Debtor's Opposition to Motion for the Appointment of Chapter 11 Trustee
                                                              Filed by Debtor Glenroy Coachella, LLC (RE: related document(s)74
   03/04/2021                                                 Declaration). (Weintraub, Daniel) (Entered: 03/04/2021)

                                       80                     Exhibit Exhibits 4 Through 15 for Declaration of Stuart Rubin in Support
                                       (133 pgs)              of Debtor's Opposition to Motion for the Appointment of Chapter 11
                                                              Trustee Filed by Debtor Glenroy Coachella, LLC (RE: related
   03/04/2021                                                 document(s)74 Declaration). (Weintraub, Daniel) (Entered: 03/04/2021)

                                       81                     Opposition to (related document(s): 16 Motion to Appoint Trustee Motion
                                       (21 pgs)               for the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP, 66 Opposition filed by Debtor Glenroy
                                                              Coachella, LLC) Refiled with Table of Contents and Table of Authorities
                                                              Filed by Debtor Glenroy Coachella, LLC (Weintraub, Daniel) (Entered:
   03/04/2021                                                 03/04/2021)

                                       82                     Request for a Certified Copy Fee Amount $11. The document will be sent
                                                              via email to :gabby@wsrlaw.net: Filed by Debtor Glenroy Coachella, LLC
                                                              (RE: related document(s)1 Voluntary Petition (Chapter 11)). (Lindsey,
   03/05/2021                                                 Crystle) (Entered: 03/05/2021)

   03/05/2021                                                 Receipt of Request for a Certified Copy(2:21-bk-11188-BB)
                                                              [misc,paycert] ( 11.00) Filing Fee. Receipt number 52560094. Fee amount
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                10/38


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                                                              11.00. (re: Doc# 82 ) (U.S. Treasury) (Entered: 03/05/2021)

   03/05/2021                          83                     Certified Copy Emailed to gabby@wsrlaw.net (Entered: 03/05/2021)

                                       84                     Notice of Joinder and Joinder Filed by Creditor Doug Wall Construction
                                       (5 pgs)                (RE: related document(s)66 Opposition to (related document(s): 16
                                                              Motion to Appoint Trustee Motion for the Appointment of a Chapter 11
                                                              Trustee filed by Creditor U.S. Real Estate Credit Holdings III-A, LP) Filed
                                                              by Debtor Glenroy Coachella, LLC). (Djang, Caroline) (Entered:
   03/05/2021                                                 03/05/2021)

                                       85                     Reply to (related document(s): 42 Motion to Excuse State Court Receiver,
                                       (6 pgs)                Edwin Leslie, From Turnover of Assets Under 11 U.S.C. Section 543;
                                                              Memorandum of Points and Authorities filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP, 73 Opposition filed by Debtor Glenroy
                                                              Coachella, LLC) Filed by Creditor U.S. Real Estate Credit Holdings III-A,
   03/08/2021                                                 LP (Houston, Marsha) (Entered: 03/08/2021)

                                       86                     Reply to (related document(s): 16 Motion to Appoint Trustee Motion for
                                       (19 pgs)               the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP, 65 Opposition filed by Interested Party Stuart
                                                              Rubin, 81 Opposition filed by Debtor Glenroy Coachella, LLC) Filed by
                                                              Creditor U.S. Real Estate Credit Holdings III-A, LP (Houston, Marsha)
   03/08/2021                                                 (Entered: 03/08/2021)

                                       87                     Request for judicial notice in Support of Motion for Appointment of a
                                       (46 pgs)               Trustee Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP.
   03/08/2021                                                 (Houston, Marsha) (Entered: 03/08/2021)

                                       88                     Notice of Joinder and Joinder Filed by Interested Party Gary Stiffelman
                                       (6 pgs)                (RE: related document(s)16 Motion to Appoint Trustee Motion for the
                                                              Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real Estate
   03/08/2021                                                 Credit Holdings III-A, LP). (Laquer, Timothy) (Entered: 03/08/2021)

                                       89                     Notice of Joinder and Joinder Filed by Interested Party Gary Stiffelman
                                       (6 pgs)                (RE: related document(s)42 Motion to Excuse State Court Receiver, Edwin
                                                              Leslie, From Turnover of Assets Under 11 U.S.C. Section 543;
                                                              Memorandum of Points and Authorities Filed by Creditor U.S. Real Estate
   03/08/2021                                                 Credit Holdings III-A, LP). (Laquer, Timothy) (Entered: 03/08/2021)

                                       90                     Declaration re: of Gary Stiffelman in Support of Joinder to U.S. Real
                                       (75 pgs)               Estate Credit Holdings III-A, LP's Motion for Appointment of a Chapter
                                                              11 Trustee and Motion to Excuse State Court Receiver, Edwin Leslie, from
                                                              Turnover of Assets Filed by Interested Party Gary Stiffelman (RE: related
                                                              document(s)16 Motion to Appoint Trustee Motion for the Appointment of
                                                              a Chapter 11 Trustee, 42 Motion to Excuse State Court Receiver, Edwin
                                                              Leslie, From Turnover of Assets Under 11 U.S.C. Section 543;
                                                              Memorandum of Points and Authorities). (Laquer, Timothy) (Entered:
   03/08/2021                                                 03/08/2021)

                                       91                     Reply to (related document(s): 19 Declaration filed by Creditor U.S. Real
                                       (14 pgs)               Estate Credit Holdings III-A, LP) * Responses to Evidentiary Objections
                                                              to Declaration of Simond Lavian * Filed by Creditor U.S. Real Estate
   03/08/2021                                                 Credit Holdings III-A, LP (Rivas, Christopher) (Entered: 03/08/2021)

   03/08/2021                          92                     Reply to (related document(s): 20 Declaration filed by Creditor U.S. Real
                                       (16 pgs)               Estate Credit Holdings III-A, LP) * Responses to Evidentiary Objections
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                 11/38


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     Case 2:21-bk-11188-BB                     Doc 324 Filed 07/28/21 Entered 07/28/21 18:59:04                                Desc
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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
                                                              to Declaration of Edwin Leslie * Filed by Creditor U.S. Real Estate Credit
                                                              Holdings III-A, LP (Rivas, Christopher) (Entered: 03/08/2021)

                                       93                     Reply to (related document(s): 22 Declaration filed by Creditor U.S. Real
                                       (4 pgs)                Estate Credit Holdings III-A, LP) * Responses to Evidentiary Objections
                                                              to Declaration of Alan G. Tippie * Filed by Creditor U.S. Real Estate
   03/08/2021                                                 Credit Holdings III-A, LP (Rivas, Christopher) (Entered: 03/08/2021)

                                       94                     Reply to (related document(s): 21 Declaration filed by Creditor U.S. Real
                                       (15 pgs)               Estate Credit Holdings III-A, LP) * Responses to Evidentiary Objections
                                                              to Declaration of Gary Stiffelman* Filed by Creditor U.S. Real Estate
   03/08/2021                                                 Credit Holdings III-A, LP (Rivas, Christopher) (Entered: 03/08/2021)

                                       95                     Objection (related document(s): 74 Declaration filed by Debtor Glenroy
                                       (16 pgs)               Coachella, LLC) * Evidentiary Objections to Declaration of Stuart Rubin
                                                              * Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (Rivas,
   03/08/2021                                                 Christopher) (Entered: 03/08/2021)

                                       96                     Objection (related document(s): 67 Declaration filed by Debtor Glenroy
                                       (6 pgs)                Coachella, LLC) * Evidentiary Objections to Declaration of Joseph Rubin
                                                              Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (Rivas,
   03/08/2021                                                 Christopher) (Entered: 03/08/2021)

                                       97                     Amending Schedules (D) (E/F) Amended Schedule A/B; Amended
                                       (57 pgs)               Schedule D; Amended Schedule E/F; Amended Schedule G; Amended
                                                              Schedule H; Amended Disclosure of Compensation of Attorney for
                                                              Debtor; and Corporate Ownership Statement Filed by Debtor Glenroy
   03/08/2021                                                 Coachella, LLC. (Weintraub, Daniel) (Entered: 03/08/2021)

                                       98                     Declaration re: Notice and Service regarding Order Shortening Time Filed
                                       (5 pgs)                by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE: related
                                                              document(s)48 ORDER shortening time (BNC-PDF)). (Rivas,
   03/08/2021                                                 Christopher) (Entered: 03/08/2021)

                                       99                      Reply to (related document(s): 16 Motion to Appoint Trustee Motion for
                                       (54 pgs)                the Appointment of a Chapter 11 Trustee filed by Creditor U.S. Real
                                                               Estate Credit Holdings III-A, LP, 42 Motion to Excuse State Court
                                                               Receiver, Edwin Leslie, From Turnover of Assets Under 11 U.S.C.
                                                               Section 543; Memorandum of Points and Authorities filed by Creditor
                                                               U.S. Real Estate Credit Holdings III-A, LP) Response Of Edwin W.
                                                               Leslie, Receiver, To Opposition Of Debtor, A. Stuart Rubin, And Elliott
                                                               Lander To Motion Of U.S. Real Estate Credit Holdings Iii-A, LP To
                                                               Appoint Trustee And Motion To Excuse State Court Receiver From
                                                               Turnover Of Assets Under 11 U.S.C. § 543; Declaration Of Edwin W.
                                                               Leslie (With Proof of Service) Filed by Interested Party Edwin W. Leslie,
   03/08/2021                                                  Receiver (Tippie, Alan) (Entered: 03/08/2021)

   03/08/2021                          100                     Notice to Filer of Error and/or Deficient Document
                                                               Incorrect/incomplete/unreadable PDF was attached to the docket
                                                               entry. Filer must select the appropriate box on page 1 of this
                                                               document to state whether creditors are being added. Filer must
                                                               select the correct docket event for each document being filed by
                                                               holding the <CTRL> key and selecting each document. Also, a
                                                               clearly marked supplemental master mailing list (do not repeat any
                                                               creditors from the original filing) is required as an attachment if
                                                               creditors are being added and a filing fee must be paid; THE FILER
                                                               IS INSTRUCTED TO RE-FILE THE DOCUMENT WITH THE
                                                               CORRECT PDF AND SELECTING THE APPROPRIATE
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                               12/38


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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
                                                               DOCKET EVENTS IMMEDIATELY. (RE: related document(s)97
                                                               Amending Schedules D and/or E/F (Official Form 106D, 106E/F, 206D,
                                                               or 206E/F) (Fee) filed by Debtor Glenroy Coachella, LLC) (Jackson,
                                                               Wendy Ann) (Entered: 03/08/2021)

                                       101                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (31 pgs)                1(o)(3)) Filed by Debtor Glenroy Coachella, LLC (RE: related
                                                               document(s)13 Application to Employ Weintraub & Selth, APC as
                                                               General Bankruptcy Counsel Notice of Opportunity to Request Hearing
                                                               on Motion and Application of Chapter 11 Debtor and Debtor in
                                                               Possession to Employ Weintraub & Selth, APC, as General Bankruptcy
   03/09/2021                                                  Counse). (Selth, James) (Entered: 03/09/2021)

                                       102                     Amended Schedule A/B Non-Individual: Property (Official Form
                                       (29 pgs)                106A/B or 206A/B) , Schedule G Non-Individual: Executory Contracts
                                                               and Unexpired Leases (Official Form 106G or 206G) Amended, Schedule
                                                               H Non-Individual: Your Codebtors (Official Form 106H or 206H)
                                                               Amended, Statement of Financial Affairs for Non-Individual Filing for
                                                               Bankruptcy (Official Form 107 or 207) Amended, Disclosure of
                                                               Compensation of Attorney for Debtor (Official Form 2030) Corrected,
                                                               Statement of Corporate Ownership filed. Filed by Debtor Glenroy
   03/09/2021                                                  Coachella, LLC. (Weintraub, Daniel) (Entered: 03/09/2021)

                                       103                     Notice Joinder and Joinder to Opposition Filed by Creditor Orco Block
                                       (3 pgs)                 & Hardscape (RE: related document(s)66 Opposition to (related
                                                               document(s): 16 Motion to Appoint Trustee Motion for the Appointment
                                                               of a Chapter 11 Trustee filed by Creditor U.S. Real Estate Credit
                                                               Holdings III-A, LP) Filed by Debtor Glenroy Coachella, LLC).
   03/09/2021                                                  (Hoggard, William) (Entered: 03/09/2021)

                                       104                     Amending Schedules (D) (E/F) and mailing matrix listing added
                                       (32 pgs)                creditors Filed by Debtor Glenroy Coachella, LLC. (Weintraub, Daniel)
   03/09/2021                                                  (Entered: 03/09/2021)

                                                               Receipt of Amending Schedules D and/or E/F (Official Form 106D,
                                                               106E/F, 206D, or 206E/F) (Fee)(2:21-bk-11188-BB) [misc,amdsch] (
                                                               32.00) Filing Fee. Receipt number 52573765. Fee amount 32.00. (re:
   03/09/2021                                                  Doc# 97) (U.S. Treasury) (Entered: 03/09/2021)

                                                               Receipt of Amending Schedules D and/or E/F (Official Form 106D,
                                                               106E/F, 206D, or 206E/F) (Fee)(2:21-bk-11188-BB) [misc,amdsch] (
                                                               32.00) Filing Fee. Receipt number 52573765. Fee amount 32.00. (re:
   03/09/2021                                                  Doc# 104) (U.S. Treasury) (Entered: 03/09/2021)

                                       105                     Notice //Amendment to Joinder Filed by Creditor Doug Wall
                                       (5 pgs)                 Construction (RE: related document(s)84 Notice of Joinder and Joinder
                                                               Filed by Creditor Doug Wall Construction (RE: related document(s)66
                                                               Opposition to (related document(s): 16 Motion to Appoint Trustee
                                                               Motion for the Appointment of a Chapter 11 Trustee filed by Creditor
                                                               U.S. Real Estate Credit Holdings III-A, LP) Filed by Debtor Glenroy
   03/09/2021                                                  Coachella, LLC).). (Djang, Caroline) (Entered: 03/09/2021)

                                       106                     Order Granting Application to Employ Weintraub & Selth APC as
                                       (2 pgs)                 General Bankruptcy Counsel; (BNC-PDF) (Related Doc # 13) Signed on
   03/09/2021                                                  3/9/2021. (Jackson, Wendy Ann) (Entered: 03/09/2021)

   03/09/2021                          107                     Supplemental Declaration of Renzo Renzi In Support of Opposition to

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                              13/38


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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
                                       (35 pgs)                Motion to Appoint Chapter 11 Trustee Filed by Debtor Glenroy
                                                               Coachella, LLC. (Weintraub, Daniel). Related document(s) 16 Motion to
                                                               Appoint Trustee Motion for the Appointment of a Chapter 11 Trustee
                                                               filed by Creditor U.S. Real Estate Credit Holdings III-A, LP. Modified on
                                                               3/10/2021 to relate the document to the motion; (Jackson, Wendy Ann).
                                                               (Entered: 03/09/2021)

                                       108                     Emergency motion For Order Authorizing (1) Retention of GlassRatner
                                       (58 pgs)                Advisory & Capital Group, LLC d/b/a B. Riley Advisory Services to
                                                               Provide the Debtor With a Chief Restructuring Officer and Certain
                                                               Reorganization Services and Personnel; and (2) Designate Dan Berman
                                                               as Chief Restructuring Officer for the Debtor; Declarations of Dan
                                                               Berman and Stuart Rubin In Support Thereof Filed by Debtor Glenroy
   03/09/2021                                                  Coachella, LLC (Weintraub, Daniel) (Entered: 03/09/2021)

                                       109                     Notice of Joinder and Joinder in Opposition to Motion to Appoint
                                       (4 pgs)                 Chapter 11 Trustee Filed by Creditor Saxon Engineering Services Inc.
                                                               (RE: related document(s)66 Opposition to (related document(s): 16
                                                               Motion to Appoint Trustee Motion for the Appointment of a Chapter 11
                                                               Trustee filed by Creditor U.S. Real Estate Credit Holdings III-A, LP)
                                                               Filed by Debtor Glenroy Coachella, LLC). (Brinkman, Daren) (Entered:
   03/09/2021                                                  03/09/2021)

                                       112                     Joinder of Blair Air, Inc. in support of debtor's opposition to motion for
                                       (3 pgs)                 the appointment of a chapter 11 trustee Filed by Creditor Blair Air, Inc
                                                               (RE: related document(s)16 Motion to Appoint Trustee Motion for the
                                                               Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real Estate
                                                               Credit Holdings III-A, LP). (Pennington-Jones, Patricia) (Entered:
   03/09/2021                                                  03/10/2021)

                                       113                     Joinder to debtor's opposition to motion for the appointment of a chapter
                                       (3 pgs)                 11 trustee Filed by Creditor Joseph Rubin and The Coachella Lighthouse,
                                                               LLC (RE: related document(s)16 Motion to Appoint Trustee Motion for
                                                               the Appointment of a Chapter 11 Trustee Filed by Creditor U.S. Real
                                                               Estate Credit Holdings III-A, LP). (Pennington-Jones, Patricia) (Entered:
   03/09/2021                                                  03/10/2021)

                                       114                     Joinder of GF Investment Group, Inc. dba The Investment Center in
                                       (4 pgs)                 support of debtor's opposition to motion for the appointment of a chapter
                                                               11 trustee Filed by Creditor GF Investment Group, Inc. dba The
                                                               Investment Center, a California corporation (RE: related document(s)16
                                                               Motion to Appoint Trustee Motion for the Appointment of a Chapter 11
                                                               Trustee Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP).
   03/09/2021                                                  (Pennington-Jones, Patricia) (Entered: 03/10/2021)

                                       110                     Notice of Appointment of Creditors' Committee Filed by United States
                                       (5 pgs; 2 docs)         Trustee. (Attachments: # 1 Proof of Service)(Escobar, Eryk) (Entered:
   03/10/2021                                                  03/10/2021)

                                       111                     Notice of lodgment of Order Granting Motion for the Appointment of a
                                       (6 pgs)                 Chapter 11 Trustee Pursuant to 11 U.S.C. § 1104(a); and Directing and
                                                               Authorizing United States Trustee to Appoint a Chapter 11 Trustee Filed
                                                               by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE: related
                                                               document(s)16 Motion to Appoint Trustee Motion for the Appointment of
                                                               a Chapter 11 Trustee Filed by Creditor U.S. Real Estate Credit Holdings
   03/10/2021                                                  III-A, LP). (Rivas, Christopher) (Entered: 03/10/2021)

   03/11/2021                          115                     Hearing Held (Bk Motion) (RE: related document(s) 16 Motion to
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                 14/38


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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
                                                               Appoint Trustee); RULING- GRANTED; ORDER TO FOLLOW;
                                                               (Jackson, Wendy Ann) (Entered: 03/11/2021)

                                       116                     Hearing Held (Bk Motion) (RE: related document(s) 42 Generic
                                                               Motion); RULING - ORDER TO FOLLOW FROM MR. TIPPEE;
                                                               CONT'D. TO 4/7/21 @ 10AM; (Jackson, Wendy Ann) (Entered:
   03/11/2021                                                  03/11/2021)

                                                               Hearing (Bk Motion) Continued (RE: related document(s) 42 GENERIC
                                                               MOTION filed by U.S. Real Estate Credit Holdings III-A, LP) Hearing
                                                               to be held on 04/07/2021 at 10:00 AM 255 E. Temple St. Courtroom
                                                               1539 Los Angeles, CA 90012 for 42 , (Jackson, Wendy Ann) (Entered:
   03/11/2021                                                  03/11/2021)

                                       117                     Notice of lodgment of Order Re Motion Of U.S. Real Estate Credit
                                       (6 pgs)                 Holdings III-A, LP To Excuse State Court Receiver, Edwin W. Leslie,
                                                               From Turnover Of Assets Under 11 U.S.C. § 543 (With Proof of Service)
                                                               Filed by Interested Party Edwin W. Leslie, Receiver (RE: related
                                                               document(s)42 Motion to Excuse State Court Receiver, Edwin Leslie,
                                                               From Turnover of Assets Under 11 U.S.C. Section 543; Memorandum of
                                                               Points and Authorities Filed by Creditor U.S. Real Estate Credit
   03/11/2021                                                  Holdings III-A, LP). (Tippie, Alan) (Entered: 03/11/2021)

                                       118                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)106 Order on Application to Employ (BNC-PDF)) No. of
   03/11/2021                                                  Notices: 1. Notice Date 03/11/2021. (Admin.) (Entered: 03/11/2021)

                                       119                     Notice of lodgment of Order Granting Motion For The Appointment Of A
                                       (6 pgs)                 Chapter 11 Trustee Pursuant To 11 U.S.C. § 1104(A); And Directing And
                                                               Authorizing United States Trustee To Appoint A Chapter 11 Trustee Filed
                                                               by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE: related
                                                               document(s)16 Motion to Appoint Trustee Motion for the Appointment of
                                                               a Chapter 11 Trustee Filed by Creditor U.S. Real Estate Credit Holdings
   03/12/2021                                                  III-A, LP). (Rivas, Christopher) (Entered: 03/12/2021)

                                       120                     Order Granting Motion for the Appointment of a Chapter 11 Trustee
                                       (2 pgs)                 pursuant to 11 USC Section 1104(a); and Directing and Authorizing the
                                                               U.S. Trustee to Appoint a Chapter 11 Trustee. (BNC-PDF) Signed on
   03/12/2021                                                  3/12/2021. (Jackson, Wendy Ann) (Entered: 03/12/2021)

                                       121                     Order re: Motion of US Real Estate Credit Holdings III-A, LP to excuse
                                       (2 pgs)                 State Court Receiver, Edwin W. Leslie, from turnover of assets under 11
                                                               USC Section 543; (BNC-PDF); ORDERED that the hearing is continued
                                                               to APRIL 7, 2021 @ 10AM; SEE ORDER FOR FURTHER DETAILS;
                                                               (Related Doc # 42 ) Signed on 3/12/2021 (Jackson, Wendy Ann)
   03/12/2021                                                  (Entered: 03/12/2021)

                                       122                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)120 Order on Motion to Appoint Trustee (BNC-PDF)) No.
   03/14/2021                                                  of Notices: 1. Notice Date 03/14/2021. (Admin.) (Entered: 03/14/2021)

                                       123                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)121 Order on Generic Motion (BNC-PDF)) No. of Notices:
   03/14/2021                                                  1. Notice Date 03/14/2021. (Admin.) (Entered: 03/14/2021)

   03/18/2021                          124                     Notice of Appointment of Trustee . Richard A Marshack (TR) added to
                                       (4 pgs; 2 docs)         the case. Filed by U.S. Trustee United States Trustee (LA). (Attachments:
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                15/38


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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
                                                               # 1 Proof of Service)(Escobar, Eryk) (Entered: 03/18/2021)

                                       125                     Motion to Appoint Trustee United States Trustee's Application for Order
                                       (11 pgs)                Approving Appointment of Chapter 11 Trustee and Fixing Bond Filed by
                                                               U.S. Trustee United States Trustee (LA) (Escobar, Eryk) (Entered:
   03/18/2021                                                  03/18/2021)

                                       126                     Order Approving Appointment of Chapter 11 Trustee. (BNC-PDF);
                                       (2 pgs)                 ORDERED that the appointment of Richard Marshack as Chapter 11
                                                               Trustee is approved; Signed on 3/19/2021. (Jackson, Wendy Ann)
   03/19/2021                                                  (Entered: 03/19/2021)

                                       127                     Notice of appointment and acceptance of trustee with Proof of Service
                                       (3 pgs)                 Filed by Trustee Richard A Marshack (TR). (Marshack (TR), Richard)
   03/19/2021                                                  (Entered: 03/19/2021)

                                       128                     Request for CD of Court Proceedings . Fee Amount $32, Filed by
   03/19/2021                          (1 pg)                  Trustee Richard A Marshack (TR). (Haes, Chad) (Entered: 03/19/2021)

                                                               Receipt of Request for CD of Court Proceedings (fee)(2:21-bk-11188-
                                                               BB) [misc,cdrf] ( 32.00) Filing Fee. Receipt number 52630435. Fee
   03/19/2021                                                  amount 32.00. (re: Doc# 128) (U.S. Treasury) (Entered: 03/19/2021)

                                       129                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)126 Order on Motion to Appoint Trustee (BNC-PDF)) No.
   03/21/2021                                                  of Notices: 1. Notice Date 03/21/2021. (Admin.) (Entered: 03/21/2021)

                                       130                     Request for CD of Court Proceedings (Amended) Audio Recording of
                                       (1 pg)                  Court Proceedings Order Form (to correct date of hearing); Re: 128. Fee
                                                               Amount $32, Filed by Trustee Richard A Marshack (TR). (Haes, Chad)
   03/22/2021                                                  (Entered: 03/22/2021)

                                                               Receipt of Request for CD of Court Proceedings (fee)(2:21-bk-11188-
                                                               BB) [misc,cdrf] ( 32.00) Filing Fee. Receipt number 52634419. Fee
   03/22/2021                                                  amount 32.00. (re: Doc# 130) (U.S. Treasury) (Entered: 03/22/2021)

                                       131                     Continuance of Meeting of Creditors (Rule 2003(e)) Filed by U.S.
                                                               Trustee United States Trustee (LA). 341(a) Meeting Continued to
                                                               3/25/2021 at 09:15 AM at UST-LA2, TELEPHONIC MEETING.
                                                               CONFERENCE LINE:1-866-816-0394, PARTICIPANT
   03/23/2021                                                  CODE:5282999. (Escobar, Eryk) (Entered: 03/23/2021)

                                       132                     Monthly Operating Report. Operating Report Number: 1. For the Month
                                       (21 pgs)                Ending February 28, 2021 Filed by Debtor Glenroy Coachella, LLC.
   03/23/2021                                                  (Lindsey, Crystle) (Entered: 03/23/2021)

                                       133                     Stipulation By Richard A Marshack (TR) and Debtor, U.S. Real Estate
                                       (9 pgs)                 Credit Holdings III-A, LP, Edwin W. Leslie, Gary Stiffelman, Elliot
                                                               Lander and Abraham Stuart Rubin to Continue Hearing on Motion to
                                                               Excuse State Court Receiver, Edwin Leslie, from Turnover of Assets
                                                               Under 11 U.S.C. Section 543; with Proof of service Filed by Trustee
   03/24/2021                                                  Richard A Marshack (TR) (Haes, Chad) (Entered: 03/24/2021)

   03/24/2021                          134                     Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                 related document(s)133 Stipulation By Richard A Marshack (TR) and
                                                               Debtor, U.S. Real Estate Credit Holdings III-A, LP, Edwin W. Leslie,

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                16/38


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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
                                                               Gary Stiffelman, Elliot Lander and Abraham Stuart Rubin to Continue
                                                               Hearing on Motion to Excuse State Court Receiver, Edwin Leslie, from).
                                                               (Haes, Chad) (Entered: 03/24/2021)

                                       135                     Status report Chapter 11 Trustee's Initial Status Report; with Proof of
                                       (29 pgs)                Service Filed by Trustee Richard A Marshack (TR) (RE: related
                                                               document(s)5 Order setting initial status conference in chapter 11 case
                                                               (BNC-PDF)). (Marshack (TR), Richard). Related document(s) 1
                                                               Voluntary Petition (Chapter 11) filed by Debtor Glenroy Coachella, LLC.
   03/24/2021                                                  Modified on 3/25/2021 (Jackson, Wendy Ann). (Entered: 03/24/2021)

                                       136                     Application to Employ Brinkman Law Group, PC as Counsel to the
                                       (27 pgs)                Official Committee of Unsecured Creditors Filed by Creditor Committee
                                                               Committee of Unsecured Creditors (Brinkman, Daren) (Entered:
   03/25/2021                                                  03/25/2021)

                                       137                     Order Denying without prejudice Debtor's Emergency Motion for
                                       (2 pgs)                 Retention of Chief Restructuring Officer; (BNC-PDF) (Related Doc #
   03/25/2021                                                  108 ) Signed on 3/25/2021 (Jackson, Wendy Ann) (Entered: 03/25/2021)

                                       138                     Order Approving Stipulation to continue hearing on Motion to Excuse
                                       (2 pgs)                 State Court Receiver Edwin Leslie from turnover of assets under 11 USC
                                                               Section 543; ORDERED that the hearing is continued to MAY 5, 2021
                                                               @ 10AM; (BNC-PDF) (Related Doc # 133 ) Signed on 3/26/2021
   03/26/2021                                                  (Jackson, Wendy Ann) (Entered: 03/26/2021)

                                                               Hearing (Bk Motion) Continued (RE: related document(s) 42 GENERIC
                                                               MOTION filed by U.S. Real Estate Credit Holdings III-A, LP) Hearing
                                                               to be held on 05/05/2021 at 10:00 AM 255 E. Temple St. Courtroom
                                                               1539 Los Angeles, CA 90012 for 42 , (Jackson, Wendy Ann) (Entered:
   03/26/2021                                                  03/26/2021)

                                       139                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Mang,
   03/26/2021                          (1 pg)                  Tinho. (Mang, Tinho) (Entered: 03/26/2021)

                                       140                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)137 Order on Generic Motion (BNC-PDF)) No. of Notices:
   03/27/2021                                                  1. Notice Date 03/27/2021. (Admin.) (Entered: 03/27/2021)

                                       141                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)138 ORDER to continue/reschedule hearing (BNC-PDF))
                                                               No. of Notices: 1. Notice Date 03/28/2021. (Admin.) (Entered:
   03/28/2021                                                  03/28/2021)

                                       142                     Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                               Richard A Marshack (TR). 341(a) Meeting Continued to 4/19/2021 at
                                                               09:15 AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                               CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   03/29/2021                                                  03/29/2021)

   03/29/2021                          143                     Notice with Proof of Service Filed by Trustee Richard A Marshack (TR)
                                       (3 pgs)                 (RE: related document(s) 142 Continuance of Meeting of Creditors (Rule
                                                               2003(e)) Filed by Trustee Richard A Marshack (TR). 341(a) Meeting
                                                               Continued to 4/19/2021 at 09:15 AM at TR 7, TELEPHONIC
                                                               MEETING. FOR INSTRUCTIONS CONTACT THE TRUSTEE.
                                                               (Marshack (TR), Richard)). (Marshack (TR), Richard) (Entered:
                                                               03/29/2021)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                17/38


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                                       144                     Notice to Filer of Error and/or Deficient Document Incorrect docket
                                                               event was used to file this document. The correct docket event is:
                                                               Notice of continued meeting of creditors and appearance of debtor
                                                               (11 USC 341(a)); THE FILER IS INSTRUCTED TO RE-FILE THE
                                                               DOCUMENT USING THE CORRECT DOCKET EVENT. (RE:
                                                               related document(s)143 Notice filed by Trustee Richard A Marshack
   03/29/2021                                                  (TR)) (Jackson, Wendy Ann) (Entered: 03/29/2021)

                                       145                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (3 pgs)                 USC 341(a)) Filed by Trustee Richard A Marshack (TR) (RE: related
                                                               document(s) 142 Continuance of Meeting of Creditors (Rule 2003(e))
                                                               (by Trustee/US Trustee - No PDF)). (Marshack (TR), Richard) (Entered:
   03/30/2021                                                  03/30/2021)

                                       146                     Application to Employ Grobstein Teeple, LLP as Accountants Notice Of
                                       (26 pgs)                Application And Application Of Chapter 11 Trustee, Richard A.
                                                               Marshack, For Authorization To Employ Grobstein Teeple LLP As
                                                               Accountants Effective March 17, 2021; Statement Of Disinterestedness In
                                                               Support Thereof With Proof Of Service Filed by Accountant Grobstein
   03/31/2021                                                  Teeple, LLP. (Grobstein, Howard) (Entered: 03/31/2021)

                                       147                     Notice of Appearance and Request for Notice and Service of Papers by
                                       (2 pgs)                 Jonathan R Doolittle Filed by Creditors Laserscopic Spinal Centers of
                                                               America, Inc., Laserscopic Medical Clinic, LLC, Laserscopic Spine
                                                               Centers Of America, Inc., Joe Samuel Bailey. (Doolittle, Jonathan)
   04/06/2021                                                  (Entered: 04/06/2021)

                                       148                     Application to Employ Marshack Hays LLP as General Counsel ; and
                                       (29 pgs)                Declaration of Chad V. Haes in support; with Proof of Service Filed by
   04/06/2021                                                  Trustee Richard A Marshack (TR) (Haes, Chad) (Entered: 04/06/2021)

                                       149                     Notice of motion/application Filed by Trustee Richard A Marshack (TR)
                                       (8 pgs)                 (RE: related document(s)148 Application to Employ Marshack Hays
                                                               LLP as General Counsel ; and Declaration of Chad V. Haes in support;
                                                               with Proof of Service Filed by Trustee Richard A Marshack (TR)). (Haes,
   04/06/2021                                                  Chad) (Entered: 04/06/2021)

                                       150                     Hearing Held (Bk Other) (RE: related document(s) 1 Voluntary Petition
                                                               (Chapter 11)); RULING - S/C CONT'D. TO 5/5/21 @ 10AM TO
                                                               COINCIDE WITH OTHER MATTERS ON CALENDAR; (Jackson,
   04/07/2021                                                  Wendy Ann) (Entered: 04/07/2021)

                                       151                     Document Re: Bond of Trustee Richard A Marshack of Irvine, CA, as
                                       (2 pgs)                 Principal, and Liberty Mutual Insurance Company, as Surety, are held
                                                               and firmly bound to the United States of American in the sum of
   04/09/2021                                                  $50,000.00. (Pennington-Jones, Patricia) (Entered: 04/09/2021)

                                       152                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Miller,
   04/13/2021                          (1 pg)                  Stacey. (Miller, Stacey) (Entered: 04/13/2021)

                                       153                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (31 pgs)                1(o)(3)) Filed by Creditor Committee Committee of Unsecured Creditors
                                                               (RE: related document(s)136 Application to Employ Brinkman Law
                                                               Group, PC as Counsel to the Official Committee of Unsecured Creditors
   04/14/2021                                                  ). (Brinkman, Daren) (Entered: 04/14/2021)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                  18/38


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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
   04/16/2021                          154                     Notice Of Appearance and Request for Notices, with Proof of Service
                                       (6 pgs)                 Filed by Interested Party Stuart Rubin. (Smith, Evan) (Entered:
                                                               04/16/2021)

                                       155                     Notice to Filer of Error and/or Deficient Document Incorrect docket
                                                               event was used to file this document. The correct docket event is:
                                                               Notice of Appearance and Request for Notice; THE FILER IS
                                                               INSTRUCTED TO RE-FILE THE DOCUMENT USING THE
                                                               CORRECT DOCKET EVENT. (RE: related document(s)154 Notice
                                                               filed by Interested Party Stuart Rubin) (Jackson, Wendy Ann) (Entered:
   04/19/2021                                                  04/19/2021)

                                       156                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (3 pgs)                 USC 341(a)) Filed by Trustee Richard A Marshack (TR) (RE: related
                                                               document(s) 142 Continuance of Meeting of Creditors (Rule 2003(e))
                                                               (by Trustee/US Trustee - No PDF)). (Marshack (TR), Richard) (Entered:
   04/19/2021                                                  04/19/2021)

                                       157                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (3 pgs)                 USC 341(a)) Filed by Trustee Richard A Marshack (TR) (RE: related
                                                               document(s) 142 Continuance of Meeting of Creditors (Rule 2003(e))
                                                               (by Trustee/US Trustee - No PDF)). (Marshack (TR), Richard) (Entered:
   04/19/2021                                                  04/19/2021)

                                       158                     Notice of Appearance and Request for Notice with Proof of Service. by
                                       (6 pgs)                 Evan L Smith Filed by Interested Party Stuart Rubin. (Smith, Evan)
   04/19/2021                                                  (Entered: 04/19/2021)

                                       159                     Status Report for Chapter 11 Status Conference with Proof of Service
                                       (8 pgs)                 Filed by Trustee Richard A Marshack (TR) (RE: related document(s)5
                                                               Order setting initial status conference in chapter 11 case (BNC-PDF)).
   04/21/2021                                                  (Marshack (TR), Richard) (Entered: 04/21/2021)

                                       160                     Opposition to (related document(s): 42 Motion to Excuse State Court
                                       (8 pgs)                 Receiver, Edwin Leslie, From Turnover of Assets Under 11 U.S.C.
                                                               Section 543; Memorandum of Points and Authorities filed by Creditor
                                                               U.S. Real Estate Credit Holdings III-A, LP) Chapter 11 Trustee's
                                                               Response to Motion to Excuse State Court Receiver, Edwin Leslie, From
                                                               Turnover of Assets Under 11 U.S.C. Section 543; Declaration of Chad V.
                                                               Haes Filed by Trustee Richard A Marshack (TR) (Haes, Chad) (Entered:
   04/22/2021                                                  04/22/2021)

                                       161                     Request for special notice Filed by Creditors Tandem West Glass, Inc.,
                                       (1 pg)                  Temalpakh, Inc. dba The Works Floor & Wall, Mascorro Concrete
                                                               Construction, Inc., Jacobsson Engineering Construction, Inc., Apple J.
                                                               Plumbing, Desert Palm Electric, Inc., Al Miller & Sons Roofing Co.,
   04/22/2021                                                  Inc.. (Polis, Thomas) (Entered: 04/22/2021)

                                       162                     Reply to (related document(s): 159 Status Report for Chapter 11 Status
                                       (10 pgs)                Conference filed by Trustee Richard A Marshack (TR), 160 Opposition
                                                               filed by Trustee Richard A Marshack (TR)) Filed by Creditor U.S. Real
                                                               Estate Credit Holdings III-A, LP (Rivas, Christopher) (Entered:
   04/26/2021                                                  04/26/2021)

   04/28/2021                          163                     Declaration re: DECLARATION THAT NO PARTY REQUESTED A
                                       (30 pgs)                HEARING ON MOTION Filed by Accountant Grobstein Teeple, LLP
                                                               (RE: related document(s)146 Application to Employ Grobstein Teeple,

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                 19/38


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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
                                                               LLP as Accountants Notice Of Application And Application Of Chapter
                                                               11 Trustee, Richard A. Marshack, For Authorization To Employ
                                                               Grobstein Teeple LLP As Accountants Effective March 17, 2021;
                                                               Statement Of Disinterestedness In Support Thereof With Proof Of Service
                                                               Filed by Accountant Grobstein Teeple, LLP.). (Grobstein, Howard)
                                                               (Entered: 04/28/2021)

                                       164                     Order Granting Application to Employ Grobstein Teeple LLP as
                                       (2 pgs)                 Accountants effective March 17, 2021; (BNC-PDF) (Related Doc # 146)
   04/28/2021                                                  Signed on 4/28/2021. (Jackson, Wendy Ann) (Entered: 04/28/2021)

                                       165                     Reply to (related document(s): 42 Motion to Excuse State Court
                                       (23 pgs)                Receiver, Edwin Leslie, From Turnover of Assets Under 11 U.S.C.
                                                               Section 543; Memorandum of Points and Authorities filed by Creditor
                                                               U.S. Real Estate Credit Holdings III-A, LP, 160 Opposition filed by
                                                               Trustee Richard A Marshack (TR)) Comments Of Edwin W. Leslie,
                                                               Receiver, To Response Of Chapter 11 Trustee To Motion To Excuse State
                                                               Court Receiver From Turnover Of Assets Under 11 U.S.C. § 543;
                                                               Declaration Of Edwin W. Leslie (With Proof of Service) Filed by
                                                               Interested Party Edwin W. Leslie, Receiver (Tippie, Alan) (Entered:
   04/28/2021                                                  04/28/2021)

                                       166                     Notice of Perfection by Secured Creditor Al Miller & Sons Roofing Co.,
                                       (7 pgs; 2 docs)         Inc.; with Proof of Service Filed by Creditor Al Miller & Sons Roofing
                                                               Co., Inc.. (Attachments: # 1 Exhibit A) (Polis, Thomas) (Entered:
   04/28/2021                                                  04/28/2021)

                                       167                     Notice of Perfection by Secured Creditor Apple J Plumbing; with Proof
                                       (6 pgs; 2 docs)         of Service Filed by Creditor Apple J. Plumbing. (Attachments: # 1
   04/28/2021                                                  Exhibit A) (Polis, Thomas) (Entered: 04/28/2021)

                                       168                     Notice of Perfection by Secured Creditor Desert Palms Electric; with
                                       (6 pgs; 2 docs)         Proof of Service Filed by Creditor Desert Palm Electric, Inc..
   04/28/2021                                                  (Attachments: # 1 Exhibit A) (Polis, Thomas) (Entered: 04/28/2021)

                                       169                     Notice of Perfection by Secured Creditor Jacobsson Engineering
                                       (7 pgs; 2 docs)         Construction; with Proof of Service Filed by Creditor Jacobsson
                                                               Engineering Construction, Inc.. (Attachments: # 1 Exhibit A) (Polis,
   04/28/2021                                                  Thomas) (Entered: 04/28/2021)

                                       170                     Notice of Perfection by Secured Creditor Mascorro Concrete
                                       (6 pgs; 2 docs)         Construction; with Proof of Service Filed by Creditor Mascorro Concrete
                                                               Construction, Inc.. (Attachments: # 1 Exhibit A) (Polis, Thomas)
   04/28/2021                                                  (Entered: 04/28/2021)

                                       171                     Notice of Perfection by Secured Creditor Tandem West Glass; with Proof
                                       (7 pgs; 2 docs)         of Service Filed by Creditor Tandem West Glass, Inc.. (Attachments: # 1
   04/28/2021                                                  Exhibit A) (Polis, Thomas) (Entered: 04/28/2021)

                                       172                     Notice of Perfection by Secured Creditor Temalpakh, Inc.; with Proof of
                                       (5 pgs; 2 docs)         Service Filed by Creditor Temalpakh, Inc. dba The Works Floor & Wall.
   04/28/2021                                                  (Attachments: # 1 Exhibit A) (Polis, Thomas) (Entered: 04/28/2021)

                                       173                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Pistone,
   04/29/2021                          (1 pg)                  Sheila. (Pistone, Sheila) (Entered: 04/29/2021)

   04/30/2021                          174                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                               20/38


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7/28/2021                                                   CM/ECF - U.S. Bankruptcy Court (v1.5.3 - LIVE)
                                       (42 pgs)                1(o)(3)) Filed by Trustee Richard A Marshack (TR) (RE: related
                                                               document(s)148 Application to Employ Marshack Hays LLP as General
                                                               Counsel ; and Declaration of Chad V. Haes in support; with Proof of
                                                               Service). (Haes, Chad) (Entered: 04/30/2021)

                                       175                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (5 pgs)                 document(s)164 Order on Application to Employ (BNC-PDF)) No. of
   04/30/2021                                                  Notices: 1. Notice Date 04/30/2021. (Admin.) (Entered: 04/30/2021)

                                       176                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (3 pgs)                 USC 341(a)) Filed by Trustee Richard A Marshack (TR) (RE: related
                                                               document(s) 142 Continuance of Meeting of Creditors (Rule 2003(e))
                                                               (by Trustee/US Trustee - No PDF)). (Marshack (TR), Richard) (Entered:
   05/03/2021                                                  05/03/2021)

                                       177                     Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                               Richard A Marshack (TR). 341(a) Meeting Continued to 5/20/2021 at
                                                               10:00 AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                               CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   05/03/2021                                                  05/03/2021)

                                       178                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Hays, D.
   05/03/2021                          (1 pg)                  (Hays, D) (Entered: 05/03/2021)

                                       179                     Monthly Operating Report. Operating Report Number: 2. For the Month
                                       (18 pgs)                Ending 3/31/21 with Proof of Service Filed by Trustee Richard A
   05/03/2021                                                  Marshack (TR). (Marshack (TR), Richard) (Entered: 05/03/2021)

                                       180                     Notice of motion and motion for relief from automatic stay with
                                       (76 pgs; 2 docs)        supporting declarations ACTION IN NON-BANKRUPTCY FORUM
                                                               RE: Al Miller & Sons Roofing v. Doug Wall Construction et al; with
                                                               Proof of Service. Fee Amount $188, Filed by Creditor Al Miller & Sons
                                                               Roofing Co., Inc. (Attachments: # 1 Exhibit A) (Polis, Thomas) (Entered:
   05/04/2021                                                  05/04/2021)

                                       181                     Notice of motion and motion for relief from automatic stay with
                                       (135 pgs; 2 docs)       supporting declarations ACTION IN NON-BANKRUPTCY FORUM
                                                               RE: Tandem West Glass v. Doug Wall Construction, et al; with Proof of
                                                               Service. Fee Amount $188, Filed by Creditor Tandem West Glass, Inc.
   05/04/2021                                                  (Attachments: # 1 Exhibit A) (Polis, Thomas) (Entered: 05/04/2021)

                                                               Receipt of Motion for Relief from Stay - ACTION IN NON-
                                                               BANKRUPTCY FORUM( 2:21-bk-11188-BB) [motion,nman] ( 188.00)
                                                               Filing Fee. Receipt number AXXXXXXXX. Fee amount 188.00. (re: Doc#
   05/04/2021                                                  180) (U.S. Treasury) (Entered: 05/04/2021)

                                                               Receipt of Motion for Relief from Stay - ACTION IN NON-
                                                               BANKRUPTCY FORUM( 2:21-bk-11188-BB) [motion,nman] ( 188.00)
                                                               Filing Fee. Receipt number AXXXXXXXX. Fee amount 188.00. (re: Doc#
   05/04/2021                                                  181) (U.S. Treasury) (Entered: 05/04/2021)

   05/05/2021                          182                     Motion Chapter 11 Trustee's Motion to (1) Extend the SARE Deadline
                                       (29 pgs)                Under Section 362(d)(3) or, in the Alternative, (2) Abandon the Estate's
                                                               Interest in Certain Real Property; Memorandum of Points and
                                                               Authorities; Declaration of Richard A. Marshack in Support, with Proof
                                                               of Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad)
                                                               (Entered: 05/05/2021)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                21/38


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                                       183                     Application shortening time Application for Order Setting Hearing on
                                       (7 pgs)                 Shortened Notice; Declaration of Chad V. Haes in Support of Application
                                                               re: Chapter 11 Trustee's Motion to (1) Extend the SARE Deadline Under
                                                               Section 362(d)(3) or, in the Alternative, (2) Abandon the Estate's Interest
                                                               in Certain Real Property (Related to: [Dk. No. 182] Motion), with Proof
                                                               of Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad).
                                                               Related document(s) 182 Motion Chapter 11 Trustee's Motion to (1)
                                                               Extend the SARE Deadline Under Section 362(d)(3) or, in the
                                                               Alternative, (2) Abandon the Estate's Interest in Certain Real Property;
                                                               Memorandum of Points and Authorities; Declaration of Richard A. M
                                                               filed by Trustee Richard A Marshack (TR). Modified on 5/5/2021 to
                                                               relate the document to the motion. (Jackson, Wendy Ann). (Entered:
   05/05/2021                                                  05/05/2021)

                                       184                     Hearing Set (RE: related document(s)180 Motion for Relief from Stay -
                                                               ACTION IN NON-BANKRUPTCY FORUM filed by Creditor Al Miller
                                                               & Sons Roofing Co., Inc.) The Hearing date is set for 5/25/2021 at 10:00
                                                               AM at Crtrm 1539, 255 E Temple St., Los Angeles, CA 90012. The case
   05/05/2021                                                  judge is Sheri Bluebond (Jackson, Wendy Ann) (Entered: 05/05/2021)

                                       185                     Hearing Set (RE: related document(s)181 Motion for Relief from Stay -
                                                               ACTION IN NON-BANKRUPTCY FORUM filed by Creditor Tandem
                                                               West Glass, Inc.) The Hearing date is set for 5/25/2021 at 10:00 AM at
                                                               Crtrm 1539, 255 E Temple St., Los Angeles, CA 90012. The case judge
   05/05/2021                                                  is Sheri Bluebond (Jackson, Wendy Ann) (Entered: 05/05/2021)

                                       186                     Declaration re: Stephen J. Armstrong's Holographic Signature Filed by
                                       (3 pgs)                 Creditor Al Miller & Sons Roofing Co., Inc. (RE: related
                                                               document(s)180 Notice of motion and motion for relief from automatic
                                                               stay with supporting declarations ACTION IN NON-BANKRUPTCY
                                                               FORUM RE: Al Miller & Sons Roofing v. Doug Wall Construction et al;
                                                               with Proof of Service. Fee Amount $188,). (Polis, Thomas) (Entered:
   05/05/2021                                                  05/05/2021)

                                       187                     Declaration re: Stephen J. Armstrong's Holographic Signature Filed by
                                       (3 pgs)                 Creditor Tandem West Glass, Inc. (RE: related document(s)181 Notice of
                                                               motion and motion for relief from automatic stay with supporting
                                                               declarations ACTION IN NON-BANKRUPTCY FORUM RE: Tandem
                                                               West Glass v. Doug Wall Construction, et al; with Proof of Service. Fee
   05/05/2021                                                  Amount $188,). (Polis, Thomas) (Entered: 05/05/2021)

                                       188                     Order Granting Application and setting hearing on shortened notice re:
                                       (4 pgs)                 Chapter 11 Trustee's Motion to (1) Extend the SARE Deadline Under
                                                               Section 362(d)(3) or, in the Alternative, (2) Abandon the Estate's Interest
                                                               in Certain Real Property; ORDERED that the hearing is set for: MAY 18,
                                                               2021 @ 10AM; (BNC-PDF) (Related Doc # 183 ) Signed on 5/5/2021
   05/05/2021                                                  (Jackson, Wendy Ann) (Entered: 05/05/2021)

                                       189                     Hearing Set (RE: related document(s)182 Generic Motion filed by
                                                               Trustee Richard A Marshack (TR)) The Hearing date is set for 5/18/2021
                                                               at 10:00 AM at Crtrm 1539, 255 E Temple St., Los Angeles, CA 90012.
                                                               The case judge is Sheri Bluebond (Jackson, Wendy Ann) (Entered:
   05/05/2021                                                  05/05/2021)

                                       190                     Order Granting Application to Employ Marshack Hays LLP as General
                                       (2 pgs)                 Counsel; (BNC-PDF) (Related Doc # 148) Signed on 5/5/2021. (Jackson,
   05/05/2021                                                  Wendy Ann) (Entered: 05/05/2021)

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                22/38


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                                       191                    Notice to Filer of Error and/or Deficient Document
                                                              Incorrect/incomplete/unreadable PDF was attached to the docket
                                                              entry. All Documents filed with the Court must have a pleading
                                                              coversheet with Debtor's Name, Case Number and Title of document.
                                                              THE FILER IS INSTRUCTED TO RE-FILE THE DOCUMENT
                                                              WITH THE CORRECT PDF IMMEDIATELY. (RE: related
                                                              document(s)186 Declaration filed by Creditor Al Miller & Sons Roofing
                                                              Co., Inc., 187 Declaration filed by Creditor Tandem West Glass, Inc.)
   05/05/2021                                                 (Jackson, Wendy Ann) (Entered: 05/05/2021)

                                       192                    Notice of Hearing Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (18 pgs)               document(s)182 Motion Chapter 11 Trustee's Motion to (1) Extend the
                                                              SARE Deadline Under Section 362(d)(3) or, in the Alternative, (2)
                                                              Abandon the Estate's Interest in Certain Real Property; Memorandum of
                                                              Points and Authorities; Declaration of Richard A. Marshack in Support,
                                                              with Proof of Service Filed by Trustee Richard A Marshack (TR)). (Haes,
   05/05/2021                                                 Chad) (Entered: 05/05/2021)

                                       193                    Notice of Hearing Notice of Continued Status Conference; with Proof of
                                       (13 pgs)               Service Filed by Trustee Richard A Marshack (TR). (Haes, Chad)
   05/05/2021                                                 (Entered: 05/05/2021)

                                       194                    Proof of service Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (12 pgs)               document(s)182 Motion Chapter 11 Trustee's Motion to (1) Extend the
                                                              SARE Deadline Under Section 362(d)(3) or, in the Alternative, (2)
                                                              Abandon the Estate's Interest in Certain Real Property; Memorandum of
                                                              Points and Authorities; Declaration of Richard A. M). (Haes, Chad)
   05/05/2021                                                 (Entered: 05/05/2021)

                                       195                    Declaration re: Holographic Signature of Stephen J. Armstrong in Support
                                       (6 pgs)                of Movants Motion for Relief from the Automatic Stay (ECF No. 180);
                                                              with Proof of Service Filed by Creditor Al Miller & Sons Roofing Co.,
                                                              Inc. (RE: related document(s)180 Notice of motion and motion for relief
                                                              from automatic stay with supporting declarations ACTION IN NON-
                                                              BANKRUPTCY FORUM RE: Al Miller & Sons Roofing v. Doug Wall
                                                              Construction et al; with Proof of Service. Fee Amount $188,). (Polis,
   05/05/2021                                                 Thomas) (Entered: 05/05/2021)

                                       196                    Declaration re: Holographic Signature of Stephen J. Armstrong in Support
                                       (6 pgs)                of Movants Motion for Relief from the Automatic Stay (ECF No. 181);
                                                              with Proof of Service Filed by Creditor Tandem West Glass, Inc. (RE:
                                                              related document(s)181 Notice of motion and motion for relief from
                                                              automatic stay with supporting declarations ACTION IN NON-
                                                              BANKRUPTCY FORUM RE: Tandem West Glass v. Doug Wall
                                                              Construction, et al; with Proof of Service. Fee Amount $188,). (Polis,
   05/05/2021                                                 Thomas) (Entered: 05/05/2021)

                                       197                    Declaration re: Declaration Regarding Service and Notice of Hearing re:
                                       (6 pgs)                apter 11 Trustee's Motion to (1) Extend the SARE Deadline Under Section
                                                              362(d)(3) or, in the Alternative, (2) Abandon the Estate's Interest in
                                                              Certain Real Property Filed by Trustee Richard A Marshack (TR) (RE:
                                                              related document(s)182 Motion Chapter 11 Trustee's Motion to (1) Extend
                                                              the SARE Deadline Under Section 362(d)(3) or, in the Alternative, (2)
                                                              Abandon the Estate's Interest in Certain Real Property; Memorandum of
                                                              Points and Authorities; Declaration of Richard A. M). (Haes, Chad)
   05/06/2021                                                 (Entered: 05/06/2021)


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   05/06/2021                                                 An Order is to be lodged by Committee of Unsecured Creditors (RE:
                                                              related document(s)136 Application to Employ filed by Creditor
                                                              Committee Committee of Unsecured Creditors) Order due by 5/7/2021.
                                                              (Jackson, Wendy Ann) (Entered: 05/06/2021)

                                       198                    Motion Motion for Order to Limit Notice Pursuant to Rules 2002 and
                                       (43 pgs)               9007 of the Federal Rules of Bankruptcy Procedure; Memorandum of
                                                              Points and Authorities; Declaration of Chad V. Haes in Support; with
                                                              Proof of Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad)
   05/06/2021                                                 (Entered: 05/06/2021)

                                       199                    Notice of motion/application Filed by Trustee Richard A Marshack (TR)
                                       (14 pgs)               (RE: related document(s)198 Motion Motion for Order to Limit Notice
                                                              Pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy
                                                              Procedure; Memorandum of Points and Authorities; Declaration of Chad
                                                              V. Haes in Support; with Proof of Service Filed by Trustee Richard A
   05/06/2021                                                 Marshack (TR)). (Haes, Chad) (Entered: 05/06/2021)

                                       200                    Hearing Held (Bk Motion) (RE: related document(s) 42 Generic Motion);
                                                              RULING - ORDER TO FOLLOW FROM MR. HAYES; CONT'D. TO
   05/06/2021                                                 7/7/21 @ 10AM; (Jackson, Wendy Ann) (Entered: 05/06/2021)

                                       201                    Hearing Continued (RE: related document(s)1 Voluntary Petition (Chapter
                                                              11) filed by Debtor Glenroy Coachella, LLC); RULING- Status Report
                                                              waived; Status hearing to be held on 7/7/2021 at 10:00 AM at Crtrm 1539,
                                                              255 E Temple St., Los Angeles, CA 90012. The case judge is Sheri
   05/06/2021                                                 Bluebond (Jackson, Wendy Ann) (Entered: 05/06/2021)

                                       202                    Order Granting Application of the Official Committee of Unsecured
                                       (2 pgs)                Creditors to Employ Brinkman Law Group, PC as Counsel; (BNC-PDF)
                                                              (Related Doc # 136) Signed on 5/7/2021. (Jackson, Wendy Ann) (Entered:
   05/07/2021                                                 05/07/2021)

                                       203                    Supplemental Movant Al Miller & Sons Roofings Supplemental Points and
                                       (5 pgs)                Authorities Re: Motion for Relief from the Automatic Stay (ECF NO. 180);
                                                              with Proof of Service Filed by Creditor Al Miller & Sons Roofing Co.,
                                                              Inc.. (Polis, Thomas). Related document(s) 180 Notice of motion and
                                                              motion for relief from automatic stay with supporting declarations
                                                              ACTION IN NON-BANKRUPTCY FORUM RE: Al Miller & Sons
                                                              Roofing v. Doug Wall Construction et al; with Proof of Service. Fee
                                                              Amount $188, filed by Creditor Al Miller & Sons Roofing Co., Inc..
                                                              Modified on 5/7/2021 to relate the document to the motion; (Jackson,
   05/07/2021                                                 Wendy Ann). (Entered: 05/07/2021)

                                       204                    Supplemental Movant Tandem West Glass Supplemental Points and
                                       (5 pgs)                Authorities Re: Motion for Relief from the Automatic Stay (ECF NO. 181);
                                                              with Proof of Service Filed by Creditor Tandem West Glass, Inc.. (Polis,
                                                              Thomas). Related document(s) 181 Notice of motion and motion for relief
                                                              from automatic stay with supporting declarations ACTION IN NON-
                                                              BANKRUPTCY FORUM RE: Tandem West Glass v. Doug Wall
                                                              Construction, et al; with Proof of Service. Fee Amount $188, filed by
                                                              Creditor Tandem West Glass, Inc.. Modified on 5/7/2021 to relate the
   05/07/2021                                                 document to the motion; (Jackson, Wendy Ann). (Entered: 05/07/2021)

   05/07/2021                          205                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (11 pgs)               related document(s)42 Motion to Excuse State Court Receiver, Edwin
                                                              Leslie, From Turnover of Assets Under 11 U.S.C. Section 543;

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                                                              Memorandum of Points and Authorities Filed by Creditor U.S. Real Estate
                                                              Credit Holdings III-A, LP). (Hays, D) (Entered: 05/07/2021)

                                       206                    BNC Certificate of Notice - PDF Document. (RE: related document(s)188
                                       (7 pgs)                ORDER shortening time (BNC-PDF)) No. of Notices: 1. Notice Date
   05/07/2021                                                 05/07/2021. (Admin.) (Entered: 05/07/2021)

                                       207                    BNC Certificate of Notice - PDF Document. (RE: related document(s)190
                                       (5 pgs)                Order on Application to Employ (BNC-PDF)) No. of Notices: 1. Notice
   05/07/2021                                                 Date 05/07/2021. (Admin.) (Entered: 05/07/2021)

                                       208                    BNC Certificate of Notice - PDF Document. (RE: related document(s)202
                                       (5 pgs)                Order on Application to Employ (BNC-PDF)) No. of Notices: 1. Notice
   05/09/2021                                                 Date 05/09/2021. (Admin.) (Entered: 05/09/2021)

                                       209                    Response to motion for order to terminate, annul, modify or condition the
                                       (25 pgs)               automatic stay and declaration(s) in support (related document(s): 180
                                                              Notice of motion and motion for relief from automatic stay with
                                                              supporting declarations ACTION IN NON-BANKRUPTCY FORUM RE:
                                                              Al Miller & Sons Roofing v. Doug Wall Construction et al; with Proof of
                                                              Service. Fee Amount $188, filed by Creditor Al Miller & Sons Roofing
                                                              Co., Inc., 181 Notice of motion and motion for relief from automatic stay
                                                              with supporting declarations ACTION IN NON-BANKRUPTCY
                                                              FORUM RE: Tandem West Glass v. Doug Wall Construction, et al; with
                                                              Proof of Service. Fee Amount $188, filed by Creditor Tandem West Glass,
                                                              Inc.) Omnibus Response To Motions For Relief From The Automatic Stay
                                                              Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (Rivas,
   05/11/2021                                                 Christopher) (Entered: 05/11/2021)

                                       210                    Monthly Operating Report. Operating Report Number: 3. For the Month
                                       (18 pgs)               Ending 4/30/21 with proof of service; Filed by Trustee Richard A
   05/11/2021                                                 Marshack (TR). (Marshack (TR), Richard) (Entered: 05/11/2021)

                                       211                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (11 pgs)               related document(s)42 Motion to Excuse State Court Receiver, Edwin
                                                              Leslie, From Turnover of Assets Under 11 U.S.C. Section 543;
                                                              Memorandum of Points and Authorities Filed by Creditor U.S. Real Estate
   05/11/2021                                                 Credit Holdings III-A, LP). (Hays, D) (Entered: 05/11/2021)

                                       212                    Stipulation By Richard A Marshack (TR) and Al Miller & Sons Roofing,
                                       (5 pgs)                Inc. to Continue Hearing on Motion for Relief from Automatic Stay Under
                                                              11 U.S.C. Section 362 Filed By Al Miller & Sons Roofing, Inc., with Proof
                                                              of Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad)
   05/11/2021                                                 (Entered: 05/11/2021)

                                       213                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                related document(s)212 Stipulation By Richard A Marshack (TR) and Al
                                                              Miller & Sons Roofing, Inc. to Continue Hearing on Motion for Relief
                                                              from Automatic Stay Under 11 U.S.C. Section 362 Filed By Al Miller &
                                                              Sons Roofing, Inc., with Proof of Service Filed by Trustee Richard A
   05/11/2021                                                 Marshack (TR)). (Haes, Chad) (Entered: 05/11/2021)

                                       214                    Stipulation By Richard A Marshack (TR) and Tandem West Glass Inc. to
                                       (5 pgs)                Continue Hearing on Motion for Relief from the Automatic Stay Under 11
                                                              U.S.C. Section 362 Filed by Tandem West Glass, Inc.; with Proof of
                                                              Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad) (Entered:
   05/11/2021                                                 05/11/2021)

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   05/11/2021                          215                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                related document(s)214 Stipulation By Richard A Marshack (TR) and
                                                              Tandem West Glass Inc. to Continue Hearing on Motion for Relief from
                                                              the Automatic Stay Under 11 U.S.C. Section 362 Filed by Tandem West
                                                              Glass, Inc.; with Proof of Service). (Haes, Chad) (Entered: 05/11/2021)

                                       216                    Order Granting to excuse State Court Receiver, Edwin Leslie, form
                                       (8 pgs)                turnover of assets under 11 U.S.C. §543. Hearing is being continued from
                                                              May 5, 2021 at 10am to July 7, 2021 at 10am (BNC-PDF) (Related Doc #
   05/12/2021                                                 42 ) Signed on 5/12/2021 (Lewis, Litaun) (Entered: 05/12/2021)

                                       217                    Order appoving stipulation to continue hearing on motion for relief from
                                       (2 pgs)                the automatic stay under 11 U.S.C. §362 filed by Al Miller & Sons
                                                              Roofing, Inc from May 25, 2021 at 10am to June 8, 2021 at 10am (BNC-
                                                              PDF) (Related Doc # 212 ) Signed on 5/12/2021 (Lewis, Litaun) (Entered:
   05/12/2021                                                 05/12/2021)

                                                              Hearing (Bk Motion) Continued (RE: related document(s) 180 MOTION
                                                              FOR RELIEF FROM STAY - ACTION IN NON-BANKRUPTCY
                                                              FORUM filed by Al Miller & Sons Roofing Co., Inc.) Hearing to be held
                                                              on 06/08/2021 at 10:00 AM 255 E. Temple St. Courtroom 1539 Los
   05/12/2021                                                 Angeles, CA 90012 for 180 , (Lewis, Litaun) (Entered: 05/12/2021)

                                       218                    Order approving stipulation to continue hearing on motion for relief from
                                       (2 pgs)                the automatic stay under 11 U.S.C. §362 filed by Tandem West Glass, Inc
                                                              from May 25, 2021 at 10am to June 8, 2021 at 10am (BNC-PDF) (Related
   05/13/2021                                                 Doc # 214 ) Signed on 5/13/2021 (Lewis, Litaun) (Entered: 05/13/2021)

                                                              Hearing (Bk Motion) Continued (RE: related document(s) 181 MOTION
                                                              FOR RELIEF FROM STAY - ACTION IN NON-BANKRUPTCY
                                                              FORUM filed by Tandem West Glass, Inc.) Hearing to be held on
                                                              06/08/2021 at 10:00 AM 255 E. Temple St. Courtroom 1539 Los Angeles,
   05/13/2021                                                 CA 90012 for 181 , (Lewis, Litaun) (Entered: 05/13/2021)

                                       219                    Stipulation By U.S. Real Estate Credit Holdings III-A, LP and Stipulation
                                       (5 pgs)                To Continue Deadlines And Hearing With Respect To Single Asset Real
                                                              Estate And Abandonment Motion Filed by Creditor U.S. Real Estate Credit
   05/14/2021                                                 Holdings III-A, LP (Rivas, Christopher) (Entered: 05/14/2021)

                                       220                    Notice of lodgment of Order In Bankruptcy Case Re: Order Granting
                                       (6 pgs)                Stipulation To Continue Deadlines And Hearing With Respect To Single
                                                              Asset Real Estate And Abandonment Motion Filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP (RE: related document(s)180 Notice of
                                                              motion and motion for relief from automatic stay with supporting
                                                              declarations ACTION IN NON-BANKRUPTCY FORUM RE: Al Miller
                                                              & Sons Roofing v. Doug Wall Construction et al; with Proof of Service.
                                                              Fee Amount $188, Filed by Creditor Al Miller & Sons Roofing Co., Inc.
                                                              (Attachments: # 1 Exhibit A), 181 Notice of motion and motion for relief
                                                              from automatic stay with supporting declarations ACTION IN NON-
                                                              BANKRUPTCY FORUM RE: Tandem West Glass v. Doug Wall
                                                              Construction, et al; with Proof of Service. Fee Amount $188, Filed by
                                                              Creditor Tandem West Glass, Inc. (Attachments: # 1 Exhibit A), 219
                                                              Stipulation By U.S. Real Estate Credit Holdings III-A, LP and Stipulation
                                                              To Continue Deadlines And Hearing With Respect To Single Asset Real
                                                              Estate And Abandonment Motion Filed by Creditor U.S. Real Estate Credit
   05/14/2021                                                 Holdings III-A, LP). (Rivas, Christopher) (Entered: 05/14/2021)


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   05/14/2021                          221                    Notice of motion and motion for relief from the automatic stay with
                                       (32 pgs; 2 docs)       supporting declarations PERSONAL PROPERTY RE: 2019 Bentley
                                                              Bentayga . Fee Amount $188, Filed by Creditors Porsche Financial
                                                              Services, Inc.dba Bentley Financial Services, Porsche Leasing Ltd.
                                                              (Attachments: # 1 Exhibit 1 - 4) (Miller, Stacey) (Entered: 05/14/2021)

                                                              Receipt of Motion for Relief from Stay - Personal Property( 2:21-bk-
                                                              11188-BB) [motion,nmpp] ( 188.00) Filing Fee. Receipt number
                                                              AXXXXXXXX. Fee amount 188.00. (re: Doc# 221) (U.S. Treasury) (Entered:
   05/14/2021                                                 05/14/2021)

                                       222                    Order granting stipulation to continue deadlines and hearing to May 26,
                                       (2 pgs)                2021 at 10:00 am with respect to single asset real estate and abandonment
                                                              motion for relief from automatic stay ACTION IN NON-BANKRUPTCY
                                                              FORUM (BNC-PDF) (Related Doc # 181 ) Signed on 5/14/2021 (Lewis,
   05/14/2021                                                 Litaun) (Entered: 05/14/2021)

                                                              Hearing (Bk Motion) Continued (RE: related document(s) 182 GENERIC
                                                              MOTION filed by Richard A Marshack (TR)) Hearing to be held on
                                                              05/26/2021 at 10:00 AM 255 E. Temple St. Courtroom 1539 Los Angeles,
   05/14/2021                                                 CA 90012 for 182 , (Lewis, Litaun) (Entered: 05/14/2021)

                                       223                    Hearing Set (RE: related document(s)221 Motion for Relief from Stay -
                                                              Personal Property filed by Creditor Porsche Leasing Ltd., Creditor
                                                              Porsche Financial Services, Inc.dba Bentley Financial Services) The
                                                              Hearing date is set for 6/8/2021 at 10:00 AM at Crtrm 1539, 255 E Temple
                                                              St., Los Angeles, CA 90012. The case judge is Sheri Bluebond (Lewis,
   05/14/2021                                                 Litaun) (Entered: 05/14/2021)

                                       224                    Request for Removal from Courtesy Notice of Electronic Filing (NEF)
   05/14/2021                                                 Filed by Pham, Matthew. (Pham, Matthew) (Entered: 05/14/2021)

                                       225                    Request for Removal from Courtesy Notice of Electronic Filing (NEF)
   05/14/2021                          (1 pg)                 Filed by Rallis, Dean. (Rallis, Dean) (Entered: 05/14/2021)

                                       226                    BNC Certificate of Notice - PDF Document. (RE: related document(s)216
                                       (11 pgs)               Order on Generic Motion (BNC-PDF)) No. of Notices: 1. Notice Date
   05/14/2021                                                 05/14/2021. (Admin.) (Entered: 05/14/2021)

                                       227                    BNC Certificate of Notice - PDF Document. (RE: related document(s)217
                                       (5 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
   05/14/2021                                                 Date 05/14/2021. (Admin.) (Entered: 05/14/2021)

                                       228                    BNC Certificate of Notice - PDF Document. (RE: related document(s)218
                                       (5 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
   05/15/2021                                                 Date 05/15/2021. (Admin.) (Entered: 05/15/2021)

                                       229                    BNC Certificate of Notice - PDF Document. (RE: related document(s)222
                                       (5 pgs)                Motion for relief from automatic stay ACTION IN NON-BANKRUPTCY
                                                              FORUM (BNC-PDF)) No. of Notices: 1. Notice Date 05/16/2021.
   05/16/2021                                                 (Admin.) (Entered: 05/16/2021)

   05/17/2021                          230                    Notice to Filer of Error and/or Deficient Document
                                                              Incorrect/incomplete/unreadable PDF was attached to the docket
                                                              entry. THE FILER IS INSTRUCTED TO RE-FILE THE
                                                              DOCUMENT WITH THE CORRECT PDF IMMEDIATELY - All
                                                              PDF files must be flattened before filing through CM/ECF - Court
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                                                              Manual Section 3.5(k). (RE: related document(s)224 Request for
                                                              Removal from Courtesy Notice of Electronic Filing (NEF) filed by
                                                              Interested Party Courtesy NEF) (Milano, Sonny) (Entered: 05/17/2021)

                                       231                    Request for courtesy Notice of Electronic Filing (NEF) Filed by Pagter, R.
   05/20/2021                          (1 pg)                 (Pagter, R) (Entered: 05/20/2021)

                                       232                    Notice of Appearance and Request for Notice with Proof of service by
                                       (6 pgs)                Evan L Smith Filed by Interested Party Elliot Lander. (Smith, Evan)
   05/24/2021                                                 (Entered: 05/24/2021)

                                       233                    Opposition to (related document(s): 182 Motion Chapter 11 Trustee's
                                       (83 pgs)               Motion to (1) Extend the SARE Deadline Under Section 362(d)(3) or, in
                                                              the Alternative, (2) Abandon the Estate's Interest in Certain Real
                                                              Property; Memorandum of Points and Authorities; Declaration of Richard
                                                              A. M filed by Trustee Richard A Marshack (TR)) Filed by Creditor U.S.
                                                              Real Estate Credit Holdings III-A, LP (Houston, Marsha) (Entered:
   05/24/2021                                                 05/24/2021)

                                       234                    Response to (related document(s): 182 Motion Chapter 11 Trustee's
                                       (33 pgs)               Motion to (1) Extend the SARE Deadline Under Section 362(d)(3) or, in
                                                              the Alternative, (2) Abandon the Estate's Interest in Certain Real
                                                              Property; Memorandum of Points and Authorities; Declaration of Richard
                                                              A. M filed by Trustee Richard A Marshack (TR)) and Declaration of Evan
                                                              L. Smith, with Proof of Service Filed by Interested Parties Elliot Lander,
   05/24/2021                                                 Stuart Rubin (Smith, Evan) (Entered: 05/24/2021)

                                       235                    Stipulation By U.S. Real Estate Credit Holdings III-A, LP and Stipulation
                                       (5 pgs)                To Continue Deadlines And Hearing With Respect To Single Asset Real
                                                              Estate And Abandonment Motion Filed by Creditor U.S. Real Estate Credit
   05/25/2021                                                 Holdings III-A, LP (Rivas, Christopher) (Entered: 05/25/2021)

                                       236                    Notice of lodgment Notice Of Lodgment Of Order In Bankruptcy Case Re:
                                       (6 pgs)                Stipulation To Continue Deadlines And Hearing With Respect To Single
                                                              Asset Real Estate And Abandonment Motion Filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP (RE: related document(s)182 Motion
                                                              Chapter 11 Trustee's Motion to (1) Extend the SARE Deadline Under
                                                              Section 362(d)(3) or, in the Alternative, (2) Abandon the Estate's Interest
                                                              in Certain Real Property; Memorandum of Points and Authorities;
                                                              Declaration of Richard A. M, 235 Stipulation By U.S. Real Estate Credit
                                                              Holdings III-A, LP and Stipulation To Continue Deadlines And Hearing
                                                              With Respect To Single Asset Real Estate And Abandonment Motion).
   05/25/2021                                                 (Rivas, Christopher) (Entered: 05/25/2021)

                                       237                    Order Granting Stipulation to continue deadlines and hearing with respect
                                       (2 pgs)                to Single Asset Real Estate and Abandonment Motion; ORDERED that
                                                              the SARE deadline is extended to 6/11/21; opposition to the SARE motion
                                                              is 6/7/21; hearing date is continued to JUNE 9, 2021 @ 11AM; (BNC-
                                                              PDF) (Related Doc # 235 ) Signed on 5/25/2021 (Jackson, Wendy Ann)
   05/25/2021                                                 (Entered: 05/25/2021)

                                       238                    BNC Certificate of Notice - PDF Document. (RE: related document(s)237
                                       (5 pgs)                ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   05/27/2021                                                 Notice Date 05/27/2021. (Admin.) (Entered: 05/27/2021)

   05/28/2021                          239                    Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (62 pgs)               1(o)(3)) Filed by Trustee Richard A Marshack (TR) (RE: related

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                28/38


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                                                              document(s)198 Motion Motion for Order to Limit Notice Pursuant to
                                                              Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure;
                                                              Memorandum of Points and Authorities; Declaration of Chad V. Haes in
                                                              Support; with Proof of Service). (Haes, Chad) (Entered: 05/28/2021)

                                       240                    Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                              Richard A Marshack (TR). 341(a) Meeting Continued to 6/4/2021 at 10:00
                                                              AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                              CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   05/28/2021                                                 05/28/2021)

                                       241                    Order Granting Motion for Order to Limit Notice pursuant to Rules 2002
                                       (2 pgs)                and 9007 of the F.R.B.P. (BNC-PDF) (Related Doc # 198 ) Signed on
   05/28/2021                                                 5/28/2021 (Jackson, Wendy Ann) (Entered: 05/28/2021)

                                       242                    BNC Certificate of Notice - PDF Document. (RE: related document(s)241
                                       (5 pgs)                Order on Generic Motion (BNC-PDF)) No. of Notices: 1. Notice Date
   05/30/2021                                                 05/30/2021. (Admin.) (Entered: 05/30/2021)

                                       243                    Notice of Change of Address Re: Art of the Muse, LLC Filed by
                                       (1 pg)                 Creditor/Owner Bradley Huntzinger . (Pennington-Jones, Patricia)
   06/01/2021                                                 (Entered: 06/02/2021)

                                       244                    Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                              Richard A Marshack (TR). 341(a) Meeting Continued to 6/25/2021 at
                                                              10:00 AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                              CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   06/02/2021                                                 06/02/2021)

                                       245                    Stipulation By Richard A Marshack (TR) and Al Miller & Sons Roofing,
                                       (5 pgs)                Inc. to Continue Hearing on Motion for Relief from the Automatic Stay
                                                              Under 11 U.S.C. Section 362 filed by Al Miller & Sons Roofing, Inc. ; with
                                                              Proof of Service Filed by Trustee Richard A Marshack (TR) (Haes, Chad)
   06/02/2021                                                 (Entered: 06/02/2021)

                                       246                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                related document(s)245 Stipulation By Richard A Marshack (TR) and Al
                                                              Miller & Sons Roofing, Inc. to Continue Hearing on Motion for Relief
                                                              from the Automatic Stay Under 11 U.S.C. Section 362 filed by Al Miller &
                                                              Sons Roofing, Inc. ; with Proof of Service Filed by Trustee Richard A
   06/02/2021                                                 Marshack (TR)). (Haes, Chad) (Entered: 06/02/2021)

                                       247                    Stipulation By Richard A Marshack (TR) and Tandem West Glass, Inc. to
                                       (5 pgs)                Continue Hearing on Motion for Relief from the Automatic stay Under 11
                                                              U.S.C. Section 362 filed by Tandem West Glass, Inc.; with proof of service
                                                              Filed by Trustee Richard A Marshack (TR) (Haes, Chad) (Entered:
   06/02/2021                                                 06/02/2021)

                                       248                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                related document(s)247 Stipulation By Richard A Marshack (TR) and
                                                              Tandem West Glass, Inc. to Continue Hearing on Motion for Relief from
                                                              the Automatic stay Under 11 U.S.C. Section 362 filed by Tandem West
   06/02/2021                                                 Glass, Inc.; with proof of service). (Haes, Chad) (Entered: 06/02/2021)

   06/03/2021                          249                    Order Approving Stipulation to continue hearing on Motion for Relief
                                       (2 pgs)                from the automatic stay under 11 USC Section 362 filed by Tandem West
                                                              Glass, Inc. (BNC-PDF); ORDERED that the hearing is continued to JUNE
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                                 29/38


                                                                                                        EXHIBIT 1, PAGE 44
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                                                              29, 2021 @ 10AM; the SARE deadline is extended to 6/30/21; (Related
                                                              Doc # 247 ) Signed on 6/3/2021 (Jackson, Wendy Ann) (Entered:
                                                              06/03/2021)

                                       250                    Order Approving Stipulation to continue hearing on Motion for Relief
                                       (2 pgs)                from the automatic stay under 11 USC Section 362 filed by AL Miller &
                                                              Sons Roofing, Inc. (BNC-PDF); ORDERED that the hearing is continued
                                                              to JUNE 29, 2021 @ 10AM; the SARE deadline is extended to 6/30/21
                                                              (Related Doc # 245 ) Signed on 6/3/2021 (Jackson, Wendy Ann) (Entered:
   06/03/2021                                                 06/03/2021)

                                       251                    BNC Certificate of Notice - PDF Document. (RE: related document(s)249
                                       (5 pgs)                ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   06/05/2021                                                 Notice Date 06/05/2021. (Admin.) (Entered: 06/05/2021)

                                       252                    BNC Certificate of Notice - PDF Document. (RE: related document(s)250
                                       (5 pgs)                ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   06/05/2021                                                 Notice Date 06/05/2021. (Admin.) (Entered: 06/05/2021)

                                       253                    Order Granting Motion for relief from the automatic stay PERSONAL
                                       (3 pgs)                PROPERTY (BNC-PDF) (Related Doc # 221 ) Signed on 6/8/2021
   06/08/2021                                                 (Jackson, Wendy Ann) (Entered: 06/08/2021)

                                       254                    Stipulation By U.S. Real Estate Credit Holdings III-A, LP and Stipulation
                                       (6 pgs)                to Continue Deadlines and Hearing With Respect to Single Asset Real
                                                              Estate and Abandonment Motion Filed by Creditor U.S. Real Estate Credit
   06/08/2021                                                 Holdings III-A, LP (Rivas, Christopher) (Entered: 06/08/2021)

                                       255                    Notice of lodgment Notice of Lodgment of Order Granting Stipulation To
                                       (6 pgs)                Continue Deadlines And Hearing With Respect To Single Asset Real
                                                              Estate And Abandonment Motion Filed by Creditor U.S. Real Estate Credit
                                                              Holdings III-A, LP (RE: related document(s)254 Stipulation By U.S. Real
                                                              Estate Credit Holdings III-A, LP and Stipulation to Continue Deadlines
                                                              and Hearing With Respect to Single Asset Real Estate and Abandonment
                                                              Motion Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP).
   06/08/2021                                                 (Rivas, Christopher) (Entered: 06/08/2021)

                                       256                    Hearing Held re: order to show cause re: Appointment of Chapter 11
                                                              Trustee 189 ; RULING- GRANTED; TENTATIVE IS THE RULING;
                                                              ORDER TO FOLLOW FROM US TRUSTEE; (Jackson, Wendy Ann)
                                                              ENTERED DUE TO CLERICAL ERROR; THIS HEARING RESULT
                                                              BELONGS TO CASE NO. 21-10826BB; Modified on 6/8/2021 (Jackson,
   06/08/2021                                                 Wendy Ann). (Entered: 06/08/2021)

                                       257                    Order Approving Stipulation to continue deadlines and hearings with
                                       (2 pgs)                respect to Single Asset Real Estate and abandonment motion; ORDERED
                                                              that the SARE deadline is continued to 6/18/21; deadline to oppose the
                                                              SARE motion is 6/14/21; hearing is continued to JUNE 16, 2021 @ 10am;
                                                              SEE ORDER FOR FURTHER DETAILS; (BNC-PDF) (Related Doc #
   06/08/2021                                                 254 ) Signed on 6/8/2021 (Jackson, Wendy Ann) (Entered: 06/08/2021)

                                       258                    BNC Certificate of Notice - PDF Document. (RE: related document(s)253
                                       (6 pgs)                Motion for relief from the automatic stay PERSONAL PROPERTY
                                                              (BNC-PDF)) No. of Notices: 1. Notice Date 06/10/2021. (Admin.)
   06/10/2021                                                 (Entered: 06/10/2021)

   06/11/2021                          259                    BNC Certificate of Notice - PDF Document. (RE: related document(s)257
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                              30/38


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                                       (5 pgs)                Order on Generic Motion (BNC-PDF)) No. of Notices: 1. Notice Date
                                                              06/11/2021. (Admin.) (Entered: 06/11/2021)

                                       260                    Stipulation By U.S. Real Estate Credit Holdings III-A, LP and Stipulation
                                       (7 pgs)                To Continue Deadlines And Hearing With Respect To Single Asset Real
                                                              Estate And Abandonment Motion Filed by Creditor U.S. Real Estate Credit
   06/15/2021                                                 Holdings III-A, LP (Rivas, Christopher) (Entered: 06/15/2021)

                                       261                    Notice of lodgment Of Order In Bankruptcy Case Re: Order Granting
                                       (6 pgs)                Stipulation To Continue Deadlines And Hearing With Respect To Single
                                                              Asset Real Estate And Abandonment Motion Filed by Creditor U.S. Real
                                                              Estate Credit Holdings III-A, LP (RE: related document(s)260 Stipulation
                                                              By U.S. Real Estate Credit Holdings III-A, LP and Stipulation To
                                                              Continue Deadlines And Hearing With Respect To Single Asset Real
                                                              Estate And Abandonment Motion Filed by Creditor U.S. Real Estate Credit
   06/15/2021                                                 Holdings III-A, LP). (Rivas, Christopher) (Entered: 06/15/2021)

                                       262                    Errata Notice Of Errata Regarding Stipulation To Continue Deadlines And
                                       (4 pgs)                Hearing With Respect To Single Asset Real Estate And Abandonment
                                                              Motion Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (RE:
                                                              related document(s)260 Stipulation By U.S. Real Estate Credit Holdings
                                                              III-A, LP and Stipulation To Continue Deadlines And Hearing With
                                                              Respect To Single Asset Real Estate And Abandonment Motion). (Rivas,
   06/15/2021                                                 Christopher) (Entered: 06/15/2021)

                                       263                    Order Approving Stipulation to continue deadlines and hearing with
                                       (2 pgs)                respect to Single Asset Real Estate and Abandonment Motion; ORDERED
                                                              that the SARE deadline is extended to 7/2/21; deadline to oppose the
                                                              SARE motion is 6/28/21; replies can be made verbally at the hearing;
                                                              Hearing shall be on JUNE 30, 2021 @ 10AM; (BNC-PDF) (Related Doc #
   06/16/2021                                                 260 ) Signed on 6/16/2021 (Jackson, Wendy Ann) (Entered: 06/16/2021)

                                       264                    BNC Certificate of Notice - PDF Document. (RE: related document(s)263
                                       (5 pgs)                ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   06/18/2021                                                 Notice Date 06/18/2021. (Admin.) (Entered: 06/18/2021)

                                       265                    Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                              Richard A Marshack (TR). 341(a) Meeting Continued to 7/6/2021 at 01:00
                                                              PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                              CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   06/23/2021                                                 06/23/2021)

                                       266                    Status report Chapter 11 Trustee's Status Report; with Proof of Service
                                       (7 pgs)                Filed by Trustee Richard A Marshack (TR) (RE: related document(s) 201
                                                              Hearing (Bk Other) Continued). (Marshack (TR), Richard) (Entered:
   06/23/2021                                                 06/23/2021)

                                       267                    Stipulation By Richard A Marshack (TR) and Al Miller & Sons Roofing,
                                       (6 pgs)                Inc. and Tandem West Glass, Inc. to Continue Hearings on Motion for
                                                              Relief from the Automatic Stay Under 11 U.S.C. Section 362, filed by Al
                                                              Miller & Sons, Inc. [Re: Dk. No. 180] and Tandem West Glass, Inc. [Re:
                                                              Dk. No. 181]; with Proof of Service Filed by Trustee Richard A Marshack
   06/24/2021                                                 (TR) (Hays, D) (Entered: 06/24/2021)

   06/24/2021                          268                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                related document(s)267 Stipulation By Richard A Marshack (TR) and Al
                                                              Miller & Sons Roofing, Inc. and Tandem West Glass, Inc. to Continue

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                                                              Hearings on Motion for Relief from the Automatic Stay Under 11 U.S.C.
                                                              Section 362, filed by Al Miller & Sons, Inc. [Re: Dk. No. 180] and Tandem
                                                              West Glass, Inc. [Re: Dk. No. 181]; with Proof of Service Filed by Trustee
                                                              Richard A Marshack (TR)). (Hays, D) (Entered: 06/24/2021)

                                       269                    Order Approving Stipulation to Continue Hearing on Motions for Relief
                                       (2 pgs)                from the Automatic Stay Under 11 U.S.C. Section 362 Filed by Al Miller
                                                              & Sons, Inc. and Tandem West Glass, Inc. (MTN;S CUR SCH FOR 6-29-
                                                              21 @ 10AM IS CONT'D TO 7-13-21 @ 10AM; PLEASE REFER TO
                                                              ORD FOR ADD'L INSTRUCTIONS) (BNC-PDF) (Related Doc # 267 )
   06/25/2021                                                 Signed on 6/25/2021 (Kaaumoana, William) (Entered: 06/25/2021)

                                       270                    Hearing Continued (RE: related document(s)180 Motion for Relief from
                                                              Stay - ACTION IN NON-BANKRUPTCY FORUM filed by Creditor Al
                                                              Miller & Sons Roofing Co., Inc.) CONT'D TO 7-13-21 @ 10AM
   06/25/2021                                                 (Kaaumoana, William) (Entered: 06/25/2021)

                                       271                    Hearing Continued : Notice of motion and motion for relief from
                                                              automatic stay with supporting declarations ACTION IN NON-
                                                              BANKRUPTCY FORUM RE: Tandem West Glass v. Doug Wall
                                                              Construction, et al; with Proof of Service. (Related Doc # 181) CONT'D
   06/25/2021                                                 TO 7-13-21 @ 10AM(Kaaumoana, William) (Entered: 06/25/2021)

                                       272                    Stipulation By Richard A Marshack (TR) and U.S. Real Estate Credit
                                       (10 pgs)               Holdings III-A, LP, Debtor, Edwin W. Leslie, Elliot Lander, Abraham
                                                              Stuart Rubin and Gary Stiffelman to Continue Hearing on Motion to
                                                              Excuse State Court Receiver, Edwin Leslie, from Turnover of Assets Under
                                                              11 U.S.C. Section 543; with Proof of Service Filed by Trustee Richard A
   06/25/2021                                                 Marshack (TR) (Haes, Chad) (Entered: 06/25/2021)

                                       273                    Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE:
                                       (6 pgs)                related document(s)272 Stipulation By Richard A Marshack (TR) and U.S.
                                                              Real Estate Credit Holdings III-A, LP, Debtor, Edwin W. Leslie, Elliot
                                                              Lander, Abraham Stuart Rubin and Gary Stiffelman to Continue Hearing
                                                              on Motion to Excuse State Court Receiver, Edwin Leslie, from). (Haes,
   06/25/2021                                                 Chad) (Entered: 06/25/2021)

                                       274                    BNC Certificate of Notice - PDF Document. (RE: related document(s)269
                                       (5 pgs)                Order (Generic) (BNC-PDF)) No. of Notices: 1. Notice Date 06/27/2021.
   06/27/2021                                                 (Admin.) (Entered: 06/27/2021)

                                       275                    Order Approving Stipulation To Continue Hearing On Motion To Excuse
                                       (2 pgs)                State Court Receiver, Edwin Leslie, From Turnover Of Assets Under 11
                                                              U.S.C. §543. The hearing on the Motion currently scheduled for July 7,
                                                              2021, at 10:00 a.m., is continued to July 28, 2021, at 10:00 a.m. (BNC-
                                                              PDF) (Related Doc # 272 ) Signed on 6/28/2021 (Pennington-Jones,
   06/28/2021                                                 Patricia) (Entered: 06/28/2021)

                                       276                    Response to (related document(s): 182 Motion Chapter 11 Trustee's
                                       (6 pgs)                Motion to (1) Extend the SARE Deadline Under Section 362(d)(3) or, in
                                                              the Alternative, (2) Abandon the Estate's Interest in Certain Real
                                                              Property; Memorandum of Points and Authorities; Declaration of Richard
                                                              A. M filed by Trustee Richard A Marshack (TR)) Supplemental Response
                                                              Filed by Creditor U.S. Real Estate Credit Holdings III-A, LP (Houston,
   06/28/2021                                                 Marsha) (Entered: 06/28/2021)

   06/30/2021                          277                    BNC Certificate of Notice - PDF Document. (RE: related document(s)275

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                                       (5 pgs)                Stipulation and ORDER thereon (BNC-PDF)) No. of Notices: 1. Notice
                                                              Date 06/30/2021. (Admin.) (Entered: 06/30/2021)

                                       278                    Hearing Held (RE: related document(s)182 Generic Motion filed by
                                                              Trustee Richard A Marshack (TR)); RULING - TRUSTEE TO FILE
                                                              NOTICE OF WITHDRAWAL; (Jackson, Wendy Ann) (Entered:
   07/01/2021                                                 07/01/2021)

                                       279                    Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                              Richard A Marshack (TR). 341(a) Meeting Continued to 7/27/2021 at
                                                              01:00 PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                              CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   07/06/2021                                                 07/06/2021)

                                       280                    Motion MOTION FOR ORDER DISQUALIFYING REED SMITH LLP,
                                       (68 pgs)               AND/OR ANY OF ITS ATTORNEYS, FROM REPRESENTING U.S. REAL
                                                              ESTATE CREDIT HOLDINGS III-A, LP DUE TO CONFLICTS OF
                                                              INTEREST GIVEN ITS ONGOING REPRESENTATION OF DEBTOR,
                                                              AND PRIOR REPRESENTATION OF DEBTORS MANAGER;
                                                              MEMORANDUM OF POINTS AND AUTHORITIES; AND
                                                              DECLARATIONS OF A. STUART RUBIN, ANNETTE RUBIN, EVAN L.
                                                              SMITH, AND PATRICK C. McGARRIGLE, with Proof of Service Filed by
   07/07/2021                                                 Interested Party Stuart Rubin (Smith, Evan) (Entered: 07/07/2021)

                                       281                    Application shortening time Application for Order Setting Hearing on
                                       (62 pgs)               Shortened Notice [LBR 9075-1(b)] with Proof of Service Filed by
                                                              Interested Party Stuart Rubin (Smith, Evan). Related document(s) 280
                                                              Motion MOTION FOR ORDER DISQUALIFYING REED SMITH LLP,
                                                              AND/OR ANY OF ITS ATTORNEYS, FROM REPRESENTING U.S. REAL
                                                              ESTATE CREDIT HOLDINGS III-A, LP DUE TO CONFLICTS OF
                                                              INTEREST GIVEN ITS ONGOING REPRESENTATION OF DEBTOR,
                                                              AND PRIOR REPRESENTATION OF DEBT filed by Interested Party
                                                              Stuart Rubin. Modified on 7/8/2021 (Jackson, Wendy Ann). (Entered:
   07/07/2021                                                 07/07/2021)

                                       282                    Notice to Filer of Correction Made/No Action Required: Other - Filer
                                                              should not type in Secondary Text in all capital letters; THIS ENTRY
                                                              IS PROVIDED FOR FUTURE REFERENCE. (RE: related
                                                              document(s)280 Generic Motion filed by Interested Party Stuart Rubin)
   07/08/2021                                                 (Jackson, Wendy Ann) (Entered: 07/08/2021)

                                                              Hearing (Bk Other) Continued (RE: related document(s) 1 VOLUNTARY
                                                              PETITION (CHAPTER 11) filed by Glenroy Coachella, LLC) Status
                                                              Hearing to be held on 07/28/2021 at 10:00 AM 255 E. Temple St.
                                                              Courtroom 1539 Los Angeles, CA 90012 for 1 , (Jackson, Wendy Ann)
   07/08/2021                                                 (Entered: 07/08/2021)

                                       283                    Objection (related document(s): 281 Application shortening time
                                       (10 pgs; 3 docs)       Application for Order Setting Hearing on Shortened Notice [LBR 9075-
                                                              1(b)] with Proof of Service filed by Interested Party Stuart Rubin) Filed by
                                                              Creditor U.S. Real Estate Credit Holdings III-A, LP (Attachments: # 1
   07/08/2021                                                 Exhibit A # 2 Proof of Service) (Houston, Marsha) (Entered: 07/08/2021)

   07/08/2021                          284                    Order Denying Application for order setting hearing on shortened notice
                                       (4 pgs)                re: Motion for order disqualifying Reed Smith, LLP...; ORDERED that the
                                                              motion may be brought on regular notice pursuant to LBR'S; (BNC-PDF)
                                                              (Related Doc # 281) Signed on 7/8/2021 (Jackson, Wendy Ann) Modified
                                                              on 7/8/2021 (Jackson, Wendy Ann). (Entered: 07/08/2021)
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                                       285                   Request for Removal from Courtesy Notice of Electronic Filing (NEF)
   07/08/2021                          (1 pg)                Filed by Harris, Douglas. (Harris, Douglas) (Entered: 07/08/2021)

                                       286                   Request for Removal from Courtesy Notice of Electronic Filing (NEF)
   07/08/2021                          (1 pg)                Filed by Lerner, Leib. (Lerner, Leib) (Entered: 07/08/2021)

                                       287                   Stipulation By Richard A Marshack (TR) and Al Miller & Sons, Inc. and
                                       (5 pgs)               Tandem West Glass, Inc. to Continue Hearing on Motions for Relief from
                                                             the Automatic Stay; with Proof of Service Filed by Trustee Richard A
   07/08/2021                                                Marshack (TR) (Hays, D) (Entered: 07/08/2021)

                                       288                   Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (6 pgs)               document(s)287 Stipulation By Richard A Marshack (TR) and Al Miller &
                                                             Sons, Inc. and Tandem West Glass, Inc. to Continue Hearing on Motions for
                                                             Relief from the Automatic Stay; with Proof of Service Filed by Trustee
   07/08/2021                                                Richard A Marshack (TR)). (Hays, D) (Entered: 07/08/2021)

                                       289                   Order Approving Stipulation to continue hearing on Motions for relief from
                                       (2 pgs)               stay under 11 USC Section 362 filed by AL Miller & Sons and Tandem
                                                             West Glass, Inc. 180 AND 181 (BNC-PDF) (Related Doc # 287 );
                                                             ORDERED that the motions are continued to JULY 27, 2021 @ 10AM;
   07/09/2021                                                Signed on 7/9/2021 (Jackson, Wendy Ann) (Entered: 07/09/2021)

                                       290                   BNC Certificate of Notice - PDF Document. (RE: related document(s)284
                                       (7 pgs)               ORDER shortening time (BNC-PDF)) No. of Notices: 1. Notice Date
   07/10/2021                                                07/10/2021. (Admin.) (Entered: 07/10/2021)

                                       291                   BNC Certificate of Notice - PDF Document. (RE: related document(s)289
                                       (5 pgs)               ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   07/11/2021                                                Notice Date 07/11/2021. (Admin.) (Entered: 07/11/2021)

                                       292                   Notice of Hearing Notice of Motion For: Filed by Creditor A. Stuart Rubin
                                       (70 pgs)              (RE: related document(s)280 Motion MOTION FOR ORDER
                                                             DISQUALIFYING REED SMITH LLP, AND/OR ANY OF ITS ATTORNEYS,
                                                             FROM REPRESENTING U.S. REAL ESTATE CREDIT HOLDINGS III-A,
                                                             LP DUE TO CONFLICTS OF INTEREST GIVEN ITS ONGOING
                                                             REPRESENTATION OF DEBTOR, AND PRIOR REPRESENTATION OF
                                                             DEBTORS MANAGER; MEMORANDUM OF POINTS AND
                                                             AUTHORITIES; AND DECLARATIONS OF A. STUART RUBIN,
                                                             ANNETTE RUBIN, EVAN L. SMITH, AND PATRICK C. McGARRIGLE,
                                                             with Proof of Service Filed by Interested Party Stuart Rubin). (Smith, Evan)
   07/12/2021                                                (Entered: 07/12/2021)

                                       293                   Hearing Set (RE: related document(s)280 Generic Motion filed by
                                                             Interested Party Stuart Rubin) The Hearing date is set for 8/18/2021 at
                                                             10:00 AM at Crtrm 1539, 255 E Temple St., Los Angeles, CA 90012. The
   07/12/2021                                                case judge is Sheri Bluebond (Jackson, Wendy Ann) (Entered: 07/12/2021)

   07/12/2021                          294                   Voluntary Dismissal of Motion Notice of Voluntary Dismissal re: Chapter
                                       (4 pgs)               11 Trustee's Motion to (1) Extend the SARE Deadline Under Section 362(d)
                                                             (3) or, in the Alternative, (2) Abandon the Estate's Interest in Certain Real
                                                             Property; with Proof of Service Filed by Trustee Richard A Marshack (TR)
                                                             (RE: related document(s)182 Motion Chapter 11 Trustee's Motion to (1)
                                                             Extend the SARE Deadline Under Section 362(d)(3) or, in the Alternative,
                                                             (2) Abandon the Estate's Interest in Certain Real Property; Memorandum


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                                                             of Points and Authorities; Declaration of Richard A. M). (Hays, D)
                                                             (Entered: 07/12/2021)

                                       295                   Motion Chapter 11 Trustee's Motion for Order Approving Agreement re:
                                       (28 pgs)              Estate's Receipt of Deeds from Tenants-in-Common; Memorandum of
                                                             Points and Authorities; Declaration of Richard A. Marshack in Support;
                                                             with Proof of Service Filed by Trustee Richard A Marshack (TR) (Hays, D)
   07/13/2021                                                (Entered: 07/13/2021)

                                       296                   Application shortening time Filed by Trustee Richard A Marshack (TR)
                                       (8 pgs)               (Haes, Chad). Related document(s) 295 Motion Chapter 11 Trustee's
                                                             Motion for Order Approving Agreement re: Estate's Receipt of Deeds from
                                                             Tenants-in-Common; Memorandum of Points and Authorities; Declaration
                                                             of Richard A. Marshack in Support; with Proof of Service filed by Trustee
                                                             Richard A Marshack (TR). Modified on 7/14/2021 (Jackson, Wendy Ann).
   07/13/2021                                                (Entered: 07/13/2021)

                                       297                   Notice of Appearance and Request for Notice by Christopher O Rivas Filed
                                       (4 pgs)               by Respondent Reed Smith LLP. (Rivas, Christopher) (Entered:
   07/13/2021                                                07/13/2021)

                                       298                   Stipulation By Richard A Marshack (TR) and Al Miller & Sons Roofing,
                                       (5 pgs)               Inc., and Tandem West Glass, Inc. to Continue Hearings on Motions for
                                                             Relief from the Automatic Stay Under 11 U.S.C. Section 362; with Proof of
                                                             Service Filed by Trustee Richard A Marshack (TR) (Hays, D) (Entered:
   07/13/2021                                                07/13/2021)

                                       299                   Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (6 pgs)               document(s)298 Stipulation By Richard A Marshack (TR) and Al Miller &
                                                             Sons Roofing, Inc., and Tandem West Glass, Inc. to Continue Hearings on
                                                             Motions for Relief from the Automatic Stay Under 11 U.S.C. Section 362;
   07/13/2021                                                with Proof of Service). (Hays, D) (Entered: 07/13/2021)

                                       300                   Order Granting Application and Setting hearing on shortened notice re:
                                       (5 pgs)               Chapter 11 Trustee's Motion for order approving agreement re: Estate's
                                                             Receipt of Deeds from Tenants-in-Common; ORDERED that the hearing is
                                                             set for: JULY 21, 2021 @ 10AM; (BNC-PDF) (Related Doc # 296 ) Signed
   07/14/2021                                                on 7/14/2021 (Jackson, Wendy Ann) (Entered: 07/14/2021)

                                       301                   Order Approving Stipulation to continue hearing on Motions for relief from
                                       (2 pgs)               stay under 11 USC Section 362 filed by AL Miller & Sons, Inc. and
                                                             Tandem West Glass, Inc. 180 and 181 ; ORDERED that the hearings are
                                                             continued to AUGUST 17, 2021 @ 10AM; (BNC-PDF) (Related Doc #
   07/14/2021                                                298 ) Signed on 7/14/2021 (Jackson, Wendy Ann) (Entered: 07/14/2021)

                                       302                   Hearing Set (RE: related document(s)295 Generic Motion filed by Trustee
                                                             Richard A Marshack (TR)) The Hearing date is set for 7/21/2021 at 10:00
                                                             AM at Crtrm 1539, 255 E Temple St., Los Angeles, CA 90012. The case
   07/14/2021                                                judge is Sheri Bluebond (Jackson, Wendy Ann) (Entered: 07/14/2021)

                                       303                   Notice of Hearing Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (23 pgs)              document(s)295 Motion Chapter 11 Trustee's Motion for Order Approving
                                                             Agreement re: Estate's Receipt of Deeds from Tenants-in-Common;
                                                             Memorandum of Points and Authorities; Declaration of Richard A.
                                                             Marshack in Support; with Proof of Service Filed by Trustee Richard A
   07/14/2021                                                Marshack (TR)). (Haes, Chad) (Entered: 07/14/2021)


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   07/15/2021                          304                   Stipulation By Richard A Marshack (TR) and Debtor, U.S. Real Estate
                                       (9 pgs)               Credit Holdings III-A, LP, Edwin W. Leslie, Elliot Lander and Abraham
                                                             Stuart Rubin, and Gary Stiffelman to Continue Hearing on Motion to
                                                             Excuse State Court Receiver, Edwin Leslie, from Turnover of Assets Under
                                                             11 U.S.C. Section 543 and Status Conference; with Proof of Service Filed
                                                             by Trustee Richard A Marshack (TR) (Hays, D) (Entered: 07/15/2021)

                                       305                   Stipulation By Richard A Marshack (TR) and Debtor, U.S. Real Estate
                                       (9 pgs)               Credit Holdings III-A, LP, Edwin Leslie, Elliot Lander and Abraham Stuart
                                                             Rubin and Gary Stiffelman to Continue Hearing on Motion to Excuse State
                                                             Court Receiver, Edwin Leslie from Turnover of Assets Under 11 U.S.C.
                                                             Section 543 and Status Conference; with Proof of Service Filed by Trustee
   07/15/2021                                                Richard A Marshack (TR) (Haes, Chad) (Entered: 07/15/2021)

                                       306                   Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (7 pgs)               document(s)305 Stipulation By Richard A Marshack (TR) and Debtor, U.S.
                                                             Real Estate Credit Holdings III-A, LP, Edwin Leslie, Elliot Lander and
                                                             Abraham Stuart Rubin and Gary Stiffelman to Continue Hearing on Motion
                                                             to Excuse State Court Receiver, Edwin Leslie from). (Haes, Chad) (Entered:
   07/15/2021                                                07/15/2021)

                                       307                   Declaration re: Declaration Regarding Service and Notice of Hearing re:
                                       (7 pgs)               Chapter 11 Trustee's Motion for Order Approving Agreement re: Estate's
                                                             Receipt of Deeds from Tenants-in-Common; with Proof of Service Filed by
                                                             Trustee Richard A Marshack (TR) (RE: related document(s)295 Motion
                                                             Chapter 11 Trustee's Motion for Order Approving Agreement re: Estate's
                                                             Receipt of Deeds from Tenants-in-Common; Memorandum of Points and
                                                             Authorities; Declaration of Richard A. Marshack in Support; with Proof of
   07/16/2021                                                Service). (Haes, Chad) (Entered: 07/16/2021)

                                       308                   Order Approving Stipulation to continue hearing on Motion to Excuse State
                                       (2 pgs)               Court REceiver, Edwin Leslie, from turnover of assets under 11 USC
                                                             Section 543 and Status Conference; ORDERED that the hearing on the
                                                             Motion to Excuse State Court Receiver and the Status Conference is
                                                             continued to AUGUST 18, 2021 @ 10AM; (BNC-PDF) (Related Doc #
                                                             305) Signed on 7/16/2021 (Jackson, Wendy Ann). Related document(s) 304
                                                             Stipulation By Richard A Marshack (TR) and Debtor, U.S. Real Estate
                                                             Credit Holdings III-A, LP, Edwin W. Leslie, Elliot Lander and Abraham
                                                             Stuart Rubin, and Gary Stiffelman to Continue Hearing on Motion to
                                                             Excuse State Court Receiver, Edwin Leslie, filed by Trustee Richard A
                                                             Marshack (TR). Modified on 7/16/2021 to relate this order to both
                                                             Stipulations; Stipulations are duplicate; (Jackson, Wendy Ann). (Entered:
   07/16/2021                                                07/16/2021)

                                       309                   BNC Certificate of Notice - PDF Document. (RE: related document(s)300
                                       (8 pgs)               ORDER shortening time (BNC-PDF)) No. of Notices: 1. Notice Date
   07/16/2021                                                07/16/2021. (Admin.) (Entered: 07/16/2021)

                                       310                   BNC Certificate of Notice - PDF Document. (RE: related document(s)301
                                       (5 pgs)               ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   07/16/2021                                                Notice Date 07/16/2021. (Admin.) (Entered: 07/16/2021)

                                       311                   BNC Certificate of Notice - PDF Document. (RE: related document(s)308
                                       (5 pgs)               ORDER to continue/reschedule hearing (BNC-PDF)) No. of Notices: 1.
   07/18/2021                                                Notice Date 07/18/2021. (Admin.) (Entered: 07/18/2021)

   07/20/2021                          312                   Objection (related document(s): 295 Motion Chapter 11 Trustee's Motion
                                       (52 pgs)              for Order Approving Agreement re: Estate's Receipt of Deeds from Tenants-
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                              36/38


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                                                             in-Common; Memorandum of Points and Authorities; Declaration of
                                                             Richard A. Marshack in Support; with Proof of Service filed by Trustee
                                                             Richard A Marshack (TR)) Limited Objection To Chapter 11 Trustees
                                                             Motion For Order Approving Agreement Re: Estates Receipt Of Deeds
                                                             From Tenants-In-Common Filed by Creditor U.S. Real Estate Credit
                                                             Holdings III-A, LP (Rivas, Christopher) (Entered: 07/20/2021)

                                       313                   Reply to (related document(s): 295 Motion Chapter 11 Trustee's Motion for
                                       (23 pgs)              Order Approving Agreement re: Estate's Receipt of Deeds from Tenants-in-
                                                             Common; Memorandum of Points and Authorities; Declaration of Richard
                                                             A. Marshack in Support; with Proof of Service filed by Trustee Richard A
                                                             Marshack (TR)) Response of Edwin W. Leslie, Receiver, to Trustee's Motion
                                                             for Order Approving Agreement Re: Estate's Receipt of Deeds from
                                                             Tenants-in-Common (with Proof of Service) Filed by Interested Party Edwin
   07/20/2021                                                W. Leslie, Receiver (Tippie, Alan) (Entered: 07/20/2021)

                                       314                   Amended Schedule A/B Non-Individual: Property (Official Form 106A/B
                                       (14 pgs)              or 206A/B) , Schedule G Non-Individual: Executory Contracts and
                                                             Unexpired Leases (Official Form 106G or 206G) Filed by Debtor Glenroy
   07/20/2021                                                Coachella, LLC. (Lindsey, Crystle) (Entered: 07/20/2021)

                                       315                   Hearing Held (Bk Motion) (RE: related document(s) 295 Generic Motion);
                                                             RULING - GRANTED; ORDER TO FOLLOW FROM MR. HAYS;
   07/21/2021                                                (Jackson, Wendy Ann) (Entered: 07/21/2021)

                                       316                   Chapter 11 Monthly Operating Report for the Month Ending: 06/30/2021
                                       (8 pgs; 3 docs)       Filed by Trustee Richard A Marshack (TR). (Attachments: # 1 Supporting
                                                             Documents # 2 Supplemental Explanatory Note to 6/30/21 MOR)
   07/26/2021                                                (Marshack (TR), Richard) (Entered: 07/26/2021)

                                       317                   Continuance of Meeting of Creditors (Rule 2003(e)) Filed by Trustee
                                                             Richard A Marshack (TR). 341(a) Meeting Continued to 9/10/2021 at 10:00
                                                             AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                             CONTACT THE TRUSTEE. (Marshack (TR), Richard) (Entered:
   07/27/2021                                                07/27/2021)

                                       318                   Chapter 11 Monthly Operating Report for the Month Ending: 05/31/2021
                                       (18 pgs)              Filed by Trustee Richard A Marshack (TR). (Marshack (TR), Richard)
   07/28/2021                                                (Entered: 07/28/2021)

                                       319                   Proof of service Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (3 pgs)               document(s)316 Chapter 11 Monthly Operating Report (UST Form 11-
   07/28/2021                                                MOR)). (Marshack (TR), Richard) (Entered: 07/28/2021)

                                       320                   Notice of lodgment Filed by Trustee Richard A Marshack (TR) (RE: related
                                       (10 pgs)              document(s)295 Motion Chapter 11 Trustee's Motion for Order Approving
                                                             Agreement re: Estate's Receipt of Deeds from Tenants-in-Common;
                                                             Memorandum of Points and Authorities; Declaration of Richard A.
                                                             Marshack in Support; with Proof of Service). (Hays, D) (Entered:
   07/28/2021                                                07/28/2021)

                                       321                   Order Granting Chapter 11 Trustee's Motion For Order Approving
                                       (5 pgs)               Agreement Re: Estate's Receipt Of Deeds From Tenants-In-Common
                                                             (BNC-PDF) (Related Doc # 295 ) Signed on 7/28/2021 (Pennington-Jones,
   07/28/2021                                                Patricia) (Entered: 07/28/2021)



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                                                        PACER Service Center
                                                             Transaction Receipt
                                                                07/28/2021 16:11:01
                                   PACER                           Client
                                                  attydeh162507               9999-001
                                   Login:                          Code:
                                                                        2:21-bk-11188-BB Fil or Ent:
                                                                        filed From: 4/29/2000 To:
                                                              Search 7/28/2021 Doc From: 0 Doc To:
                                   Description: Docket Report
                                                              Criteria: 99999999 Term: included
                                                                        Format: html Page counts for
                                                                        documents: included
                                   Billable
                                                  30               Cost:      3.00
                                   Pages:




https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?642316507859904-L_1_0-1                                                      38/38


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                                                                               Fidelity National Title - OC
                                                          1300 Dove Street, 3rd Floor, Newport Beach, CA
                                                                                                      92660

                                     Preliminary Report

Fidelity National Title - OC                                                   Title Officer: Blake.Uradomo
1300 Dove Street, 3rd Floor, Newport Beach, CA                              Email: Blake.Uradomo@fnf.com
92660                                                                          Phone No.: (949) 788-2800
Phone: (949) 788-2800                                                              Fax No.: (949) 341-0251
Fax: (949) 341-0251                                                      File No.: 00346562-997-OC1-245

Property Address: Vacant Land, Coachella, CA




                                           Introducing




          LiveLOOK title document delivery system is designed to provide 24/7 real-time access
          to all information related to a title insurance transaction.
          Access title reports, exception documents, an easy-to-use summary page, and more,
          at your fingertips and your convenience.

               To view your new Fidelity National Title First Alert powered by
                               LiveLOOK report, Click Here




                           Effortless, Efficient, Compliant, and Accessible



                                                                         EXHIBIT 2, PAGE 54
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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                  Issuing Policies of Fidelity National Title Insurance Company


Title Officer: Blake.Uradomo                                                          ORDER NO.: 00346562-997-OC1-245
Phone: (949) 788-2800
Fax: (949) 341-0251                                                                                                LOAN NO.:
Email: Blake.Uradomo@fnf.com

Fidelity National Title Company
1300 Dove Street, 3rd Floor
Newport Beach, CA 92660

ATTN:              Ben Llorin
YOUR REF:

PROPERTY:          Vacant Land, Coachella, CA


                                                PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company hereby
reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title insurance
describing the land and the estate or interest therein hereinafter set forth, insuring against loss which may be sustained by
reason of any defect, lien or encumbrance not shown or referred to as an exception herein or not excluded from coverage
pursuant to the printed Schedules, Conditions and Stipulations or Conditions of said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set
forth in Attachment One. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or
the Insured as the exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA
Homeowner’s Policies of Title Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for
certain coverages are also set forth in Attachment One. Copies of the policy forms should be read. They are available from
the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a
policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a
policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance Company, a
Florida Corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in Attachment One of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not covered
under the terms of the title insurance policy and should be carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title and may not
list all liens, defects and encumbrances affecting title to the land.
Countersigned by:




Authorized Signature




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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                PRELIMINARY REPORT


EFFECTIVE DATE:                       March 24, 2021 at 7:30 a.m.

ORDER NO.: 00346562-997-OC1-245

The form of policy or policies of title insurance contemplated by this report is:

         CLTA Standard Coverage Policy of Title Insurance (4-8-14)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO COVERED
         BY THIS REPORT IS:

         A Fee

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Glenroy Coachella, LLC, a Delaware limited liability company, as to an undivided 70.5% interest;
         Force Rubin, LLC, a Delaware limited liability company, as to an undivided 21.2115% interest;
         Force Rubin 2, LLC, a Delaware limited liability company, as to an undivided 3.7885% interest; and
         Coachella Resort, LLC, a California limited liability company, as to an undivided 4.5% interest

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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PRELIMINARY REPORT                                                                Fidelity National Title Company
YOUR REFERENCE:                                                              ORDER NO.: 00346562-997-OC1-245


                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF COACHELLA, IN THE COUNTY OF
RIVERSIDE, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL 1 OF PARCEL MAP NO. 37310, IN THE CITY OF COACHELLA, COUNTY OF RIVERSIDE, STATE OF
CALIFORNIA, ACCORDING TO MAP ON FILE IN BOOK 243, PAGES 82 THROUGH 84 OF PARCEL MAPS,
RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.

EXCEPTING THEREFROM THAT PORTION OF THE PROPERTY CONVEYED TO THE CITY OF COACHELLA, A
MUNICIPAL CORPORATION, AS DESCRIBED IN DOCUMENT ENTITLED "CERTIFICATE OF ACCEPTANCE
(GRANT OF EASEMENT), RECORDED SEPTEMBER 6, 2018 AS INSTRUMENT NO. 2018-359087 OF OFFICIAL
RECORDS.



APN: 603-220-061




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YOUR REFERENCE:                                                                              ORDER NO.: 00346562-997-OC1-245


                                                        EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION
TO THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes to be levied
         for the fiscal year 2021-2022.

2.       Property taxes, including any personal property taxes and any assessments collected with taxes are as follows:

         Code Area:                   012-037
         Tax Identification No.:      603-220-061
         Fiscal Year:                 2020-2021
         1st Installment:             $8,869.30, Paid
         2nd Installment:             $8,869.30, Open
         Exemption:                   $0.00
         Land:                        $319,672.00
         Improvements:                $0.00
         Personal Property:           $0.00
         Bill No.:                    2020002891868

3.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the provisions of
         Chapter 3.5 or Part 2, Chapter 3, Articles 3 and 4 respectively (commencing with Section 75) of the Revenue and
         Taxation Code of the State of California as a result of the transfer of title to the vestee named in Schedule A; or as a
         result of changes in ownership or new construction occurring prior to date of policy.

4.       The herein described Land is within the boundaries of the Mello-Roos Community Facilities District(s). The annual
         assessments, if any, are collected with the county property taxes. Failure to pay said taxes prior to the delinquency
         date may result in the above assessment being removed from the county tax roll and subjected to Accelerated
         Judicial Bond Foreclosure. Inquiry should be made with said District for possible stripped assessments and prior
         delinquencies.

5.       A Notice

         Entitled:                    Notice of Assessment
         For:                         Coachella Community Center Project Assessment District No. 92-1
         Executed by:                 The Coachella Valley Recreation & Parks District
         Recording Date:              October 13, 1992
         Recording No:                Instrument No. 1992-385076 Official Records

         Reference is hereby made to said document for full particulars.

6.       Any assessments which may be levied against the herein described property by virtue of the fact that said land lies
         within the boundaries of Community Facilities District 2018-1 (Glenroy) adopted by the City of Coachella, a
         boundary map of which is on file in Book 82, Page 7 of Maps of Assessment and Community Facilities Districts,
         recorded February 21, 2018 as Instrument No. 2018-0064380 Official Records, and amended in Book 82, Page 38,
         recorded April 25, 2018 as Instrument No. 2018-158456 Official Records.

7.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                       2005-1
         For:                         Community Facilities District No. 2005-1 (Law Enforcement, Fire and Paramedic
                                      Services)
         Disclosed by:                Notice of Special Tax lien
         Recording Date:              November 3, 2005
         Recording No.:               Instrument No. 2005-0916803, of Official Records

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YOUR REFERENCE:                                                                               ORDER NO.: 00346562-997-OC1-245


                                                        EXCEPTIONS
                                                         (Continued)



         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.
         The tax may not be prepaid.

         Matters contained in that certain document

         Entitled:                    Amendment No. 3 to Notice of Special Tax Lien
         Recording Date:              October 6, 2006
         Recording No:                Instrument No. 2006-0741243, of Official Records

         Reference is hereby made to said document for full particulars.

8.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                      2018-1
         For:                         Community Facilities District No. 2018-1
         Disclosed by:                Notice of Special Tax Lien
         Recording Date:              June 4, 2018
         Recording No.:               Instrument No. 2018-0225621 Official Records

         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.

         The tax may not be prepaid.

9.       Assessments and other matters as contained in documents entitled Payment of Contractual Assessment Required,
         recorded April 25, 2018, as Document No. 2018-0160473, of Official, pursuant to Chapter 29 of Part 3 of Division 7
         of the California Streets and Highways Code providing for the assessments. Said assessments are collected with
         county taxes. The assessment may be prepaid.

         Reference is hereby made to said documents for further particulars.

         Matters contained in that certain document

         Entitled:                    Addendum No. 1 to Notice of Assessment and Payment of Contractual Assessment
                                      Required
         Recording Date:              September 29, 2020
         Recording No:                Instrument No. 2020-0464144, of Official Records

         Reference is hereby made to said document for full particulars.




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YOUR REFERENCE:                                                                                ORDER NO.: 00346562-997-OC1-245


                                                         EXCEPTIONS
                                                          (Continued)

10.      Water rights, claims or title to water, whether or not disclosed by the public records.

11.      Covenants, conditions and restrictions but omitting any covenants or restrictions, if any, including but not limited to
         those based upon race, color, religion, sex, gender, gender identity, gender expression, sexual orientation, marital
         status, national origin, ancestry, familial status, source of income, disability, veteran or military status, genetic
         information, medical condition, citizenship, primary language, and immigration status, as set forth in applicable state
         or federal laws, except to the extent that said covenant or restriction is permitted by applicable law, as set forth in the
         document

         Recording Date:              June 6, 1892
         Recording No:                in Book 202, Page 144, of Deeds, San Diego County Records

         Said covenants, conditions and restrictions provide that a violation thereof shall not defeat the lien of any mortgage
         or deed of trust made in good faith and for value.

12.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley Ice and Electric Company
         Purpose:                     Transmission and distribution of electricity and telephonic communication and
                                      telegraphic communication
         Recording Date:              June 04, 1914
         Recording No:                in Book 398, Page 130, of Deeds
         Affects:                     A portion of said land as described therein

13.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The United States of America
         Purpose:                     Water pipeline
         Recording Date:              July 19, 1949
         Recording No:                in Book 1095, Page 306, of Official Records
         Affects:                     A portion of said land as described therein

         Matters contained in that certain document

         Entitled:                    Quitclaim Deed and Release
         Recording Date:              July 31, 2018
         Recording No:                Instrument No. 2018-0307549, of Official Records

         Reference is hereby made to said document for full particulars.

14.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley County Water District
         Purpose:                     Pipeline
         Recording Date:              September 21, 1960
         Recording No:                Instrument No. 1960-82454, of Official Records
         Affects:                     A portion of said land as described therein




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15.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Imperial Irrigation District
         Purpose:                     Public utilities
         Recording Date:              July 22, 1970
         Recording No:                Instrument No. 1970-70546, of Official Records
         Affects:                     A portion of said land as described therein

16.      Easements as shown and/or dedicated upon the recorded map referenced in the legal description in
         Schedule A as Parcel Map 37310, in the City of Coachella, County of Riverside, State of California,
         according to map on file in Book 243, Pages 82 through 84 inclusive of Parcel Maps, records of Riverside
         County, California, together with any provisions and recitals contained therein.

         Reference is hereby made to said document for full particulars.

17.      The Land described herein is included within a project area of the Redevelopment Agency shown below, and that
         proceedings for the redevelopment of said project have been instituted under the Redevelopment Law (such
         redevelopment to proceed only after the adoption of the Redevelopment Plan) as disclosed by a document.

         Redevelopment Agency:                 City of Coachella
         Recording Date:                       July 10, 2007
         Recording No:                         Instrument No. 2007-0449636, of Official Records

         and Recording Date:          July 10, 2007
         and Recording No:            Instrument No. 2007-0449637, of Official Records

18.      Recitals as shown on Parcel Map 37310

         Recording No:                      in Book 243, Pages 82 to 84 inclusive of Parcel Maps
         Which among other things recites: The real property described below is dedicated in fee for street and
                                            public utility purposes: Lot “A” as shown hereon.

                                               As a condition of dedication of Lot “A” (Avenue 48), the owners of Parcels 1-4,
                                               and 6, inclusive, abutting this right of way and during such time will have no
                                               rights of access except the general easement of travel. Any change of alignment
                                               or width that results in the vacation thereof shall terminate this condition of
                                               access rights as to the party vacated.

         Reference is hereby made to said document for full particulars.

19.      The following matters shown or disclosed by the filed or recorded map referred to in the legal description: Various
         notes and recitals

20.      Easement(s) for the purpose(s) shown below and rights incidental thereto as delineated or as offered for dedication,
         on the map of said tract/plat;

         Purpose:                     Landscape and/or retention basin
         Affects:                     As shown on said map

21.      Matters contained in that certain document

         Entitled:                    Water Quality Management Plan and Urban Runoff BMP Transfer, Access and
                                      Maintenance Agreement


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         Recording Date:              December 06, 2017
         Recording No:                Instrument No. 2017-0512010, of Official Records

         Reference is hereby made to said document for full particulars.

22.      Matters contained in that certain document

         Entitled:                    Glenroy Resort Development Agreement
         Recording Date:              March 8, 2018
         Recording No:                Instrument No. 2018-0089219, of Official Records

         Reference is hereby made to said document for full particulars.

23.      Terms and provisions contained in that certain unrecorded Parking License Agreement dated April 20, 2018 by
         and between Glenroy Coachella, LLC and Force-DMP LLC.

24.      Matters contained in that certain document

         Entitled:                    Memorandum of Tenancy in Common Agreement
         Recording Date:              April 24, 2018
         Recording No:                Instrument No. 2018-0156322, of Official Records

         Reference is hereby made to said document for full particulars.

25.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The City of Coachella
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              September 06, 2018
         Recording No:                Instrument No. 2018-0359087, of Official Records
         Affects:                     A portion of said land as described therein

26.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Southern California Gas Company, a California Corporation, its successors and assigns
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423528, of Official Records
         Affects:                     A portion of said land as described therein




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                                                          (Continued)

27.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $24,400,000.00
         Dated:                       April 26, 2018
         Trustor/Grantor              Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Trustee:                     Stewart Title of California, Inc., a California corporation
         Beneficiary:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Loan No.:                    None shown
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162476,of Official Records

         Affects:                     The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350103, of Official Records

         A notice of default under the terms of said trust deed

         Executed by:                 Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350104, of Official Records

         A notice of trustee’s sale under said deed of trust

         Executed by:                          Fidelity National Title Company
         Date, Time and Place of Sale:         February 9, 2021, at 09:00 AM, in front of the Corona Civic Center, 849 W.
                                               Sixth Street, Corona, CA 92882
         Recording Date:                       January 14, 2021
         Recording No:                         Instrument No. 2021-0025741, of Official Records

28.      An assignment of all the moneys due, or to become due as rental, as additional security for the obligations secured
         by deed of trust shown as item above

         Assigned to:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162477,of Official Records

29.      A financing statement as follows:

         Debtor:                      Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Secured Party:               U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162478,of Official Records




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30.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hi-Grade Materials Co
         Amount:                      $32,847.96
         Recording Date:              July 5, 2018
         Recording No:                Instrument No. 2018-0273102, of Official Records

31.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Glendale Plumbing and Fire Supply
         Amount:                      $23,792.54
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423202, of Official Records

32.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Constructure, Inc.
         Amount:                      $301,119.50
         Recording Date:              January 22, 2019
         Recording No:                Instrument No. 2019-0022660, of Official Records

33.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC.
         Amount:                      $119,569.73
         Recording Date:              May 22, 2019
         Recording No:                Instrument No. 2019-0179443, of Official Records

34.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Ready Mix Concrete L.P.
         Amount:                      $20,571.27
         Recording Date:              May 29, 2019
         Recording No:                Instrument No. 2019-0190540, of Official Records

35.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    The Sherwin-Williams Company
         Amount:                      $33,333.11
         Recording Date:              June 3, 2019
         Recording No:                Instrument No. 2019-0198410, of Official Records

         Said mechanic’s lien has been partially released by instrument

         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0252361, of Official Records

         Claimant reduces its Mechanics’ Lien by $6,538.32, to reflect the current amount subject to the Claimant’s
         Mechanics’ Lien in the sum of $26,794.79.




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36.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $259,695.63
         Recording Date:              June 6, 2019
         Recording No:                Instrument No. 2019-0204095, of Official Records

37.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Blair Air, Inc. Dba Blair Heating & Air
         Amount:                      $297,443.80
         Recording Date:              June 7, 2019
         Recording No:                Instrument No. 2019-0206598, of Official Records

38.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hajoca Corporation
         Amount:                      $39,636.17
         Recording Date:              June 11, 2019
         Recording No:                Instrument No. 2019-0210159, of Official Records

39.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    American Builders and Contractors Supply Co., Inc. – ABC Supply Co., Inc.
         Amount:                      $24,813.58
         Recording Date:              June 13, 2019
         Recording No:                Instrument No. 2019-0213172, of Official Records

40.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Electric Supply
         Amount:                      $61,574.60
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0218809, of Official Records




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41.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Apple J Plumbing, Inc.
         Amount:                      $175,845.06
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0219453, of Official Records

42.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Jacobsson Engineering Construction, Inc.
         Amount:                      $1,042,299.00
         Recording Date:              June 21, 2019
         Recording No:                Instrument No. 2019-0225760, of Official Records

43.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    West Coast Sand and Gravel, Inc.
         Amount:                      $21,666.29
         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0253543, of Official Records

44.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Pool Products, LLC
         Amount:                      $14,386.05
         Recording Date:              July 11, 2019
         Recording No:                Instrument No. 2019-0254740 Official Records

45.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Resource Building Materials
         Amount:                      $1,905.04
         Recording Date:              July 15, 2019
         Recording No:                Instrument No. 2019-0258520, of Official Records

46.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $10,861.98
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293318, of Official Records

47.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $8,643.42
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293319, of Official Records




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48.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Palms Electric, Inc.
         Amount:                      $389,839.09
         Recording Date:              August 6, 2019
         Recording No:                Instrument No. 2019-0295567, of Official Records

49.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $21,153.36
         Recording Date:              August 21, 2019
         Recording No:                Instrument No. 2019-0321135, of Official Records

50.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC
         Amount:                      $119,569.73
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328148, of Official Records

51.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    TemalPakh, Inc., dba The Works Floor & Wall
         Amount:                      $33,628.46
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328428, of Official Records

52.      A judgment for the amount shown below, and any other amounts due, entered in the United States District Court:

         Amount:                      $89,110.62 (Damages)
         Amount:                      $5,164.42 (Attorney’s Fees)
         Debtor:                      Glenroy Coachella, LLC, and Does 1-10
         Creditor:                    Silhouette Outdoor Furniture, Inc.
         Date entered:                July 02, 2019
         District:                    Central, State of California
         Case No:                     EDCV 19-00373-CJC (KKx)
         Recording Date:              August 29, 2019
         Recording No:                Instrument No. 2019-0336225, of Official Records

53.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    BMC West, LLC
         Amount:                      $50,290.00
         Recording Date:              September 11, 2019
         Recording No:                Instrument No. 2019-0354394, of Official Records




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54.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Doug Wall Construction, Inc.
         Amount:                      $3,876,856.10
         Recording Date:              September 12, 2019
         Recording No:                Instrument No. 2019-0356369, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $4,359,813.13
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0401936, of Official Records

55.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Blair Air, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glen Roy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906241
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0370664, of Official Records

56.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Al Miller & Sons Roofing Co., Inc.
         Amount:                      $111,631.71
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0372302, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $153,901.00
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402031, of Official Records

57.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Mascorro Concrete Construction, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906560
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376608, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668680, of Official Records



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58.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Apple J. Plumbing, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906579
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376609, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668682, of Official Records

59.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Desert Palms Electric, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906554
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376610, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668681, of Official Records

60.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Ferguson Enterprises, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906136
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376684, of Official Records

61.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Southwest Plumbing inc.
         Amount:                      $111,141.13
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0377201, of Official Records




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62.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $40,000.00
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379585, of Official Records

63.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $396,871.43
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379586, of Official Records

64.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Tandem West Glass, Inc.
         Amount:                      $387,752.38
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379822, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $795,971.26
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402041, of Official Records

         As affected by a Second Amended Mechanics Lien

         Amount:                      $449,849.39
         Recording Date:              October 11, 2019
         Recording No:                Instrument No. 2019-0410373, of Official Records

65.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $250,695.63
         Recording Date:              September 27, 2019
         Recording No:                Instrument No. 2019-385786, of Official Records

66.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    La Hacienda Nursery & Landscape, Inc.
         Amount:                      $146,717.74
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415743, of Official Records




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67.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Doug Wall Construction, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907309
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415790, of Official Records

68.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tmalpakh, Inc., a California corporation dba The Works Floor & Wall
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907262
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 23, 2019
         Recording No:                Instrument No. 2019-0428103, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668684, of Official Records

69.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Orco Block & Hardscape, a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907155
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 25, 2019
         Recording No:                Instrument No. 2019-0432553, of Official Records

70.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   BMC West LLC, a Delaware limited liability company
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1908245
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              November 22, 2019
         Recording No:                Instrument No. 2019-0483250, of Official Records




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71.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   La Hacienda Nursery & Landscape, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909423
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 2, 2020
         Recording No:                Instrument No. 2020-0000938, of Official Records

72.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   All Phase Drywall & Development, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909367
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 9, 2020
         Recording No:                Instrument No. 2020-0009905, of Official Records

73.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tandem West Glass, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000015
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013976, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668679, of Official Records

74.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Al Miller & Sons Roofing, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000009
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013979, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668683, of Official Records


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                                                       EXCEPTIONS
                                                        (Continued)

75.      Matters contained in that certain document

         Entitled:                    Stipulation and Order RE Appointment of Receiver and Preliminary Junction
         Recording Date:              January 29, 2020
         Recording No:                Instrument No. 2020-0044153, of Official Records

         Reference is hereby made to said document for full particulars.

76.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   U.S. Real Estate Credit Holdings III-A, LP
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    RIC1905743
         Recording Date:              February 13, 2020
         Recording No.:               Instrument No. 2020-0068228, of Official Records

77.      Certificate of Indebtedness of the Receiver – Receiver Certificate No. 1

         Recording Date:              June 12, 2020
         Recording No.:               Instrument No. 2020-0252044 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252045 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252046 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252047 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252048 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252049 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252050 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252051 Official Records

78.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $28,829.75
         Recording Date:              June 25, 2018
         Recording No:                Instrument No. 2018-0255143, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

79.      Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed by the
         public records.

         The Company will require, for review, a full and complete copy of any unrecorded agreement, contract, license
         and/or lease, together with all supplements, assignments and amendments thereto, before issuing any policy of title
         insurance without excepting this item from coverage.

         The Company reserves the right to except additional items and/or make additional requirements after reviewing said
         documents.

80.      Any facts, rights, interests or claims that may exist or arise by reason of the following matters disclosed by a
         pending final ALTA/NSPS Survey prepared by Saxon Engineering Services, Inc., dated April 10, 2018, designated
         as Job No. Glenroy Coachella:

         a. Electrical vaults located on the northerly property line of Parcel 4.
         b. A cable television box located along the westerly boundary of Parcel 2.
         c. An electrical transformer located along the westerly boundary of Parcel 2.
         d. A street light pole encroaching in the southwest corner of Parcel 2.

81.      Any easements not disclosed by the public records as to matters affecting title to real property, whether or not said
         easements are visible and apparent.

82.      Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other matters which a correct
         survey would disclose and which are not shown by the public records.

83.      Matters which may be disclosed by an inspection and/or by a correct ALTA/ACSM Land Title Survey of said Land
         that is satisfactory to the Company, and/or by inquiry of the parties in possession thereof.


      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.

                                                     END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION


1.       In order to complete this report, the Company requires a Statement of Information to be completed by the following
         party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the requested
         Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under this order.
               Any title search includes matters that are indexed by name only, and having a completed Statement of
               Information assists the Company in the elimination of certain matters which appear to involve the parties
               but in fact affect another party with the same or similar name. Be assured that the Statement of Information
               is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance predicated
         upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company:            Glenroy Coachella, LLC, a Delaware limited liability company,
                                               Force Rubin, LLC, a Delaware limited liability company,
                                               Force Rubin 2, LLC, a Delaware limited liability company
                                               Coachella Resort, LLC, a California limited liability company

         a)          A copy of its operating agreement, if any, and all amendments, supplements and/or modifications thereto,
                     certified by the appropriate manager or member.

         b)          If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendments thereto
                     with the appropriate filing stamps.

         c)          If the Limited Liability Company is member-managed, a full and complete current list of members certified
                     by the appropriate manager or member.

         d)          A current dated certificate of good standing from the proper governmental authority of the state in which
                     the entity is currently domiciled.

         e)          If less than all members, or managers, as appropriate, will be executing the closing documents, furnish
                     evidence of the authority of those signing.

         f)          If Limited Liability Company is a Single Member Entity, a Statement of Information for the Single
                     Member will be required.

         g)          Each member and manager of the LLC without an Operating Agreement must execute in the presence of a
                     notary public the Certificate of California LLC (Without an Operating Agreement) Status and Authority
                     form.

3.       This transaction requires high liability approval prior to close of escrow together with an inspection of the subject
         property.

         Please advise title department with an estimated date that your transaction will close so we can schedule the
         necessary approvals and inspections.

4.       The transaction contemplated in connection with this Report is subject to the review and approval of the Company’s
         Corporate Underwriting Department. The Company reserves the right to add additional items or make further
         requirements after such review.




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                                                      REQUIREMENTS
                                                          (Continued)

5.       Please call the Title Department five (5) days prior to the contemplated closing to determine if additional documents
         or information is required.

         Phone Number:                (949) 788-2800




                                                     END OF REQUIREMENTS




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                                       INFORMATIONAL NOTES SECTION

1.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

2.       Note: Please contact your Title Officer to obtain the current recording fees. Fidelity National Title Company will
         pay Fidelity National Title Insurance Company 12% of the title premium, as disclosed on lines 1107 and 1108 of the
         HUD-1.

3.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may demand
         arbitration. Arbitrable matters may include, but are not limited to, any controversy or claim between the Company
         and the insured arising out of or relating to this policy, any service of the Company in connection with its issuance
         or the breach of a policy provision or other obligation. Please ask your escrow or title officer for a sample copy of
         the policy to be issued if you wish to review the arbitration provisions and any other provisions pertaining to your
         Title Insurance coverage.

4.       Notice: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
         distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
         Land that is associated with these activities.

5.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a Documentary Transfer
         Tax (DTT) Affidavit may be required to be completed and submitted with each document when DTT is being paid
         or when an exemption is being claimed from paying the tax. If a governmental agency is a party to the document,
         the form will not be required. DTT Affidavits may be available at a Tax Assessor-County Clerk-Recorder.

6.       The Company and its policy issuing agents are required by Federal law to collect additional information about
         certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this transaction is
         required to be reported under a Geographic Targeting Order issued by FinCEN, the Company or its policy issuing
         agent must be supplied with a completed ALTA Information Collection Form ("ICF") prior to closing the
         transaction contemplated herein.

         To protect the private information contained in the attached form and photo ID, please return via a secured
         method.




                                             END OF INFORMATIONAL NOTES

Blake.Uradomo/sp1




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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

          NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
          ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
          USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
          USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                Federal Bureau of Investigation:                                                Internet Crime Complaint Center:
                          http://www.fbi.gov                                                               http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                            WIRE0016 (DSI Rev. 12/07/17)
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          Fidelity National Title Company
          1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
          Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                              Last Saved: April 2, 2021 by SP1
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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective January 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
 contact information (e.g., name, address, phone number, email address);
 demographic information (e.g., date of birth, gender, marital status);
 identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
 financial account information (e.g. loan or bank account information); and
 other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
 information we receive from you or your agent;
 information about your transactions with FNF, our affiliates, or others; and
 information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
 Internet Protocol (IP) address and operating system;
 browser version, language, and type;
 domain name system requests; and
 browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
 To provide products and services to you or in connection with a transaction involving you.
 To improve our products and services.
 To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
 to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
 to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

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 to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
 to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
 in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.

For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.



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Your Consent To This Privacy Notice; Notice Changes; Use of Comments or Feedback
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 934-3354 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                          601 Riverside Avenue
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

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                                                                                                               EXHIBIT 2, PAGE 83
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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
         For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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                                                      EXHIBIT 3
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                                                                               Fidelity National Title - OC
                                                          1300 Dove Street, 3rd Floor, Newport Beach, CA
                                                                                                      92660

                                     Preliminary Report

Fidelity National Title - OC                                                   Title Officer: Blake.Uradomo
1300 Dove Street, 3rd Floor, Newport Beach, CA                              Email: Blake.Uradomo@fnf.com
92660                                                                          Phone No.: (949) 788-2800
Phone: (949) 788-2800                                                              Fax No.: (949) 341-0251
Fax: (949) 341-0251                                                      File No.: 00346564-997-OC1-245

Property Address: Vacant Land, Coachella, CA




                                           Introducing




          LiveLOOK title document delivery system is designed to provide 24/7 real-time access
          to all information related to a title insurance transaction.
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          at your fingertips and your convenience.

               To view your new Fidelity National Title First Alert powered by
                               LiveLOOK report, Click Here




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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                  Issuing Policies of Fidelity National Title Insurance Company


Title Officer: Blake.Uradomo                                                          ORDER NO.: 00346564-997-OC1-245
Phone: (949) 788-2800
Fax: (949) 341-0251                                                                                                LOAN NO.:
Email: Blake.Uradomo@fnf.com

Fidelity National Title Company
1300 Dove Street, 3rd Floor
Newport Beach, CA 92660

ATTN:              Ben Llorin
YOUR REF:

PROPERTY:          Vacant Land, Coachella, CA


                                                PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company hereby
reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title insurance
describing the land and the estate or interest therein hereinafter set forth, insuring against loss which may be sustained by
reason of any defect, lien or encumbrance not shown or referred to as an exception herein or not excluded from coverage
pursuant to the printed Schedules, Conditions and Stipulations or Conditions of said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set
forth in Attachment One. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or
the Insured as the exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA
Homeowner’s Policies of Title Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for
certain coverages are also set forth in Attachment One. Copies of the policy forms should be read. They are available from
the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a
policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a
policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance Company, a
Florida Corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in Attachment One of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not covered
under the terms of the title insurance policy and should be carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title and may not
list all liens, defects and encumbrances affecting title to the land.
Countersigned by:




Authorized Signature




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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                PRELIMINARY REPORT


EFFECTIVE DATE:                       March 24, 2021 at 7:30 a.m.

ORDER NO.: 00346564-997-OC1-245

The form of policy or policies of title insurance contemplated by this report is:

         CLTA Standard Coverage Policy of Title Insurance (4-8-14)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO COVERED
         BY THIS REPORT IS:

         A Fee

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Glenroy Coachella, LLC, a Delaware limited liability company, as to an undivided 70.5% interest;
         Force Rubin, LLC, a Delaware limited liability company, as to an undivided 21.2115% interest;
         Force Rubin 2, LLC, a Delaware limited liability company, as to an undivided 3.7885% interest; and
         Coachella Resort, LLC, a California limited liability company, as to an undivided 4.5% interest

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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PRELIMINARY REPORT                                                                Fidelity National Title Company
YOUR REFERENCE:                                                              ORDER NO.: 00346564-997-OC1-245


                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF COACHELLA, IN THE COUNTY OF
RIVERSIDE, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL 2 OF PARCEL MAP NO. 37310, IN THE CITY OF COACHELLA, COUNTY OF RIVERSIDE, STATE OF
CALIFORNIA, ACCORDING TO MAP ON FILE IN BOOK 243, PAGES 82 THROUGH 84 OF PARCEL MAPS,
RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.

EXCEPTING THEREFROM THAT PORTION OF THE PROPERTY CONVEYED TO THE CITY OF COACHELLA, A
MUNICIPAL CORPORATION, AS DESCRIBED IN DOCUMENT ENTITLED "CERTIFICATE OF ACCEPTANCE
(GRANT OF EASEMENT), RECORDED SEPTEMBER 6, 2018 AS INSTRUMENT NO. 2018-359087 OF OFFICIAL
RECORDS.



APN: 603-220-067




CLTA Preliminary Report Form – Modified (11/17/06)                                                        Page 3
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PRELIMINARY REPORT                                                                                Fidelity National Title Company
YOUR REFERENCE:                                                                              ORDER NO.: 00346564-997-OC1-245


                                                      EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION
TO THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes to be levied
         for the fiscal year 2021-2022.

2.       Property taxes, including any personal property taxes and any assessments collected with taxes are as follows:

         Code Area:                   012-037
         Tax Identification No.:      603-220-067
         Fiscal Year:                 2020-2021
         1st Installment:             $109,956.41, Paid
         2nd Installment:             $109,956.41, Open
         Exemption:                   $0.00
         Land:                        $2,871,721.00
         Improvements:                $0.00
         Personal Property:           $0.00
         Bill No.:                    2020003418394

3.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the provisions of
         Chapter 3.5 or Part 2, Chapter 3, Articles 3 and 4 respectively (commencing with Section 75) of the Revenue and
         Taxation Code of the State of California as a result of the transfer of title to the vestee named in Schedule A; or as a
         result of changes in ownership or new construction occurring prior to date of policy.

4.       The herein described Land is within the boundaries of the Mello-Roos Community Facilities District(s). The annual
         assessments, if any, are collected with the county property taxes. Failure to pay said taxes prior to the delinquency
         date may result in the above assessment being removed from the county tax roll and subjected to Accelerated
         Judicial Bond Foreclosure. Inquiry should be made with said District for possible stripped assessments and prior
         delinquencies.

5.       A Notice

         Entitled:                    Notice of Assessment
         For:                         Coachella Community Center Project Assessment District No. 92-1
         Executed by:                 The Coachella Valley Recreation & Parks District
         Recording Date:              October 13, 1992
         Recording No:                Instrument No. 1992-385076 Official Records

         Reference is hereby made to said document for full particulars.

6.       Any assessments which may be levied against the herein described property by virtue of the fact that said land lies
         within the boundaries of Community Facilities District 2018-1 (Glenroy) adopted by the City of Coachella, a
         boundary map of which is on file in Book 82, Page 7 of Maps of Assessment and Community Facilities Districts,
         recorded February 21, 2018 as Instrument No. 2018-0064380 Official Records, and amended in Book 82, Page 38,
         recorded April 25, 2018 as Instrument No. 2018-158456 Official Records.

7.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                       2005-1
         For:                         Community Facilities District No. 2005-1 (Law Enforcement, Fire and Paramedic
                                      Services)
         Disclosed by:                Notice of Special Tax lien
         Recording Date:              November 3, 2005
         Recording No.:               Instrument No. 2005-0916803, of Official Records

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         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.
         The tax may not be prepaid.

         Matters contained in that certain document

         Entitled:                    Amendment No. 3 to Notice of Special Tax Lien
         Recording Date:              October 6, 2006
         Recording No:                Instrument No. 2006-0741243, of Official Records

         Reference is hereby made to said document for full particulars.

8.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                      2018-1
         For:                         Community Facilities District No. 2018-1
         Disclosed by:                Notice of Special Tax Lien
         Recording Date:              June 4, 2018
         Recording No.:               Instrument No. 2018-0225621 Official Records

         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.

         The tax may not be prepaid.

9.       Assessments and other matters as contained in documents entitled Payment of Contractual Assessment Required,
         recorded April 25, 2018, as Document No. 2018-0160474, of Official, pursuant to Chapter 29 of Part 3 of Division 7
         of the California Streets and Highways Code providing for the assessments. Said assessments are collected with
         county taxes. The assessment may be prepaid.

         Reference is hereby made to said documents for further particulars.

10.      Water rights, claims or title to water, whether or not disclosed by the public records.

11.      Covenants, conditions and restrictions but omitting any covenants or restrictions, if any, including but not limited to
         those based upon race, color, religion, sex, gender, gender identity, gender expression, sexual orientation, marital
         status, national origin, ancestry, familial status, source of income, disability, veteran or military status, genetic
         information, medical condition, citizenship, primary language, and immigration status, as set forth in applicable state
         or federal laws, except to the extent that said covenant or restriction is permitted by applicable law, as set forth in the
         document

         Recording Date:              June 6, 1892
         Recording No:                in Book 202, Page 144, of Deeds, San Diego County Records

         Said covenants, conditions and restrictions provide that a violation thereof shall not defeat the lien of any mortgage
         or deed of trust made in good faith and for value.

12.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley Ice and Electric Company
         Purpose:                     Transmission and distribution of electricity and telephonic communication and


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                                      telegraphic communication
         Recording Date:              June 04, 1914
         Recording No:                in Book 398, Page 130, of Deeds
         Affects:                     A portion of said land as described therein

13.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The United States of America
         Purpose:                     Water pipeline
         Recording Date:              July 19, 1949
         Recording No:                in Book 1095, Page 306, of Official Records
         Affects:                     A portion of said land as described therein

         Matters contained in that certain document

         Entitled:                    Quitclaim Deed and Release
         Recording Date:              July 31, 2018
         Recording No:                Instrument No. 2018-0307549, of Official Records

         Reference is hereby made to said document for full particulars.

14.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley County Water District
         Purpose:                     Pipeline
         Recording Date:              September 21, 1960
         Recording No:                Instrument No. 1960-82454, of Official Records
         Affects:                     A portion of said land as described therein

15.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Imperial Irrigation District
         Purpose:                     Public utilities
         Recording Date:              July 22, 1970
         Recording No:                Instrument No. 1970-70546, of Official Records
         Affects:                     A portion of said land as described therein

16.      Easements as shown and/or dedicated upon the recorded map referenced in the legal description in
         Schedule A as Parcel Map 37310, in the City of Coachella, County of Riverside, State of California,
         according to map on file in Book 243, Pages 82 through 84 inclusive of Parcel Maps, records of Riverside
         County, California, together with any provisions and recitals contained therein.

         Reference is hereby made to said document for full particulars.

17.      The Land described herein is included within a project area of the Redevelopment Agency shown below, and that
         proceedings for the redevelopment of said project have been instituted under the Redevelopment Law (such
         redevelopment to proceed only after the adoption of the Redevelopment Plan) as disclosed by a document.

         Redevelopment Agency:                 City of Coachella
         Recording Date:                       July 10, 2007
         Recording No:                         Instrument No. 2007-0449636, of Official Records




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         and Recording Date:          July 10, 2007
         and Recording No:            Instrument No. 2007-0449637, of Official Records

18.      Recitals as shown on Parcel Map 37310

         Recording No:                      in Book 243, Pages 82 to 84 inclusive of Parcel Maps
         Which among other things recites: The real property described below is dedicated in fee for street and
                                            public utility purposes: Lot “A” as shown hereon.

                                               As a condition of dedication of Lot “A” (Avenue 48), the owners of Parcels 1-4,
                                               and 6, inclusive, abutting this right of way and during such time will have no
                                               rights of access except the general easement of travel. Any change of alignment
                                               or width that results in the vacation thereof shall terminate this condition of
                                               access rights as to the party vacated.

         Reference is hereby made to said document for full particulars.

19.      The following matters shown or disclosed by the filed or recorded map referred to in the legal description: Various
         notes and recitals
20.      Easement(s) for the purpose(s) shown below and rights incidental thereto as delineated or as offered for dedication,
         on the map of said tract/plat;

         Purpose:                     Landscape and/or retention basin
         Affects:                     As shown on said map

21.      Matters contained in that certain document

         Entitled:                    Water Quality Management Plan and Urban Runoff BMP Transfer, Access and
                                      Maintenance Agreement
         Recording Date:              December 06, 2017
         Recording No:                Instrument No. 2017-0512010, of Official Records

         Reference is hereby made to said document for full particulars.

22.      Matters contained in that certain document

         Entitled:                    Glenroy Resort Development Agreement
         Recording Date:              March 8, 2018
         Recording No:                Instrument No. 2018-0089219, of Official Records

         Reference is hereby made to said document for full particulars.

23.      Terms and provisions contained in that certain unrecorded Parking License Agreement dated April 20, 2018 by
         and between Glenroy Coachella, LLC and Force-DMP LLC.




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24.      Matters contained in that certain document

         Entitled:                    Memorandum of Tenancy in Common Agreement
         Recording Date:              April 24, 2018
         Recording No:                Instrument No. 2018-0156322, of Official Records

         Reference is hereby made to said document for full particulars.

25.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The City of Coachella
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              September 06, 2018
         Recording No:                Instrument No. 2018-0359087, of Official Records
         Affects:                     A portion of said land as described therein

26.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Southern California Gas Company, a California Corporation, its successors and assigns
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423528, of Official Records
         Affects:                     A portion of said land as described therein

27.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $24,400,000.00
         Dated:                       April 26, 2018
         Trustor/Grantor              Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Trustee:                     Stewart Title of California, Inc., a California corporation
         Beneficiary:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Loan No.:                    None shown
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162476,of Official Records

         Affects:                     The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350103, of Official Records

         A notice of default under the terms of said trust deed

         Executed by:                 Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350104, of Official Records




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         A notice of trustee’s sale under said deed of trust

         Executed by:                          Fidelity National Title Company
         Date, Time and Place of Sale:         February 9, 2021, at 09:00 AM, in front of the Corona Civic Center, 849 W.
                                               Sixth Street, Corona, CA 92882
         Recording Date:                       January 14, 2021
         Recording No:                         Instrument No. 2021-0025741, of Official Records

28.      An assignment of all the moneys due, or to become due as rental, as additional security for the obligations secured
         by deed of trust shown as item above

         Assigned to:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162477,of Official Records

29.      A financing statement as follows:

         Debtor:                      Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Secured Party:               U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162478,of Official Records

30.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hi-Grade Materials Co
         Amount:                      $32,847.96
         Recording Date:              July 5, 2018
         Recording No:                Instrument No. 2018-0273102, of Official Records

31.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Glendale Plumbing and Fire Supply
         Amount:                      $23,792.54
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423202, of Official Records

32.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Constructure, Inc.
         Amount:                      $301,119.50
         Recording Date:              January 22, 2019
         Recording No:                Instrument No. 2019-0022660, of Official Records

33.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC.
         Amount:                      $119,569.73
         Recording Date:              May 22, 2019
         Recording No:                Instrument No. 2019-0179443, of Official Records



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34.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Ready Mix Concrete L.P.
         Amount:                      $20,571.27
         Recording Date:              May 29, 2019
         Recording No:                Instrument No. 2019-0190540, of Official Records

35.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    The Sherwin-Williams Company
         Amount:                      $33,333.11
         Recording Date:              June 3, 2019
         Recording No:                Instrument No. 2019-0198410, of Official Records

         Said mechanic’s lien has been partially released by instrument

         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0252361, of Official Records

         Claimant reduces its Mechanics’ Lien by $6,538.32, to reflect the current amount subject to the Claimant’s
         Mechanics’ Lien in the sum of $26,794.79.

36.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $259,695.63
         Recording Date:              June 6, 2019
         Recording No:                Instrument No. 2019-0204095, of Official Records

37.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Blair Air, Inc. Dba Blair Heating & Air
         Amount:                      $297,443.80
         Recording Date:              June 7, 2019
         Recording No:                Instrument No. 2019-0206598, of Official Records

38.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hajoca Corporation
         Amount:                      $39,636.17
         Recording Date:              June 11, 2019
         Recording No:                Instrument No. 2019-0210159, of Official Records

39.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    American Builders and Contractors Supply Co., Inc. – ABC Supply Co., Inc.
         Amount:                      $24,813.58
         Recording Date:              June 13, 2019
         Recording No:                Instrument No. 2019-0213172, of Official Records




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40.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Electric Supply
         Amount:                      $61,574.60
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0218809, of Official Records

41.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Apple J Plumbing, Inc.
         Amount:                      $175,845.06
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0219453, of Official Records

42.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Jacobsson Engineering Construction, Inc.
         Amount:                      $1,042,299.00
         Recording Date:              June 21, 2019
         Recording No:                Instrument No. 2019-0225760, of Official Records

43.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    West Coast Sand and Gravel, Inc.
         Amount:                      $21,666.29
         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0253543, of Official Records

44.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Pool Products, LLC
         Amount:                      $14,386.05
         Recording Date:              July 11, 2019
         Recording No:                Instrument No. 2019-0254740 Official Records

45.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Resource Building Materials
         Amount:                      $1,905.04
         Recording Date:              July 15, 2019
         Recording No:                Instrument No. 2019-0258520, of Official Records

46.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $10,861.98
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293318, of Official Records




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47.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $8,643.42
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293319, of Official Records

48.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Palms Electric, Inc.
         Amount:                      $389,839.09
         Recording Date:              August 6, 2019
         Recording No:                Instrument No. 2019-0295567, of Official Records

49.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $21,153.36
         Recording Date:              August 21, 2019
         Recording No:                Instrument No. 2019-0321135, of Official Records

50.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC
         Amount:                      $119,569.73
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328148, of Official Records

51.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    TemalPakh, Inc., dba The Works Floor & Wall
         Amount:                      $33,628.46
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328428, of Official Records

52.      A judgment for the amount shown below, and any other amounts due, entered in the United States District Court:

         Amount:                      $89,110.62 (Damages)
         Amount:                      $5,164.42 (Attorney’s Fees)
         Debtor:                      Glenroy Coachella, LLC, and Does 1-10
         Creditor:                    Silhouette Outdoor Furniture, Inc.
         Date entered:                July 02, 2019
         District:                    Central, State of California
         Case No:                     EDCV 19-00373-CJC (KKx)
         Recording Date:              August 29, 2019
         Recording No:                Instrument No. 2019-0336225, of Official Records

53.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    BMC West, LLC
         Amount:                      $50,290.00
         Recording Date:              September 11, 2019
         Recording No:                Instrument No. 2019-0354394, of Official Records


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54.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Doug Wall Construction, Inc.
         Amount:                      $3,876,856.10
         Recording Date:              September 12, 2019
         Recording No:                Instrument No. 2019-0356369, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $4,359,813.13
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0401936, of Official Records

55.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Blair Air, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glen Roy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906241
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0370664, of Official Records

56.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Al Miller & Sons Roofing Co., Inc.
         Amount:                      $111,631.71
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0372302, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $153,901.00
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402031, of Official Records

57.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Mascorro Concrete Construction, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906560
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376608, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668680, of Official Records



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58.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Apple J. Plumbing, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906579
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376609, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668682, of Official Records

59.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Desert Palms Electric, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906554
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376610, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668681, of Official Records

60.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Ferguson Enterprises, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906136
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376684, of Official Records

61.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Southwest Plumbing inc.
         Amount:                      $111,141.13
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0377201, of Official Records




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                                                       EXCEPTIONS
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62.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $40,000.00
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379585, of Official Records

63.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $396,871.43
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379586, of Official Records

64.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Tandem West Glass, Inc.
         Amount:                      $387,752.38
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379822, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $795,971.26
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402041, of Official Records

         As affected by a Second Amended Mechanics Lien

         Amount:                      $449,849.39
         Recording Date:              October 11, 2019
         Recording No:                Instrument No. 2019-0410373, of Official Records

65.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $250,695.63
         Recording Date:              September 27, 2019
         Recording No:                Instrument No. 2019-385786, of Official Records

66.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    La Hacienda Nursery & Landscape, Inc.
         Amount:                      $146,717.74
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415743, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

67.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Doug Wall Construction, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907309
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415790, of Official Records

68.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tmalpakh, Inc., a California corporation dba The Works Floor & Wall
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907262
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 23, 2019
         Recording No:                Instrument No. 2019-0428103, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668684, of Official Records

69.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Orco Block & Hardscape, a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907155
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 25, 2019
         Recording No:                Instrument No. 2019-0432553, of Official Records

70.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   BMC West LLC, a Delaware limited liability company
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1908245
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              November 22, 2019
         Recording No:                Instrument No. 2019-0483250, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

71.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   La Hacienda Nursery & Landscape, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909423
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 2, 2020
         Recording No:                Instrument No. 2020-0000938, of Official Records

72.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   All Phase Drywall & Development, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909367
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 9, 2020
         Recording No:                Instrument No. 2020-0009905, of Official Records

73.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tandem West Glass, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000015
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013976, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668679, of Official Records

74.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Al Miller & Sons Roofing, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000009
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013979, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668683, of Official Records


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                                                       EXCEPTIONS
                                                        (Continued)

75.      Matters contained in that certain document

         Entitled:                    Stipulation and Order RE Appointment of Receiver and Preliminary Junction
         Recording Date:              January 29, 2020
         Recording No:                Instrument No. 2020-0044153, of Official Records

         Reference is hereby made to said document for full particulars.

76.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   U.S. Real Estate Credit Holdings III-A, LP
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    RIC1905743
         Recording Date:              February 13, 2020
         Recording No.:               Instrument No. 2020-0068228, of Official Records

77.      Certificate of Indebtedness of the Receiver – Receiver Certificate No. 1

         Recording Date:              June 12, 2020
         Recording No.:               Instrument No. 2020-0252044 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252045 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252046 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252047 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252048 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252049 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252050 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252051 Official Records

78.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $28,829.75
         Recording Date:              June 25, 2018
         Recording No:                Instrument No. 2018-0255143, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

79.      Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed by the
         public records.

         The Company will require, for review, a full and complete copy of any unrecorded agreement, contract, license
         and/or lease, together with all supplements, assignments and amendments thereto, before issuing any policy of title
         insurance without excepting this item from coverage.

         The Company reserves the right to except additional items and/or make additional requirements after reviewing said
         documents.

80.      Any facts, rights, interests or claims that may exist or arise by reason of the following matters disclosed by a
         pending final ALTA/NSPS Survey prepared by Saxon Engineering Services, Inc., dated April 10, 2018, designated
         as Job No. Glenroy Coachella:

         a. Electrical vaults located on the northerly property line of Parcel 4.
         b. A cable television box located along the westerly boundary of Parcel 2.
         c. An electrical transformer located along the westerly boundary of Parcel 2.
         d. A street light pole encroaching in the southwest corner of Parcel 2.

81.      Any easements not disclosed by the public records as to matters affecting title to real property, whether or not said
         easements are visible and apparent.

82.      Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other matters which a correct
         survey would disclose and which are not shown by the public records.

83.      Matters which may be disclosed by an inspection and/or by a correct ALTA/ACSM Land Title Survey of said Land
         that is satisfactory to the Company, and/or by inquiry of the parties in possession thereof.


      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.

                                                     END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION

1.       In order to complete this report, the Company requires a Statement of Information to be completed by the following
         party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the requested
         Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under this order.
               Any title search includes matters that are indexed by name only, and having a completed Statement of
               Information assists the Company in the elimination of certain matters which appear to involve the parties
               but in fact affect another party with the same or similar name. Be assured that the Statement of Information
               is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance predicated
         upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company:            Glenroy Coachella, LLC, a Delaware limited liability company,
                                               Force Rubin, LLC, a Delaware limited liability company,
                                               Force Rubin 2, LLC, a Delaware limited liability company
                                               Coachella Resort, LLC, a California limited liability company

         a)          A copy of its operating agreement, if any, and all amendments, supplements and/or modifications thereto,
                     certified by the appropriate manager or member.

         b)          If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendments thereto
                     with the appropriate filing stamps.

         c)          If the Limited Liability Company is member-managed, a full and complete current list of members certified
                     by the appropriate manager or member.

         d)          A current dated certificate of good standing from the proper governmental authority of the state in which
                     the entity is currently domiciled.

         e)          If less than all members, or managers, as appropriate, will be executing the closing documents, furnish
                     evidence of the authority of those signing.

         f)          If Limited Liability Company is a Single Member Entity, a Statement of Information for the Single
                     Member will be required.

         g)          Each member and manager of the LLC without an Operating Agreement must execute in the presence of a
                     notary public the Certificate of California LLC (Without an Operating Agreement) Status and Authority
                     form.

3.       This transaction requires high liability approval prior to close of escrow together with an inspection of the subject
         property.

         Please advise title department with an estimated date that your transaction will close so we can schedule the
         necessary approvals and inspections.

4.       The transaction contemplated in connection with this Report is subject to the review and approval of the Company’s
         Corporate Underwriting Department. The Company reserves the right to add additional items or make further
         requirements after such review.




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                                                      REQUIREMENTS
                                                          (Continued)

5.       Please call the Title Department five (5) days prior to the contemplated closing to determine if additional documents
         or information is required.

         Phone Number:                (949) 788-2800




                                                     END OF REQUIREMENTS




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                                       INFORMATIONAL NOTES SECTION

1.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

2.       Note: Please contact your Title Officer to obtain the current recording fees. Fidelity National Title Company will
         pay Fidelity National Title Insurance Company 12% of the title premium, as disclosed on lines 1107 and 1108 of the
         HUD-1.

3.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may demand
         arbitration. Arbitrable matters may include, but are not limited to, any controversy or claim between the Company
         and the insured arising out of or relating to this policy, any service of the Company in connection with its issuance
         or the breach of a policy provision or other obligation. Please ask your escrow or title officer for a sample copy of
         the policy to be issued if you wish to review the arbitration provisions and any other provisions pertaining to your
         Title Insurance coverage.

4.       Notice: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
         distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
         Land that is associated with these activities.

5.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a Documentary Transfer
         Tax (DTT) Affidavit may be required to be completed and submitted with each document when DTT is being paid
         or when an exemption is being claimed from paying the tax. If a governmental agency is a party to the document,
         the form will not be required. DTT Affidavits may be available at a Tax Assessor-County Clerk-Recorder.

6.       The Company and its policy issuing agents are required by Federal law to collect additional information about
         certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this transaction is
         required to be reported under a Geographic Targeting Order issued by FinCEN, the Company or its policy issuing
         agent must be supplied with a completed ALTA Information Collection Form ("ICF") prior to closing the
         transaction contemplated herein.

         To protect the private information contained in the attached form and photo ID, please return via a secured
         method.



                                             END OF INFORMATIONAL NOTES

Blake.Uradomo/sp1




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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

          NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
          ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
          USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
          USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                            WIRE0016 (DSI Rev. 12/07/17)
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          Fidelity National Title Company
          1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
          Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                               Last Saved: April 2, 2021 by SP1
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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective January 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
 contact information (e.g., name, address, phone number, email address);
 demographic information (e.g., date of birth, gender, marital status);
 identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
 financial account information (e.g. loan or bank account information); and
 other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
 information we receive from you or your agent;
 information about your transactions with FNF, our affiliates, or others; and
 information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
 Internet Protocol (IP) address and operating system;
 browser version, language, and type;
 domain name system requests; and
 browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
 To provide products and services to you or in connection with a transaction involving you.
 To improve our products and services.
 To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
 to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
 to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

FNF Privacy Statement (Eff. January 1, 2021)                              Copyright © 2021. Fidelity National Financial, Inc. All Rights Reserved
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 to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
 to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
 in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.

For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.



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MISC0219 (DSI Rev. 01/29/21)                                      Page 2                                      Order No. 00346564-997-OC1-245
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Your Consent To This Privacy Notice; Notice Changes; Use of Comments or Feedback
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 934-3354 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                          601 Riverside Avenue
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
         For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 4
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                                                      EXHIBIT 4
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                                                                               Fidelity National Title - OC
                                                          1300 Dove Street, 3rd Floor, Newport Beach, CA
                                                                                                      92660

                                     Preliminary Report

Fidelity National Title - OC                                                   Title Officer: Blake.Uradomo
1300 Dove Street, 3rd Floor, Newport Beach, CA                              Email: Blake.Uradomo@fnf.com
92660                                                                          Phone No.: (949) 788-2800
Phone: (949) 788-2800                                                              Fax No.: (949) 341-0251
Fax: (949) 341-0251                                                      File No.: 00346565-997-OC1-245

Property Address: Vacant Land, Coachella, CA




                                           Introducing




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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                  Issuing Policies of Fidelity National Title Insurance Company


Title Officer: Blake.Uradomo                                                          ORDER NO.: 00346565-997-OC1-245
Phone: (949) 788-2800
Fax: (949) 341-0251                                                                                                LOAN NO.:
Email: Blake.Uradomo@fnf.com

Fidelity National Title Company
1300 Dove Street, 3rd Floor
Newport Beach, CA 92660

ATTN:              Ben Llorin
YOUR REF:

PROPERTY:          Vacant Land, Coachella, CA


                                                PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company hereby
reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title insurance
describing the land and the estate or interest therein hereinafter set forth, insuring against loss which may be sustained by
reason of any defect, lien or encumbrance not shown or referred to as an exception herein or not excluded from coverage
pursuant to the printed Schedules, Conditions and Stipulations or Conditions of said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set
forth in Attachment One. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or
the Insured as the exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA
Homeowner’s Policies of Title Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for
certain coverages are also set forth in Attachment One. Copies of the policy forms should be read. They are available from
the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a
policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a
policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance Company, a
Florida Corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in Attachment One of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not covered
under the terms of the title insurance policy and should be carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title and may not
list all liens, defects and encumbrances affecting title to the land.
Countersigned by:




Authorized Signature




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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                PRELIMINARY REPORT


EFFECTIVE DATE:                       March 24, 2021 at 7:30 a.m.

ORDER NO.: 00346565-997-OC1-245

The form of policy or policies of title insurance contemplated by this report is:

         CLTA Standard Coverage Policy of Title Insurance (4-8-14)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO COVERED
         BY THIS REPORT IS:

         A Fee

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Glenroy Coachella, LLC, a Delaware limited liability company, as to an undivided 70.5% interest;
         Force Rubin, LLC, a Delaware limited liability company, as to an undivided 21.2115% interest;
         Force Rubin 2, LLC, a Delaware limited liability company, as to an undivided 3.7885% interest; and
         Coachella Resort, LLC, a California limited liability company, as to an undivided 4.5% interest

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF COACHELLA, IN THE COUNTY OF
RIVERSIDE, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL 4 OF PARCEL MAP NO. 37310, IN THE CITY OF COACHELLA, COUNTY OF RIVERSIDE, STATE OF
CALIFORNIA, ACCORDING TO MAP ON FILE IN BOOK 243, PAGES 82 THROUGH 84 OF PARCEL MAPS,
RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.

EXCEPTING THEREFROM THAT PORTION OF THE PROPERTY CONVEYED TO THE CITY OF COACHELLA, A
MUNICIPAL CORPORATION, AS DESCRIBED IN DOCUMENT ENTITLED "CERTIFICATE OF ACCEPTANCE
(GRANT OF EASEMENT), RECORDED SEPTEMBER 6, 2018 AS INSTRUMENT NO. 2018-359087 OF OFFICIAL
RECORDS.



APN: 603-220-068




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                                                      EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION
TO THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes to be levied
         for the fiscal year 2021-2022.

2.       Property taxes, including any personal property taxes and any assessments collected with taxes are as follows:

         Code Area:                   012-037
         Tax Identification No.:      603-220-068
         Fiscal Year:                 2020-2021
         1st Installment:             $149,118.64, Paid
         2nd Installment:             $149,118.64, Open
         Exemption:                   $0.00
         Land:                        $613,199.00
         Improvements:                $0.00
         Personal Property:           $0.00
         Bill No.:                    2020004843149

3.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the provisions of
         Chapter 3.5 or Part 2, Chapter 3, Articles 3 and 4 respectively (commencing with Section 75) of the Revenue and
         Taxation Code of the State of California as a result of the transfer of title to the vestee named in Schedule A; or as a
         result of changes in ownership or new construction occurring prior to date of policy.

4.       The herein described Land is within the boundaries of the Mello-Roos Community Facilities District(s). The annual
         assessments, if any, are collected with the county property taxes. Failure to pay said taxes prior to the delinquency
         date may result in the above assessment being removed from the county tax roll and subjected to Accelerated
         Judicial Bond Foreclosure. Inquiry should be made with said District for possible stripped assessments and prior
         delinquencies.

5.       A Notice

         Entitled:                    Notice of Assessment
         For:                         Coachella Community Center Project Assessment District No. 92-1
         Executed by:                 The Coachella Valley Recreation & Parks District
         Recording Date:              October 13, 1992
         Recording No:                Instrument No. 1992-385076 Official Records

         Reference is hereby made to said document for full particulars.

6.       Any assessments which may be levied against the herein described property by virtue of the fact that said land lies
         within the boundaries of Community Facilities District 2018-1 (Glenroy) adopted by the City of Coachella, a
         boundary map of which is on file in Book 82, Page 7 of Maps of Assessment and Community Facilities Districts,
         recorded February 21, 2018 as Instrument No. 2018-0064380 Official Records, and amended in Book 82, Page 38,
         recorded April 25, 2018 as Instrument No. 2018-158456 Official Records.

7.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                       2005-1
         For:                         Community Facilities District No. 2005-1 (Law Enforcement, Fire and Paramedic
                                      Services)
         Disclosed by:                Notice of Special Tax lien
         Recording Date:              November 3, 2005
         Recording No.:               Instrument No. 2005-0916803, of Official Records

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         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.
         The tax may not be prepaid.

         Matters contained in that certain document

         Entitled:                    Amendment No. 3 to Notice of Special Tax Lien
         Recording Date:              October 6, 2006
         Recording No:                Instrument No. 2006-0741243, of Official Records

         Reference is hereby made to said document for full particulars.

8.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                      2018-1
         For:                         Community Facilities District No. 2018-1
         Disclosed by:                Notice of Special Tax Lien
         Recording Date:              June 4, 2018
         Recording No.:               Instrument No. 2018-0225621 Official Records

         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.

         The tax may not be prepaid.

9.       Assessments and other matters as contained in documents entitled Payment of Contractual Assessment Required,
         recorded April 25, 2018, as Document No. 2018-0160475, of Official, pursuant to Chapter 29 of Part 3 of Division 7
         of the California Streets and Highways Code providing for the assessments. Said assessments are collected with
         county taxes. The assessment may be prepaid.

         Reference is hereby made to said documents for further particulars.

10.      Water rights, claims or title to water, whether or not disclosed by the public records.

11.      Covenants, conditions and restrictions but omitting any covenants or restrictions, if any, including but not limited to
         those based upon race, color, religion, sex, gender, gender identity, gender expression, sexual orientation, marital
         status, national origin, ancestry, familial status, source of income, disability, veteran or military status, genetic
         information, medical condition, citizenship, primary language, and immigration status, as set forth in applicable state
         or federal laws, except to the extent that said covenant or restriction is permitted by applicable law, as set forth in the
         document

         Recording Date:              June 6, 1892
         Recording No:                in Book 202, Page 144, of Deeds, San Diego County Records

         Said covenants, conditions and restrictions provide that a violation thereof shall not defeat the lien of any mortgage
         or deed of trust made in good faith and for value.

12.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley Ice and Electric Company
         Purpose:                     Transmission and distribution of electricity and telephonic communication and


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                                      telegraphic communication
         Recording Date:              June 04, 1914
         Recording No:                in Book 398, Page 130, of Deeds
         Affects:                     A portion of said land as described therein

13.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The United States of America
         Purpose:                     Water pipeline
         Recording Date:              July 19, 1949
         Recording No:                in Book 1095, Page 306, of Official Records
         Affects:                     A portion of said land as described therein

         Matters contained in that certain document

         Entitled:                    Quitclaim Deed and Release
         Recording Date:              July 31, 2018
         Recording No:                Instrument No. 2018-0307549, of Official Records

         Reference is hereby made to said document for full particulars.

14.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley County Water District
         Purpose:                     Pipeline
         Recording Date:              September 21, 1960
         Recording No:                Instrument No. 1960-82454, of Official Records
         Affects:                     A portion of said land as described therein

15.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Imperial Irrigation District
         Purpose:                     Public utilities
         Recording Date:              July 22, 1970
         Recording No:                Instrument No. 1970-70546, of Official Records
         Affects:                     A portion of said land as described therein

16.      Easements as shown and/or dedicated upon the recorded map referenced in the legal description in
         Schedule A as Parcel Map 37310, in the City of Coachella, County of Riverside, State of California,
         according to map on file in Book 243, Pages 82 through 84 inclusive of Parcel Maps, records of Riverside
         County, California, together with any provisions and recitals contained therein.

         Reference is hereby made to said document for full particulars.

17.      The Land described herein is included within a project area of the Redevelopment Agency shown below, and that
         proceedings for the redevelopment of said project have been instituted under the Redevelopment Law (such
         redevelopment to proceed only after the adoption of the Redevelopment Plan) as disclosed by a document.

         Redevelopment Agency:                 City of Coachella
         Recording Date:                       July 10, 2007
         Recording No:                         Instrument No. 2007-0449636, of Official Records




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         and Recording Date:          July 10, 2007
         and Recording No:            Instrument No. 2007-0449637, of Official Records

18.      Recitals as shown on Parcel Map 37310

         Recording No:                      in Book 243, Pages 82 to 84 inclusive of Parcel Maps
         Which among other things recites: The real property described below is dedicated in fee for street and
                                            public utility purposes: Lot “A” as shown hereon.

                                               As a condition of dedication of Lot “A” (Avenue 48), the owners of Parcels 1-4,
                                               and 6, inclusive, abutting this right of way and during such time will have no
                                               rights of access except the general easement of travel. Any change of alignment
                                               or width that results in the vacation thereof shall terminate this condition of
                                               access rights as to the party vacated.

         Reference is hereby made to said document for full particulars.

19.      The following matters shown or disclosed by the filed or recorded map referred to in the legal description: Various
         notes and recitals

20.      Easement(s) for the purpose(s) shown below and rights incidental thereto as delineated or as offered for dedication,
         on the map of said tract/plat;

         Purpose:                     Landscape and/or retention basin
         Affects:                     As shown on said map

21.      Matters contained in that certain document

         Entitled:                    Water Quality Management Plan and Urban Runoff BMP Transfer, Access and
                                      Maintenance Agreement
         Recording Date:              December 06, 2017
         Recording No:                Instrument No. 2017-0512010, of Official Records

         Reference is hereby made to said document for full particulars.

22.      Matters contained in that certain document

         Entitled:                    Glenroy Resort Development Agreement
         Recording Date:              March 8, 2018
         Recording No:                Instrument No. 2018-0089219, of Official Records

         Reference is hereby made to said document for full particulars.

23.      Terms and provisions contained in that certain unrecorded Parking License Agreement dated April 20, 2018 by
         and between Glenroy Coachella, LLC and Force-DMP LLC.




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24.      Matters contained in that certain document

         Entitled:                    Memorandum of Tenancy in Common Agreement
         Recording Date:              April 24, 2018
         Recording No:                Instrument No. 2018-0156322, of Official Records

         Reference is hereby made to said document for full particulars.

25.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The City of Coachella
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              September 06, 2018
         Recording No:                Instrument No. 2018-0359087, of Official Records
         Affects:                     A portion of said land as described therein

26.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Southern California Gas Company, a California Corporation, its successors and assigns
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423528, of Official Records
         Affects:                     A portion of said land as described therein

27.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $24,400,000.00
         Dated:                       April 26, 2018
         Trustor/Grantor              Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Trustee:                     Stewart Title of California, Inc., a California corporation
         Beneficiary:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Loan No.:                    None shown
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162476,of Official Records

         Affects:                     The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350103, of Official Records

         A notice of default under the terms of said trust deed

         Executed by:                 Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350104, of Official Records




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         A notice of trustee’s sale under said deed of trust

         Executed by:                          Fidelity National Title Company
         Date, Time and Place of Sale:         February 9, 2021, at 09:00 AM, in front of the Corona Civic Center, 849 W.
                                               Sixth Street, Corona, CA 92882
         Recording Date:                       January 14, 2021
         Recording No:                         Instrument No. 2021-0025741, of Official Records

28.      An assignment of all the moneys due, or to become due as rental, as additional security for the obligations secured
         by deed of trust shown as item above

         Assigned to:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162477,of Official Records

29.      A financing statement as follows:

         Debtor:                      Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Secured Party:               U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162478,of Official Records

30.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hi-Grade Materials Co
         Amount:                      $32,847.96
         Recording Date:              July 5, 2018
         Recording No:                Instrument No. 2018-0273102, of Official Records

31.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Glendale Plumbing and Fire Supply
         Amount:                      $23,792.54
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423202, of Official Records

32.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Constructure, Inc.
         Amount:                      $301,119.50
         Recording Date:              January 22, 2019
         Recording No:                Instrument No. 2019-0022660, of Official Records

33.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC.
         Amount:                      $119,569.73
         Recording Date:              May 22, 2019
         Recording No:                Instrument No. 2019-0179443, of Official Records



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34.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Ready Mix Concrete L.P.
         Amount:                      $20,571.27
         Recording Date:              May 29, 2019
         Recording No:                Instrument No. 2019-0190540, of Official Records

35.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    The Sherwin-Williams Company
         Amount:                      $33,333.11
         Recording Date:              June 3, 2019
         Recording No:                Instrument No. 2019-0198410, of Official Records

         Said mechanic’s lien has been partially released by instrument

         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0252361, of Official Records

         Claimant reduces its Mechanics’ Lien by $6,538.32, to reflect the current amount subject to the Claimant’s
         Mechanics’ Lien in the sum of $26,794.79.

36.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $259,695.63
         Recording Date:              June 6, 2019
         Recording No:                Instrument No. 2019-0204095, of Official Records

37.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Blair Air, Inc. Dba Blair Heating & Air
         Amount:                      $297,443.80
         Recording Date:              June 7, 2019
         Recording No:                Instrument No. 2019-0206598, of Official Records

38.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hajoca Corporation
         Amount:                      $39,636.17
         Recording Date:              June 11, 2019
         Recording No:                Instrument No. 2019-0210159, of Official Records

39.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    American Builders and Contractors Supply Co., Inc. – ABC Supply Co., Inc.
         Amount:                      $24,813.58
         Recording Date:              June 13, 2019
         Recording No:                Instrument No. 2019-0213172, of Official Records




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40.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Electric Supply
         Amount:                      $61,574.60
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0218809, of Official Records

41.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Apple J Plumbing, Inc.
         Amount:                      $175,845.06
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0219453, of Official Records

42.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Jacobsson Engineering Construction, Inc.
         Amount:                      $1,042,299.00
         Recording Date:              June 21, 2019
         Recording No:                Instrument No. 2019-0225760, of Official Records

43.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    West Coast Sand and Gravel, Inc.
         Amount:                      $21,666.29
         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0253543, of Official Records

44.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Pool Products, LLC
         Amount:                      $14,386.05
         Recording Date:              July 11, 2019
         Recording No:                Instrument No. 2019-0254740 Official Records

45.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Resource Building Materials
         Amount:                      $1,905.04
         Recording Date:              July 15, 2019
         Recording No:                Instrument No. 2019-0258520, of Official Records

46.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $10,861.98
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293318, of Official Records




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                                                        (Continued)

47.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $8,643.42
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293319, of Official Records

48.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Palms Electric, Inc.
         Amount:                      $389,839.09
         Recording Date:              August 6, 2019
         Recording No:                Instrument No. 2019-0295567, of Official Records

49.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $21,153.36
         Recording Date:              August 21, 2019
         Recording No:                Instrument No. 2019-0321135, of Official Records

50.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC
         Amount:                      $119,569.73
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328148, of Official Records

51.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    TemalPakh, Inc., dba The Works Floor & Wall
         Amount:                      $33,628.46
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328428, of Official Records

52.      A judgment for the amount shown below, and any other amounts due, entered in the United States District Court:

         Amount:                      $89,110.62 (Damages)
         Amount:                      $5,164.42 (Attorney’s Fees)
         Debtor:                      Glenroy Coachella, LLC, and Does 1-10
         Creditor:                    Silhouette Outdoor Furniture, Inc.
         Date entered:                July 02, 2019
         District:                    Central, State of California
         Case No:                     EDCV 19-00373-CJC (KKx)
         Recording Date:              August 29, 2019
         Recording No:                Instrument No. 2019-0336225, of Official Records

53.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    BMC West, LLC
         Amount:                      $50,290.00
         Recording Date:              September 11, 2019
         Recording No:                Instrument No. 2019-0354394, of Official Records


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                                                        EXCEPTIONS
                                                         (Continued)

54.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Doug Wall Construction, Inc.
         Amount:                      $3,876,856.10
         Recording Date:              September 12, 2019
         Recording No:                Instrument No. 2019-0356369, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $4,359,813.13
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0401936, of Official Records

55.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Blair Air, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glen Roy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906241
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0370664, of Official Records

56.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Al Miller & Sons Roofing Co., Inc.
         Amount:                      $111,631.71
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0372302, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $153,901.00
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402031, of Official Records

57.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Mascorro Concrete Construction, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906560
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376608, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668680, of Official Records



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                                                        EXCEPTIONS
                                                         (Continued)

58.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Apple J. Plumbing, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906579
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376609, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668682, of Official Records

59.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Desert Palms Electric, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906554
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376610, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668681, of Official Records

60.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Ferguson Enterprises, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906136
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376684, of Official Records

61.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Southwest Plumbing inc.
         Amount:                      $111,141.13
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0377201, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

62.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $40,000.00
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379585, of Official Records

63.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $396,871.43
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379586, of Official Records

64.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Tandem West Glass, Inc.
         Amount:                      $387,752.38
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379822, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $795,971.26
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402041, of Official Records

         As affected by a Second Amended Mechanics Lien

         Amount:                      $449,849.39
         Recording Date:              October 11, 2019
         Recording No:                Instrument No. 2019-0410373, of Official Records

65.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $250,695.63
         Recording Date:              September 27, 2019
         Recording No:                Instrument No. 2019-385786, of Official Records

66.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    La Hacienda Nursery & Landscape, Inc.
         Amount:                      $146,717.74
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415743, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

67.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Doug Wall Construction, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907309
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415790, of Official Records

68.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tmalpakh, Inc., a California corporation dba The Works Floor & Wall
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907262
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 23, 2019
         Recording No:                Instrument No. 2019-0428103, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668684, of Official Records

69.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Orco Block & Hardscape, a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907155
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 25, 2019
         Recording No:                Instrument No. 2019-0432553, of Official Records

70.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   BMC West LLC, a Delaware limited liability company
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1908245
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              November 22, 2019
         Recording No:                Instrument No. 2019-0483250, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

71.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   La Hacienda Nursery & Landscape, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909423
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 2, 2020
         Recording No:                Instrument No. 2020-0000938, of Official Records

72.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   All Phase Drywall & Development, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909367
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 9, 2020
         Recording No:                Instrument No. 2020-0009905, of Official Records

73.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tandem West Glass, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000015
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013976, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668679, of Official Records

74.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Al Miller & Sons Roofing, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000009
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013979, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
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                                                       EXCEPTIONS
                                                        (Continued)

75.      Matters contained in that certain document

         Entitled:                    Stipulation and Order RE Appointment of Receiver and Preliminary Junction
         Recording Date:              January 29, 2020
         Recording No:                Instrument No. 2020-0044153, of Official Records

         Reference is hereby made to said document for full particulars.

76.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   U.S. Real Estate Credit Holdings III-A, LP
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    RIC1905743
         Recording Date:              February 13, 2020
         Recording No.:               Instrument No. 2020-0068228, of Official Records

77.      Certificate of Indebtedness of the Receiver – Receiver Certificate No. 1

         Recording Date:              June 12, 2020
         Recording No.:               Instrument No. 2020-0252044 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252045 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252046 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252047 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252048 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252049 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252050 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252051 Official Records

78.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $28,829.75
         Recording Date:              June 25, 2018
         Recording No:                Instrument No. 2018-0255143, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

79.      Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed by the
         public records.

         The Company will require, for review, a full and complete copy of any unrecorded agreement, contract, license
         and/or lease, together with all supplements, assignments and amendments thereto, before issuing any policy of title
         insurance without excepting this item from coverage.

         The Company reserves the right to except additional items and/or make additional requirements after reviewing said
         documents.

80.      Any facts, rights, interests or claims that may exist or arise by reason of the following matters disclosed by a
         pending final ALTA/NSPS Survey prepared by Saxon Engineering Services, Inc., dated April 10, 2018, designated
         as Job No. Glenroy Coachella:

         a. Electrical vaults located on the northerly property line of Parcel 4.
         b. A cable television box located along the westerly boundary of Parcel 2.
         c. An electrical transformer located along the westerly boundary of Parcel 2.
         d. A street light pole encroaching in the southwest corner of Parcel 2.

81.      Any easements not disclosed by the public records as to matters affecting title to real property, whether or not said
         easements are visible and apparent.

82.      Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other matters which a correct
         survey would disclose and which are not shown by the public records.

83.      Matters which may be disclosed by an inspection and/or by a correct ALTA/ACSM Land Title Survey of said Land
         that is satisfactory to the Company, and/or by inquiry of the parties in possession thereof.


      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.

                                                     END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION

1.       In order to complete this report, the Company requires a Statement of Information to be completed by the following
         party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the requested
         Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under this order.
               Any title search includes matters that are indexed by name only, and having a completed Statement of
               Information assists the Company in the elimination of certain matters which appear to involve the parties
               but in fact affect another party with the same or similar name. Be assured that the Statement of Information
               is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance predicated
         upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company:            Glenroy Coachella, LLC, a Delaware limited liability company
                                               Force Rubin, LLC, a Delaware limited liability company
                                               Force Rubin 2, LLC, a Delaware limited liability company
                                               Coachella Resort, LLC

         a)          A copy of its operating agreement, if any, and all amendments, supplements and/or modifications thereto,
                     certified by the appropriate manager or member.

         b)          If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendments thereto
                     with the appropriate filing stamps.

         c)          If the Limited Liability Company is member-managed, a full and complete current list of members certified
                     by the appropriate manager or member.

         d)          A current dated certificate of good standing from the proper governmental authority of the state in which
                     the entity is currently domiciled.

         e)          If less than all members, or managers, as appropriate, will be executing the closing documents, furnish
                     evidence of the authority of those signing.

         f)          If Limited Liability Company is a Single Member Entity, a Statement of Information for the Single
                     Member will be required.

         g)          Each member and manager of the LLC without an Operating Agreement must execute in the presence of a
                     notary public the Certificate of California LLC (Without an Operating Agreement) Status and Authority
                     form.

3.       This transaction requires high liability approval prior to close of escrow together with an inspection of the subject
         property.

         Please advise title department with an estimated date that your transaction will close so we can schedule the
         necessary approvals and inspections.

4.       The transaction contemplated in connection with this Report is subject to the review and approval of the Company’s
         Corporate Underwriting Department. The Company reserves the right to add additional items or make further
         requirements after such review.




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                                                      REQUIREMENTS
                                                          (Continued)

5.       Please call the Title Department five (5) days prior to the contemplated closing to determine if additional documents
         or information is required.

         Phone Number:                (949) 788-2800




                                                     END OF REQUIREMENTS




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                                       INFORMATIONAL NOTES SECTION

1.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

2.       Note: Please contact your Title Officer to obtain the current recording fees. Fidelity National Title Company will
         pay Fidelity National Title Insurance Company 12% of the title premium, as disclosed on lines 1107 and 1108 of the
         HUD-1.

3.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may demand
         arbitration. Arbitrable matters may include, but are not limited to, any controversy or claim between the Company
         and the insured arising out of or relating to this policy, any service of the Company in connection with its issuance
         or the breach of a policy provision or other obligation. Please ask your escrow or title officer for a sample copy of
         the policy to be issued if you wish to review the arbitration provisions and any other provisions pertaining to your
         Title Insurance coverage.

4.       Notice: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
         distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
         Land that is associated with these activities.

5.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a Documentary Transfer
         Tax (DTT) Affidavit may be required to be completed and submitted with each document when DTT is being paid
         or when an exemption is being claimed from paying the tax. If a governmental agency is a party to the document,
         the form will not be required. DTT Affidavits may be available at a Tax Assessor-County Clerk-Recorder.

6.       The Company and its policy issuing agents are required by Federal law to collect additional information about
         certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this transaction is
         required to be reported under a Geographic Targeting Order issued by FinCEN, the Company or its policy issuing
         agent must be supplied with a completed ALTA Information Collection Form ("ICF") prior to closing the
         transaction contemplated herein.

         To protect the private information contained in the attached form and photo ID, please return via a secured
         method.




                                             END OF INFORMATIONAL NOTES

Blake.Uradomo/sp1




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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

          NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
          ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
          USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
          USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
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Current Version Date: 5/11/2017                                                                                            WIRE0016 (DSI Rev. 12/07/17)
                                     TM and © Fidelity National Financial, Inc. and/or an affiliate. All rights reserved
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          Fidelity National Title Company
          1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
          Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                               Last Saved: April 2, 2021 by SP1
MISC0164 (DSI Rev. 03/12/20)                                                             Escrow No.: 00346565-997-OC1-245
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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective January 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
 contact information (e.g., name, address, phone number, email address);
 demographic information (e.g., date of birth, gender, marital status);
 identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
 financial account information (e.g. loan or bank account information); and
 other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
 information we receive from you or your agent;
 information about your transactions with FNF, our affiliates, or others; and
 information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
 Internet Protocol (IP) address and operating system;
 browser version, language, and type;
 domain name system requests; and
 browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
 To provide products and services to you or in connection with a transaction involving you.
 To improve our products and services.
 To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
 to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
 to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

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 to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
 to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
 in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.

For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.



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Your Consent To This Privacy Notice; Notice Changes; Use of Comments or Feedback
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 934-3354 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                          601 Riverside Avenue
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
         For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 4
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                                                                               Fidelity National Title - OC
                                                          1300 Dove Street, 3rd Floor, Newport Beach, CA
                                                                                                      92660

                                     Preliminary Report

Fidelity National Title - OC                                                   Title Officer: Blake.Uradomo
1300 Dove Street, 3rd Floor, Newport Beach, CA                              Email: Blake.Uradomo@fnf.com
92660                                                                          Phone No.: (949) 788-2800
Phone: (949) 788-2800                                                              Fax No.: (949) 341-0251
Fax: (949) 341-0251                                                      File No.: 00346563-997-OC1-245

Property Address: Vacant Land, Coachella, CA




                                           Introducing




          LiveLOOK title document delivery system is designed to provide 24/7 real-time access
          to all information related to a title insurance transaction.
          Access title reports, exception documents, an easy-to-use summary page, and more,
          at your fingertips and your convenience.

               To view your new Fidelity National Title First Alert powered by
                               LiveLOOK report, Click Here




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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                  Issuing Policies of Fidelity National Title Insurance Company


Title Officer: Blake.Uradomo                                                          ORDER NO.: 00346563-997-OC1-245
Phone: (949) 788-2800
Fax: (949) 341-0251                                                                                                LOAN NO.:
Email: Blake.Uradomo@fnf.com

Fidelity National Title Company
1300 Dove Street, 3rd Floor
Newport Beach, CA 92660

ATTN:              Ben Llorin
YOUR REF:

PROPERTY:          Vacant Land, Coachella, CA


                                                PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company hereby
reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title insurance
describing the land and the estate or interest therein hereinafter set forth, insuring against loss which may be sustained by
reason of any defect, lien or encumbrance not shown or referred to as an exception herein or not excluded from coverage
pursuant to the printed Schedules, Conditions and Stipulations or Conditions of said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set
forth in Attachment One. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or
the Insured as the exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA
Homeowner’s Policies of Title Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for
certain coverages are also set forth in Attachment One. Copies of the policy forms should be read. They are available from
the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a
policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a
policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance Company, a
Florida Corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in Attachment One of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not covered
under the terms of the title insurance policy and should be carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title and may not
list all liens, defects and encumbrances affecting title to the land.
Countersigned by:




Authorized Signature




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         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                PRELIMINARY REPORT


EFFECTIVE DATE:                       March 24, 2021 at 7:30 a.m.

ORDER NO.: 00346563-997-OC1-245

The form of policy or policies of title insurance contemplated by this report is:

         CLTA Standard Coverage Policy of Title Insurance (4-8-14)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO COVERED
         BY THIS REPORT IS:

         A Fee

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Glenroy Coachella, LLC, a Delaware limited liability company, as to an undivided 70.5% interest;
         Force Rubin, LLC, a Delaware limited liability company, as to an undivided 21.2115% interest;
         Force Rubin 2, LLC, a Delaware limited liability company, as to an undivided 3.7885% interest; and
         Coachella Resort, LLC, a California limited liability company, as to an undivided 4.5% interest

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF COACHELLA, IN THE COUNTY OF
RIVERSIDE, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL 5 OF PARCEL MAP NO. 37310, IN THE CITY OF COACHELLA, COUNTY OF RIVERSIDE, STATE OF
CALIFORNIA, ACCORDING TO MAP ON FILE IN BOOK 243, PAGES 82 THROUGH 84 OF PARCEL MAPS,
RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.

EXCEPTING THEREFROM THAT PORTION OF THE PROPERTY CONVEYED TO THE CITY OF COACHELLA, A
MUNICIPAL CORPORATION, AS DESCRIBED IN DOCUMENT ENTITLED "CERTIFICATE OF ACCEPTANCE
(GRANT OF EASEMENT), RECORDED SEPTEMBER 6, 2018 AS INSTRUMENT NO. 2018-359087 OF OFFICIAL
RECORDS.



APN: 603-220-065




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                                                        EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION
TO THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes to be levied
         for the fiscal year 2021-2022.

2.       Property taxes, including any personal property taxes and any assessments collected with taxes are as follows:

         Code Area:                   012-037
         Tax Identification No.:      603-220-065
         Fiscal Year:                 2020-2021
         1st Installment:             $5,160.93, Paid
         2nd Installment:             $5,160.93, Open
         Exemption:                   $0.00
         Land:                        $450,096.00
         Improvements:                $0.00
         Personal Property:           $0.00
         Bill No.:                    2020001978579

3.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the provisions of
         Chapter 3.5 or Part 2, Chapter 3, Articles 3 and 4 respectively (commencing with Section 75) of the Revenue and
         Taxation Code of the State of California as a result of the transfer of title to the vestee named in Schedule A; or as a
         result of changes in ownership or new construction occurring prior to date of policy.

4.       The herein described Land is within the boundaries of the Mello-Roos Community Facilities District(s). The annual
         assessments, if any, are collected with the county property taxes. Failure to pay said taxes prior to the delinquency
         date may result in the above assessment being removed from the county tax roll and subjected to Accelerated
         Judicial Bond Foreclosure. Inquiry should be made with said District for possible stripped assessments and prior
         delinquencies.

5.       A Notice

         Entitled:                    Notice of Assessment
         For:                         Coachella Community Center Project Assessment District No. 92-1
         Executed by:                 The Coachella Valley Recreation & Parks District
         Recording Date:              October 13, 1992
         Recording No:                Instrument No. 1992-385076 Official Records

         Reference is hereby made to said document for full particulars.

6.       Any assessments which may be levied against the herein described property by virtue of the fact that said land lies
         within the boundaries of Community Facilities District 2018-1 (Glenroy) adopted by the City of Coachella, a
         boundary map of which is on file in Book 82, Page 7 of Maps of Assessment and Community Facilities Districts,
         recorded February 21, 2018 as Instrument No. 2018-0064380 Official Records, and amended in Book 82, Page 38,
         recorded April 25, 2018 as Instrument No. 2018-158456 Official Records.

7.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                       2005-1
         For:                         Community Facilities District No. 2005-1 (Law Enforcement, Fire and Paramedic
                                      Services)
         Disclosed by:                Notice of Special Tax lien
         Recording Date:              November 3, 2005
         Recording No.:               Instrument No. 2005-0916803, of Official Records

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                                                         EXCEPTIONS
                                                          (Continued)



         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.
         The tax may not be prepaid.

         Matters contained in that certain document

         Entitled:                    Amendment No. 3 to Notice of Special Tax Lien
         Recording Date:              October 6, 2006
         Recording No:                Instrument No. 2006-0741243, of Official Records

         Reference is hereby made to said document for full particulars.

8.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                      2018-1
         For:                         Community Facilities District No. 2018-1
         Disclosed by:                Notice of Special Tax Lien
         Recording Date:              June 4, 2018
         Recording No.:               Instrument No. 2018-0225621 Official Records

         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.

         The tax may not be prepaid.

9.       Assessments and other matters as contained in documents entitled Payment of Contractual Assessment Required,
         recorded April 25, 2018, as Document No. 2018-0160476, of Official, pursuant to Chapter 29 of Part 3 of Division 7
         of the California Streets and Highways Code providing for the assessments. Said assessments are collected with
         county taxes. The assessment may be prepaid.

         Reference is hereby made to said documents for further particulars.

10.      Water rights, claims or title to water, whether or not disclosed by the public records.

11.      Covenants, conditions and restrictions but omitting any covenants or restrictions, if any, including but not limited to
         those based upon race, color, religion, sex, gender, gender identity, gender expression, sexual orientation, marital
         status, national origin, ancestry, familial status, source of income, disability, veteran or military status, genetic
         information, medical condition, citizenship, primary language, and immigration status, as set forth in applicable state
         or federal laws, except to the extent that said covenant or restriction is permitted by applicable law, as set forth in the
         document

         Recording Date:              June 6, 1892
         Recording No:                in Book 202, Page 144, of Deeds, San Diego County Records

         Said covenants, conditions and restrictions provide that a violation thereof shall not defeat the lien of any mortgage
         or deed of trust made in good faith and for value.

12.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley Ice and Electric Company
         Purpose:                     Transmission and distribution of electricity and telephonic communication and


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                                                         EXCEPTIONS
                                                          (Continued)

                                      telegraphic communication
         Recording Date:              June 04, 1914
         Recording No:                in Book 398, Page 130, of Deeds
         Affects:                     A portion of said land as described therein

13.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The United States of America
         Purpose:                     Water pipeline
         Recording Date:              July 19, 1949
         Recording No:                in Book 1095, Page 306, of Official Records
         Affects:                     A portion of said land as described therein

         Matters contained in that certain document

         Entitled:                    Quitclaim Deed and Release
         Recording Date:              July 31, 2018
         Recording No:                Instrument No. 2018-0307549, of Official Records

         Reference is hereby made to said document for full particulars.

14.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley County Water District
         Purpose:                     Pipeline
         Recording Date:              September 21, 1960
         Recording No:                Instrument No. 1960-82454, of Official Records
         Affects:                     A portion of said land as described therein

15.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Imperial Irrigation District
         Purpose:                     Public utilities
         Recording Date:              July 22, 1970
         Recording No:                Instrument No. 1970-70546, of Official Records
         Affects:                     A portion of said land as described therein

16.      Easements as shown and/or dedicated upon the recorded map referenced in the legal description in
         Schedule A as Parcel Map 37310, in the City of Coachella, County of Riverside, State of California,
         according to map on file in Book 243, Pages 82 through 84 inclusive of Parcel Maps, records of Riverside
         County, California, together with any provisions and recitals contained therein.

         Reference is hereby made to said document for full particulars.

17.      The Land described herein is included within a project area of the Redevelopment Agency shown below, and that
         proceedings for the redevelopment of said project have been instituted under the Redevelopment Law (such
         redevelopment to proceed only after the adoption of the Redevelopment Plan) as disclosed by a document.

         Redevelopment Agency:                 City of Coachella
         Recording Date:                       July 10, 2007
         Recording No:                         Instrument No. 2007-0449636, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

         and Recording Date:          July 10, 2007
         and Recording No:            Instrument No. 2007-0449637, of Official Records

18.      Recitals as shown on Parcel Map 37310

         Recording No:                      in Book 243, Pages 82 to 84 inclusive of Parcel Maps
         Which among other things recites: The real property described below is dedicated in fee for street and
                                            public utility purposes: Lot “A” as shown hereon.

                                               As a condition of dedication of Lot “A” (Avenue 48), the owners of Parcels 1-4,
                                               and 6, inclusive, abutting this right of way and during such time will have no
                                               rights of access except the general easement of travel. Any change of alignment
                                               or width that results in the vacation thereof shall terminate this condition of
                                               access rights as to the party vacated.

         Reference is hereby made to said document for full particulars.

19.      The following matters shown or disclosed by the filed or recorded map referred to in the legal description: Various
         notes and recitals

20.      Easement(s) for the purpose(s) shown below and rights incidental thereto as delineated or as offered for dedication,
         on the map of said tract/plat;

         Purpose:                     Landscape and/or retention basin
         Affects:                     As shown on said map

21.      Matters contained in that certain document

         Entitled:                    Water Quality Management Plan and Urban Runoff BMP Transfer, Access and
                                      Maintenance Agreement
         Recording Date:              December 06, 2017
         Recording No:                Instrument No. 2017-0512010, of Official Records

         Reference is hereby made to said document for full particulars.

22.      Matters contained in that certain document

         Entitled:                    Glenroy Resort Development Agreement
         Recording Date:              March 8, 2018
         Recording No:                Instrument No. 2018-0089219, of Official Records

         Reference is hereby made to said document for full particulars.

23.      Terms and provisions contained in that certain unrecorded Parking License Agreement dated April 20, 2018 by
         and between Glenroy Coachella, LLC and Force-DMP LLC.




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                                                        EXCEPTIONS
                                                         (Continued)



24.      Matters contained in that certain document

         Entitled:                    Memorandum of Tenancy in Common Agreement
         Recording Date:              April 24, 2018
         Recording No:                Instrument No. 2018-0156322, of Official Records

         Reference is hereby made to said document for full particulars.

25.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The City of Coachella
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              September 06, 2018
         Recording No:                Instrument No. 2018-0359087, of Official Records
         Affects:                     A portion of said land as described therein

26.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Southern California Gas Company, a California Corporation, its successors and assigns
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423528, of Official Records
         Affects:                     A portion of said land as described therein

27.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $24,400,000.00
         Dated:                       April 26, 2018
         Trustor/Grantor              Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Trustee:                     Stewart Title of California, Inc., a California corporation
         Beneficiary:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Loan No.:                    None shown
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162476,of Official Records

         Affects:                     The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350103, of Official Records

         A notice of default under the terms of said trust deed

         Executed by:                 Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350104, of Official Records




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                                                         EXCEPTIONS
                                                          (Continued)

         A notice of trustee’s sale under said deed of trust

         Executed by:                          Fidelity National Title Company
         Date, Time and Place of Sale:         February 9, 2021, at 09:00 AM, in front of the Corona Civic Center, 849 W.
                                               Sixth Street, Corona, CA 92882
         Recording Date:                       January 14, 2021
         Recording No:                         Instrument No. 2021-0025741, of Official Records

28.      An assignment of all the moneys due, or to become due as rental, as additional security for the obligations secured
         by deed of trust shown as item above

         Assigned to:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162477,of Official Records

29.      A financing statement as follows:

         Debtor:                      Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Secured Party:               U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162478,of Official Records

30.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hi-Grade Materials Co
         Amount:                      $32,847.96
         Recording Date:              July 5, 2018
         Recording No:                Instrument No. 2018-0273102, of Official Records

31.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Glendale Plumbing and Fire Supply
         Amount:                      $23,792.54
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423202, of Official Records

32.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Constructure, Inc.
         Amount:                      $301,119.50
         Recording Date:              January 22, 2019
         Recording No:                Instrument No. 2019-0022660, of Official Records

33.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC.
         Amount:                      $119,569.73
         Recording Date:              May 22, 2019
         Recording No:                Instrument No. 2019-0179443, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

34.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Ready Mix Concrete L.P.
         Amount:                      $20,571.27
         Recording Date:              May 29, 2019
         Recording No:                Instrument No. 2019-0190540, of Official Records

35.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    The Sherwin-Williams Company
         Amount:                      $33,333.11
         Recording Date:              June 3, 2019
         Recording No:                Instrument No. 2019-0198410, of Official Records

         Said mechanic’s lien has been partially released by instrument

         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0252361, of Official Records

         Claimant reduces its Mechanics’ Lien by $6,538.32, to reflect the current amount subject to the Claimant’s
         Mechanics’ Lien in the sum of $26,794.79.

36.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $259,695.63
         Recording Date:              June 6, 2019
         Recording No:                Instrument No. 2019-0204095, of Official Records

37.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Blair Air, Inc. Dba Blair Heating & Air
         Amount:                      $297,443.80
         Recording Date:              June 7, 2019
         Recording No:                Instrument No. 2019-0206598, of Official Records

38.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hajoca Corporation
         Amount:                      $39,636.17
         Recording Date:              June 11, 2019
         Recording No:                Instrument No. 2019-0210159, of Official Records

39.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    American Builders and Contractors Supply Co., Inc. – ABC Supply Co., Inc.
         Amount:                      $24,813.58
         Recording Date:              June 13, 2019
         Recording No:                Instrument No. 2019-0213172, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

40.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Electric Supply
         Amount:                      $61,574.60
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0218809, of Official Records

41.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Apple J Plumbing, Inc.
         Amount:                      $175,845.06
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0219453, of Official Records

42.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Jacobsson Engineering Construction, Inc.
         Amount:                      $1,042,299.00
         Recording Date:              June 21, 2019
         Recording No:                Instrument No. 2019-0225760, of Official Records

43.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    West Coast Sand and Gravel, Inc.
         Amount:                      $21,666.29
         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0253543, of Official Records

44.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Pool Products, LLC
         Amount:                      $14,386.05
         Recording Date:              July 11, 2019
         Recording No:                Instrument No. 2019-0254740 Official Records

45.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Resource Building Materials
         Amount:                      $1,905.04
         Recording Date:              July 15, 2019
         Recording No:                Instrument No. 2019-0258520, of Official Records

46.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $10,861.98
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293318, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

47.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $8,643.42
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293319, of Official Records

48.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Palms Electric, Inc.
         Amount:                      $389,839.09
         Recording Date:              August 6, 2019
         Recording No:                Instrument No. 2019-0295567, of Official Records

49.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $21,153.36
         Recording Date:              August 21, 2019
         Recording No:                Instrument No. 2019-0321135, of Official Records

50.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC
         Amount:                      $119,569.73
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328148, of Official Records

51.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    TemalPakh, Inc., dba The Works Floor & Wall
         Amount:                      $33,628.46
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328428, of Official Records

52.      A judgment for the amount shown below, and any other amounts due, entered in the United States District Court:

         Amount:                      $89,110.62 (Damages)
         Amount:                      $5,164.42 (Attorney’s Fees)
         Debtor:                      Glenroy Coachella, LLC, and Does 1-10
         Creditor:                    Silhouette Outdoor Furniture, Inc.
         Date entered:                July 02, 2019
         District:                    Central, State of California
         Case No:                     EDCV 19-00373-CJC (KKx)
         Recording Date:              August 29, 2019
         Recording No:                Instrument No. 2019-0336225, of Official Records

53.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    BMC West, LLC
         Amount:                      $50,290.00
         Recording Date:              September 11, 2019
         Recording No:                Instrument No. 2019-0354394, of Official Records


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                                                        EXCEPTIONS
                                                         (Continued)

54.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Doug Wall Construction, Inc.
         Amount:                      $3,876,856.10
         Recording Date:              September 12, 2019
         Recording No:                Instrument No. 2019-0356369, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $4,359,813.13
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0401936, of Official Records

55.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Blair Air, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glen Roy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906241
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0370664, of Official Records

56.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Al Miller & Sons Roofing Co., Inc.
         Amount:                      $111,631.71
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0372302, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $153,901.00
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402031, of Official Records

57.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Mascorro Concrete Construction, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906560
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376608, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668680, of Official Records



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                                                        EXCEPTIONS
                                                         (Continued)

58.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Apple J. Plumbing, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906579
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376609, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668682, of Official Records

59.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Desert Palms Electric, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906554
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376610, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668681, of Official Records

60.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Ferguson Enterprises, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906136
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376684, of Official Records

61.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Southwest Plumbing inc.
         Amount:                      $111,141.13
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0377201, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

62.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $40,000.00
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379585, of Official Records

63.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $396,871.43
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379586, of Official Records

64.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Tandem West Glass, Inc.
         Amount:                      $387,752.38
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379822, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $795,971.26
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402041, of Official Records

         As affected by a Second Amended Mechanics Lien

         Amount:                      $449,849.39
         Recording Date:              October 11, 2019
         Recording No:                Instrument No. 2019-0410373, of Official Records

65.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $250,695.63
         Recording Date:              September 27, 2019
         Recording No:                Instrument No. 2019-385786, of Official Records

66.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    La Hacienda Nursery & Landscape, Inc.
         Amount:                      $146,717.74
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415743, of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)

67.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Doug Wall Construction, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907309
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415790, of Official Records

68.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tmalpakh, Inc., a California corporation dba The Works Floor & Wall
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907262
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 23, 2019
         Recording No:                Instrument No. 2019-0428103, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668684, of Official Records

69.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Orco Block & Hardscape, a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907155
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 25, 2019
         Recording No:                Instrument No. 2019-0432553, of Official Records

70.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   BMC West LLC, a Delaware limited liability company
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1908245
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              November 22, 2019
         Recording No:                Instrument No. 2019-0483250, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

71.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   La Hacienda Nursery & Landscape, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909423
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 2, 2020
         Recording No:                Instrument No. 2020-0000938, of Official Records

72.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   All Phase Drywall & Development, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909367
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 9, 2020
         Recording No:                Instrument No. 2020-0009905, of Official Records

73.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tandem West Glass, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000015
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013976, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668679, of Official Records

74.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Al Miller & Sons Roofing, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000009
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013979, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
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                                                       EXCEPTIONS
                                                        (Continued)

75.      Matters contained in that certain document

         Entitled:                    Stipulation and Order RE Appointment of Receiver and Preliminary Junction
         Recording Date:              January 29, 2020
         Recording No:                Instrument No. 2020-0044153, of Official Records

         Reference is hereby made to said document for full particulars.

76.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   U.S. Real Estate Credit Holdings III-A, LP
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    RIC1905743
         Recording Date:              February 13, 2020
         Recording No.:               Instrument No. 2020-0068228, of Official Records

77.      Certificate of Indebtedness of the Receiver – Receiver Certificate No. 1

         Recording Date:              June 12, 2020
         Recording No.:               Instrument No. 2020-0252044 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252045 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252046 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252047 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252048 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252049 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252050 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252051 Official Records

78.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $28,829.75
         Recording Date:              June 25, 2018
         Recording No:                Instrument No. 2018-0255143, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

79.      Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed by the
         public records.

         The Company will require, for review, a full and complete copy of any unrecorded agreement, contract, license
         and/or lease, together with all supplements, assignments and amendments thereto, before issuing any policy of title
         insurance without excepting this item from coverage.

         The Company reserves the right to except additional items and/or make additional requirements after reviewing said
         documents.

80.      Any facts, rights, interests or claims that may exist or arise by reason of the following matters disclosed by a
         pending final ALTA/NSPS Survey prepared by Saxon Engineering Services, Inc., dated April 10, 2018, designated
         as Job No. Glenroy Coachella:

         a. Electrical vaults located on the northerly property line of Parcel 4.
         b. A cable television box located along the westerly boundary of Parcel 2.
         c. An electrical transformer located along the westerly boundary of Parcel 2.
         d. A street light pole encroaching in the southwest corner of Parcel 2.

81.      Any easements not disclosed by the public records as to matters affecting title to real property, whether or not said
         easements are visible and apparent.

82.      Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other matters which a correct
         survey would disclose and which are not shown by the public records.

83.      Matters which may be disclosed by an inspection and/or by a correct ALTA/ACSM Land Title Survey of said Land
         that is satisfactory to the Company, and/or by inquiry of the parties in possession thereof.


      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.

                                                     END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION

1.       In order to complete this report, the Company requires a Statement of Information to be completed by the following
         party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the requested
         Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under this order.
               Any title search includes matters that are indexed by name only, and having a completed Statement of
               Information assists the Company in the elimination of certain matters which appear to involve the parties
               but in fact affect another party with the same or similar name. Be assured that the Statement of Information
               is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance predicated
         upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company:            Glenroy Coachella, LLC, a Delaware limited liability company,
                                               Force Rubin, LLC, a Delaware limited liability company,
                                               Force Rubin 2, LLC, a Delaware limited liability company
                                               Coachella Resort, LLC, a California limited liability company

         a)          A copy of its operating agreement, if any, and all amendments, supplements and/or modifications thereto,
                     certified by the appropriate manager or member.

         b)          If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendments thereto
                     with the appropriate filing stamps.

         c)          If the Limited Liability Company is member-managed, a full and complete current list of members certified
                     by the appropriate manager or member.

         d)          A current dated certificate of good standing from the proper governmental authority of the state in which
                     the entity is currently domiciled.

         e)          If less than all members, or managers, as appropriate, will be executing the closing documents, furnish
                     evidence of the authority of those signing.

         f)          If Limited Liability Company is a Single Member Entity, a Statement of Information for the Single
                     Member will be required.

         g)          Each member and manager of the LLC without an Operating Agreement must execute in the presence of a
                     notary public the Certificate of California LLC (Without an Operating Agreement) Status and Authority
                     form.

3.       This transaction requires high liability approval prior to close of escrow together with an inspection of the subject
         property.

         Please advise title department with an estimated date that your transaction will close so we can schedule the
         necessary approvals and inspections.

4.       The transaction contemplated in connection with this Report is subject to the review and approval of the Company’s
         Corporate Underwriting Department. The Company reserves the right to add additional items or make further
         requirements after such review.




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                                                      REQUIREMENTS
                                                          (Continued)

5.       Please call the Title Department five (5) days prior to the contemplated closing to determine if additional documents
         or information is required.

         Phone Number:                (949) 788-2800




                                                     END OF REQUIREMENTS




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                                       INFORMATIONAL NOTES SECTION

1.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

2.       Note: Please contact your Title Officer to obtain the current recording fees. Fidelity National Title Company will
         pay Fidelity National Title Insurance Company 12% of the title premium, as disclosed on lines 1107 and 1108 of the
         HUD-1.

3.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may demand
         arbitration. Arbitrable matters may include, but are not limited to, any controversy or claim between the Company
         and the insured arising out of or relating to this policy, any service of the Company in connection with its issuance
         or the breach of a policy provision or other obligation. Please ask your escrow or title officer for a sample copy of
         the policy to be issued if you wish to review the arbitration provisions and any other provisions pertaining to your
         Title Insurance coverage.

4.       Notice: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
         distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
         Land that is associated with these activities.

5.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a Documentary Transfer
         Tax (DTT) Affidavit may be required to be completed and submitted with each document when DTT is being paid
         or when an exemption is being claimed from paying the tax. If a governmental agency is a party to the document,
         the form will not be required. DTT Affidavits may be available at a Tax Assessor-County Clerk-Recorder.

6.       The Company and its policy issuing agents are required by Federal law to collect additional information about
         certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this transaction is
         required to be reported under a Geographic Targeting Order issued by FinCEN, the Company or its policy issuing
         agent must be supplied with a completed ALTA Information Collection Form ("ICF") prior to closing the
         transaction contemplated herein.

         To protect the private information contained in the attached form and photo ID, please return via a secured
         method.




                                             END OF INFORMATIONAL NOTES

Blake.Uradomo/sp1




CLTA Preliminary Report Form – Modified (11/17/06)                                                                      Page 1
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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

          NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
          ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
          USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
          USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                            WIRE0016 (DSI Rev. 12/07/17)
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                                                                                                             EXHIBIT 5, PAGE 176
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          Fidelity National Title Company
          1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
          Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                               Last Saved: April 2, 2021 by SP1
MISC0164 (DSI Rev. 03/12/20)                                                             Escrow No.: 00346563-997-OC1-245
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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective January 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
 contact information (e.g., name, address, phone number, email address);
 demographic information (e.g., date of birth, gender, marital status);
 identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
 financial account information (e.g. loan or bank account information); and
 other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
 information we receive from you or your agent;
 information about your transactions with FNF, our affiliates, or others; and
 information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
 Internet Protocol (IP) address and operating system;
 browser version, language, and type;
 domain name system requests; and
 browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
 To provide products and services to you or in connection with a transaction involving you.
 To improve our products and services.
 To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
 to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
 to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

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 to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
 to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
 in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.

For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.



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Your Consent To This Privacy Notice; Notice Changes; Use of Comments or Feedback
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 934-3354 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                          601 Riverside Avenue
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 1
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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
         For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 2
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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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                                                                               Fidelity National Title - OC
                                                          1300 Dove Street, 3rd Floor, Newport Beach, CA
                                                                                                      92660

                                     Preliminary Report

Fidelity National Title - OC                                                   Title Officer: Blake.Uradomo
1300 Dove Street, 3rd Floor, Newport Beach, CA                              Email: Blake.Uradomo@fnf.com
92660                                                                          Phone No.: (949) 788-2800
Phone: (949) 788-2800                                                              Fax No.: (949) 341-0251
Fax: (949) 341-0251                                                      File No.: 00346566-997-OC1-245

Property Address: Vacant Land, Coachella, CA




                                           Introducing




          LiveLOOK title document delivery system is designed to provide 24/7 real-time access
          to all information related to a title insurance transaction.
          Access title reports, exception documents, an easy-to-use summary page, and more,
          at your fingertips and your convenience.

               To view your new Fidelity National Title First Alert powered by
                               LiveLOOK report, Click Here




                           Effortless, Efficient, Compliant, and Accessible



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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                  Issuing Policies of Fidelity National Title Insurance Company


Title Officer: Blake.Uradomo                                                          ORDER NO.: 00346566-997-OC1-245
Phone: (949) 788-2800
Fax: (949) 341-0251                                                                                                LOAN NO.:
Email: Blake.Uradomo@fnf.com

Fidelity National Title Company
1300 Dove Street, 3rd Floor
Newport Beach, CA 92660

ATTN:              Ben Llorin
YOUR REF:

PROPERTY:          Vacant Land, Coachella, CA


                                                PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Fidelity National Title Company hereby
reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title insurance
describing the land and the estate or interest therein hereinafter set forth, insuring against loss which may be sustained by
reason of any defect, lien or encumbrance not shown or referred to as an exception herein or not excluded from coverage
pursuant to the printed Schedules, Conditions and Stipulations or Conditions of said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set
forth in Attachment One. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or
the Insured as the exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA
Homeowner’s Policies of Title Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for
certain coverages are also set forth in Attachment One. Copies of the policy forms should be read. They are available from
the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a
policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a
policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance Company, a
Florida Corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in Attachment One of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not covered
under the terms of the title insurance policy and should be carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title and may not
list all liens, defects and encumbrances affecting title to the land.
Countersigned by:




Authorized Signature




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         Fidelity National Title Company
         1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
         Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                PRELIMINARY REPORT


EFFECTIVE DATE:                       March 24, 2021 at 7:30 a.m.

ORDER NO.: 00346566-997-OC1-245

The form of policy or policies of title insurance contemplated by this report is:

         CLTA Standard Coverage Policy of Title Insurance (4-8-14)


1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO COVERED
         BY THIS REPORT IS:

         A Fee

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         Glenroy Coachella, LLC, a Delaware limited liability company, as to an undivided 70.5% interest;
         Force Rubin, LLC, a Delaware limited liability company, as to an undivided 21.2115% interest;
         Force Rubin 2, LLC, a Delaware limited liability company, as to an undivided 3.7885% interest; and
         Coachella Resort, LLC, a California limited liability company, as to an undivided 4.5% interest,

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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YOUR REFERENCE:                                                             ORDER NO.: 00346566-997-OC1-245


                                                         EXHIBIT A
                                                     LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF COACHELLA, IN THE COUNTY OF
RIVERSIDE, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL 6 OF PARCEL MAP NO. 37310, IN THE CITY OF COACHELLA, COUNTY OF RIVERSIDE, STATE OF
CALIFORNIA, ACCORDING TO MAP ON FILE IN BOOK 243, PAGES 82 THROUGH 84 OF PARCEL MAPS,
RECORDS OF RIVERSIDE COUNTY, CALIFORNIA.

EXCEPTING THEREFROM THAT PORTION OF THE PROPERTY CONVEYED TO THE CITY OF COACHELLA, A
MUNICIPAL CORPORATION, AS DESCRIBED IN DOCUMENT ENTITLED "CERTIFICATE OF ACCEPTANCE
(GRANT OF EASEMENT), RECORDED SEPTEMBER 6, 2018 AS INSTRUMENT NO. 2018-359087 OF OFFICIAL
RECORDS.



APN: 603-220-069




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                                                      EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION
TO THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

1.       Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes to be levied
         for the fiscal year 2021-2022.

2.       Property taxes, including any personal property taxes and any assessments collected with taxes are as follows:

         Code Area:                   012-037
         Tax Identification No.:      603-220-069
         Fiscal Year:                 2020-2021
         1st Installment:             $415,371.72, Paid
         2nd Installment:             $415,371.72, Open
         Exemption:                   $0.00
         Land:                        $5,746,648.00
         Improvements:                $0.00
         Personal Property:           $0.00
         Bill No.:                    2020003466360

3.       The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the provisions of
         Chapter 3.5 or Part 2, Chapter 3, Articles 3 and 4 respectively (commencing with Section 75) of the Revenue and
         Taxation Code of the State of California as a result of the transfer of title to the vestee named in Schedule A; or as a
         result of changes in ownership or new construction occurring prior to date of policy.

4.       The herein described Land is within the boundaries of the Mello-Roos Community Facilities District(s). The annual
         assessments, if any, are collected with the county property taxes. Failure to pay said taxes prior to the delinquency
         date may result in the above assessment being removed from the county tax roll and subjected to Accelerated
         Judicial Bond Foreclosure. Inquiry should be made with said District for possible stripped assessments and prior
         delinquencies.

5.       A Notice

         Entitled:                    Notice of Assessment
         For:                         Coachella Community Center Project Assessment District No. 92-1
         Executed by:                 The Coachella Valley Recreation & Parks District
         Recording Date:              October 13, 1992
         Recording No:                Instrument No. 1992-385076 Official Records

         Reference is hereby made to said document for full particulars.

6.       Any assessments which may be levied against the herein described property by virtue of the fact that said land lies
         within the boundaries of Community Facilities District 2018-1 (Glenroy) adopted by the City of Coachella, a
         boundary map of which is on file in Book 82, Page 7 of Maps of Assessment and Community Facilities Districts,
         recorded February 21, 2018 as Instrument No. 2018-0064380 Official Records, and amended in Book 82, Page 38,
         recorded April 25, 2018 as Instrument No. 2018-158456 Official Records.

7.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                       2005-1
         For:                         Community Facilities District No. 2005-1 (Law Enforcement, Fire and Paramedic
                                      Services)
         Disclosed by:                Notice of Special Tax lien
         Recording Date:              November 3, 2005
         Recording No.:               Instrument No. 2005-0916803, of Official Records

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                                                        EXCEPTIONS
                                                         (Continued)



         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.
         The tax may not be prepaid.

         Matters contained in that certain document

         Entitled:                    Amendment No. 3 to Notice of Special Tax Lien
         Recording Date:              October 6, 2006
         Recording No:                Instrument No. 2006-0741243, of Official Records

         Reference is hereby made to said document for full particulars.

8.       The herein described property lies within the boundaries of a Mello-Roos Community Facilities District
         (CFD) as follows:

         CFD No:                      2018-1
         For:                         Community Facilities District No. 2018-1
         Disclosed by:                Notice of Special Tax Lien
         Recording Date:              June 4, 2018
         Recording No.:               Instrument No. 2018-0225621 Official Records

         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is included
         with and payable with the general property taxes of the City of Coachella, County of Riverside.

         The tax may not be prepaid.

9.       Assessments and other matters as contained in documents entitled Payment of Contractual Assessment Required,
         recorded April 25, 2018, as Document No. 2018-0160477, of Official, pursuant to Chapter 29 of Part 3 of Division 7
         of the California Streets and Highways Code providing for the assessments. Said assessments are collected with
         county taxes. The assessment may be prepaid.

         Reference is hereby made to said documents for further particulars.

         Matters contained in that certain document

         Entitled:                    Addendum No. 1 to Notice of Assessment and Payment of Contractual Assessment
                                      Required
         Recording Date:              September 29, 2020
         Recording No:                Instrument No. 2020-0464148, of Official Records

         Reference is hereby made to said document for full particulars.




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                                                         EXCEPTIONS
                                                          (Continued)

10.      Water rights, claims or title to water, whether or not disclosed by the public records.

11.      Covenants, conditions and restrictions but omitting any covenants or restrictions, if any, including but not limited to
         those based upon race, color, religion, sex, gender, gender identity, gender expression, sexual orientation, marital
         status, national origin, ancestry, familial status, source of income, disability, veteran or military status, genetic
         information, medical condition, citizenship, primary language, and immigration status, as set forth in applicable state
         or federal laws, except to the extent that said covenant or restriction is permitted by applicable law, as set forth in the
         document

         Recording Date:              June 6, 1892
         Recording No:                in Book 202, Page 144, of Deeds, San Diego County Records

         Said covenants, conditions and restrictions provide that a violation thereof shall not defeat the lien of any mortgage
         or deed of trust made in good faith and for value.

12.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley Ice and Electric Company
         Purpose:                     Transmission and distribution of electricity and telephonic communication and
                                      telegraphic communication
         Recording Date:              June 04, 1914
         Recording No:                in Book 398, Page 130, of Deeds
         Affects:                     A portion of said land as described therein

13.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The United States of America
         Purpose:                     Water pipeline
         Recording Date:              July 19, 1949
         Recording No:                in Book 1095, Page 306, of Official Records
         Affects:                     A portion of said land as described therein

         Matters contained in that certain document

         Entitled:                    Quitclaim Deed and Release
         Recording Date:              July 31, 2018
         Recording No:                Instrument No. 2018-0307549, of Official Records

         Reference is hereby made to said document for full particulars.

14.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Coachella Valley County Water District
         Purpose:                     Pipeline
         Recording Date:              September 21, 1960
         Recording No:                Instrument No. 1960-82454, of Official Records
         Affects:                     A portion of said land as described therein




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                                                        EXCEPTIONS
                                                         (Continued)

15.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Imperial Irrigation District
         Purpose:                     Public utilities
         Recording Date:              July 22, 1970
         Recording No:                Instrument No. 1970-70546, of Official Records
         Affects:                     A portion of said land as described therein

16.      Easements as shown and/or dedicated upon the recorded map referenced in the legal description in
         Schedule A as Parcel Map 37310, in the City of Coachella, County of Riverside, State of California,
         according to map on file in Book 243, Pages 82 through 84 inclusive of Parcel Maps, records of Riverside
         County, California, together with any provisions and recitals contained therein.

         Reference is hereby made to said document for full particulars.

17.      The Land described herein is included within a project area of the Redevelopment Agency shown below, and that
         proceedings for the redevelopment of said project have been instituted under the Redevelopment Law (such
         redevelopment to proceed only after the adoption of the Redevelopment Plan) as disclosed by a document.

         Redevelopment Agency:                 City of Coachella
         Recording Date:                       July 10, 2007
         Recording No:                         Instrument No. 2007-0449636, of Official Records

         and Recording Date:          July 10, 2007
         and Recording No:            Instrument No. 2007-0449637, of Official Records

18.      Recitals as shown on Parcel Map 37310

         Recording No:                      in Book 243, Pages 82 to 84 inclusive of Parcel Maps
         Which among other things recites: The real property described below is dedicated in fee for street and
                                            public utility purposes: Lot “A” as shown hereon.

                                               As a condition of dedication of Lot “A” (Avenue 48), the owners of Parcels 1-4,
                                               and 6, inclusive, abutting this right of way and during such time will have no
                                               rights of access except the general easement of travel. Any change of alignment
                                               or width that results in the vacation thereof shall terminate this condition of
                                               access rights as to the party vacated.

         Reference is hereby made to said document for full particulars.

19.      The following matters shown or disclosed by the filed or recorded map referred to in the legal description: Various
         notes and recitals

20.      Easement(s) for the purpose(s) shown below and rights incidental thereto as delineated or as offered for dedication,
         on the map of said tract/plat;

         Purpose:                     Landscape and/or retention basin
         Affects:                     As shown on said map




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                                                        EXCEPTIONS
                                                         (Continued)

21.      Matters contained in that certain document

         Entitled:                    Water Quality Management Plan and Urban Runoff BMP Transfer, Access and
                                      Maintenance Agreement
         Recording Date:              December 06, 2017
         Recording No:                Instrument No. 2017-0512010, of Official Records

         Reference is hereby made to said document for full particulars.

22.      Matters contained in that certain document

         Entitled:                    Glenroy Resort Development Agreement
         Recording Date:              March 8, 2018
         Recording No:                Instrument No. 2018-0089219, of Official Records

         Reference is hereby made to said document for full particulars.

23.      Terms and provisions contained in that certain unrecorded Parking License Agreement dated April 20, 2018 by
         and between Glenroy Coachella, LLC and Force-DMP LLC.

24.      Matters contained in that certain document

         Entitled:                    Memorandum of Tenancy in Common Agreement
         Recording Date:              April 24, 2018
         Recording No:                Instrument No. 2018-0156322, of Official Records

         Reference is hereby made to said document for full particulars.

25.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  The City of Coachella
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              September 06, 2018
         Recording No:                Instrument No. 2018-0359087, of Official Records
         Affects:                     A portion of said land as described therein

26.      Easement(s) for the purpose(s) shown below and rights incidental thereto, as granted in a document:

         Granted to:                  Southern California Gas Company, a California Corporation, its successors and assigns
         Purpose:                     Public utilities and incidental purposes
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423528, of Official Records
         Affects:                     A portion of said land as described therein




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                                                         EXCEPTIONS
                                                          (Continued)

27.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                      $24,400,000.00
         Dated:                       April 26, 2018
         Trustor/Grantor              Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Trustee:                     Stewart Title of California, Inc., a California corporation
         Beneficiary:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Loan No.:                    None shown
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162476,of Official Records

         Affects:                     The herein described Land and other land.

         A substitution of trustee under said deed of trust which names, as the substituted trustee, the following

         Trustee:                     Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350103, of Official Records

         A notice of default under the terms of said trust deed

         Executed by:                 Fidelity National Title Company
         Recording Date:              September 09, 2019
         Recording No:                Instrument No. 2019-0350104, of Official Records

         A notice of trustee’s sale under said deed of trust

         Executed by:                          Fidelity National Title Company
         Date, Time and Place of Sale:         February 9, 2021, at 09:00 AM, in front of the Corona Civic Center, 849 W.
                                               Sixth Street, Corona, CA 92882
         Recording Date:                       January 14, 2021
         Recording No:                         Instrument No. 2021-0025741, of Official Records

28.      An assignment of all the moneys due, or to become due as rental, as additional security for the obligations secured
         by deed of trust shown as item above

         Assigned to:                 U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162477,of Official Records

29.      A financing statement as follows:

         Debtor:                      Glenroy Coachella, LLC, a Delaware limited liability company; Force Rubin, LLC, a
                                      Delaware limited liability company; Force Rubin 2, LLC, a Delaware limited liability
                                      company; and Coachella Resort, LLC, a California limited liability company
         Secured Party:               U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership
         Recording Date:              April 26, 2018
         Recording No:                Instrument No. 2018-0162478,of Official Records




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                                                       EXCEPTIONS
                                                        (Continued)



30.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hi-Grade Materials Co
         Amount:                      $32,847.96
         Recording Date:              July 5, 2018
         Recording No:                Instrument No. 2018-0273102, of Official Records

31.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Glendale Plumbing and Fire Supply
         Amount:                      $23,792.54
         Recording Date:              October 26, 2018
         Recording No:                Instrument No. 2018-0423202, of Official Records

32.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Constructure, Inc.
         Amount:                      $301,119.50
         Recording Date:              January 22, 2019
         Recording No:                Instrument No. 2019-0022660, of Official Records

33.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC.
         Amount:                      $119,569.73
         Recording Date:              May 22, 2019
         Recording No:                Instrument No. 2019-0179443, of Official Records

34.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Ready Mix Concrete L.P.
         Amount:                      $20,571.27
         Recording Date:              May 29, 2019
         Recording No:                Instrument No. 2019-0190540, of Official Records

35.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    The Sherwin-Williams Company
         Amount:                      $33,333.11
         Recording Date:              June 3, 2019
         Recording No:                Instrument No. 2019-0198410, of Official Records

         Said mechanic’s lien has been partially released by instrument

         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0252361, of Official Records

         Claimant reduces its Mechanics’ Lien by $6,538.32, to reflect the current amount subject to the Claimant’s
         Mechanics’ Lien in the sum of $26,794.79.




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                                                       EXCEPTIONS
                                                        (Continued)

36.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $259,695.63
         Recording Date:              June 6, 2019
         Recording No:                Instrument No. 2019-0204095, of Official Records

37.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Blair Air, Inc. Dba Blair Heating & Air
         Amount:                      $297,443.80
         Recording Date:              June 7, 2019
         Recording No:                Instrument No. 2019-0206598, of Official Records

38.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Hajoca Corporation
         Amount:                      $39,636.17
         Recording Date:              June 11, 2019
         Recording No:                Instrument No. 2019-0210159, of Official Records

39.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    American Builders and Contractors Supply Co., Inc. – ABC Supply Co., Inc.
         Amount:                      $24,813.58
         Recording Date:              June 13, 2019
         Recording No:                Instrument No. 2019-0213172, of Official Records

40.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Electric Supply
         Amount:                      $61,574.60
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0218809, of Official Records




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                                                       EXCEPTIONS
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41.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Apple J Plumbing, Inc.
         Amount:                      $175,845.06
         Recording Date:              June 18, 2019
         Recording No:                Instrument No. 2019-0219453, of Official Records

42.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Jacobsson Engineering Construction, Inc.
         Amount:                      $1,042,299.00
         Recording Date:              June 21, 2019
         Recording No:                Instrument No. 2019-0225760, of Official Records

43.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    West Coast Sand and Gravel, Inc.
         Amount:                      $21,666.29
         Recording Date:              July 10, 2019
         Recording No:                Instrument No. 2019-0253543, of Official Records

44.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Superior Pool Products, LLC
         Amount:                      $14,386.05
         Recording Date:              July 11, 2019
         Recording No:                Instrument No. 2019-0254740 Official Records

45.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Resource Building Materials
         Amount:                      $1,905.04
         Recording Date:              July 15, 2019
         Recording No:                Instrument No. 2019-0258520, of Official Records

46.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $10,861.98
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293318, of Official Records

47.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    L&W Supply Corporation
         Amount:                      $8,643.42
         Recording Date:              August 05, 2019
         Recording No:                Instrument No. 2019-0293319, of Official Records




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                                                        (Continued)

48.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Desert Palms Electric, Inc.
         Amount:                      $389,839.09
         Recording Date:              August 6, 2019
         Recording No:                Instrument No. 2019-0295567, of Official Records

49.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $21,153.36
         Recording Date:              August 21, 2019
         Recording No:                Instrument No. 2019-0321135, of Official Records

50.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Ferguson Enterprises, LLC
         Amount:                      $119,569.73
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328148, of Official Records

51.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    TemalPakh, Inc., dba The Works Floor & Wall
         Amount:                      $33,628.46
         Recording Date:              August 26, 2019
         Recording No:                Instrument No. 2019-0328428, of Official Records

52.      A judgment for the amount shown below, and any other amounts due, entered in the United States District Court:

         Amount:                      $89,110.62 (Damages)
         Amount:                      $5,164.42 (Attorney’s Fees)
         Debtor:                      Glenroy Coachella, LLC, and Does 1-10
         Creditor:                    Silhouette Outdoor Furniture, Inc.
         Date entered:                July 02, 2019
         District:                    Central, State of California
         Case No:                     EDCV 19-00373-CJC (KKx)
         Recording Date:              August 29, 2019
         Recording No:                Instrument No. 2019-0336225, of Official Records

53.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    BMC West, LLC
         Amount:                      $50,290.00
         Recording Date:              September 11, 2019
         Recording No:                Instrument No. 2019-0354394, of Official Records




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54.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Doug Wall Construction, Inc.
         Amount:                      $3,876,856.10
         Recording Date:              September 12, 2019
         Recording No:                Instrument No. 2019-0356369, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $4,359,813.13
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0401936, of Official Records

55.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Blair Air, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glen Roy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906241
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0370664, of Official Records

56.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Al Miller & Sons Roofing Co., Inc.
         Amount:                      $111,631.71
         Recording Date:              September 20, 2019
         Recording No:                Instrument No. 2019-0372302, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $153,901.00
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402031, of Official Records

57.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Mascorro Concrete Construction, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906560
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376608, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668680, of Official Records



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58.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Apple J. Plumbing, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906579
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376609, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668682, of Official Records

59.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Desert Palms Electric, Inc.
         Defendant:                   Doug Wall Construction, Inc.; Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906554
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376610, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668681, of Official Records

60.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Ferguson Enterprises, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 1906136
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0376684, of Official Records

61.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Southwest Plumbing inc.
         Amount:                      $111,141.13
         Recording Date:              September 24, 2019
         Recording No:                Instrument No. 2019-0377201, of Official Records




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62.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $40,000.00
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379585, of Official Records

63.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    All Phase Drywall & Development, Inc.
         Amount:                      $396,871.43
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379586, of Official Records

64.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Tandem West Glass, Inc.
         Amount:                      $387,752.38
         Recording Date:              September 25, 2019
         Recording No:                Instrument No. 2019-0379822, of Official Records

         As affected by an Amended Mechanics Lien

         Amount:                      $795,971.26
         Recording Date:              October 7, 2019
         Recording No:                Instrument No. 2019-0402041, of Official Records

         As affected by a Second Amended Mechanics Lien

         Amount:                      $449,849.39
         Recording Date:              October 11, 2019
         Recording No:                Instrument No. 2019-0410373, of Official Records

65.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    GF Investment Group, Inc.
         Amount:                      $250,695.63
         Recording Date:              September 27, 2019
         Recording No:                Instrument No. 2019-385786, of Official Records

66.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    La Hacienda Nursery & Landscape, Inc.
         Amount:                      $146,717.74
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415743, of Official Records




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67.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Doug Wall Construction, Inc.
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907309
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 16, 2019
         Recording No:                Instrument No. 2019-0415790, of Official Records

68.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tmalpakh, Inc., a California corporation dba The Works Floor & Wall
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907262
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 23, 2019
         Recording No:                Instrument No. 2019-0428103, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668684, of Official Records

69.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Orco Block & Hardscape, a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1907155
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              October 25, 2019
         Recording No:                Instrument No. 2019-0432553, of Official Records

70.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   BMC West LLC, a Delaware limited liability company
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1908245
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              November 22, 2019
         Recording No:                Instrument No. 2019-0483250, of Official Records




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71.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   La Hacienda Nursery & Landscape, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909423
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 2, 2020
         Recording No:                Instrument No. 2020-0000938, of Official Records

72.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   All Phase Drywall & Development, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC1909367
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 9, 2020
         Recording No:                Instrument No. 2020-0009905, of Official Records

73.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Tandem West Glass, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000015
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013976, of Official Records

         Said Notice of Lis Pendens has been partially withdrawal by instrument

         Recording Date:              December 30, 2020
         Recording No:                Instrument No. 2020-0668679, of Official Records

74.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   Al Miller & Sons Roofing, Inc., a California corporation
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    PSC 2000009
         Nature of Action:            Foreclosure of Mechanic Lien
         Recording Date:              January 10, 2020
         Recording No:                Instrument No. 2020-0013979, of Official Records

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75.      Matters contained in that certain document

         Entitled:                    Stipulation and Order RE Appointment of Receiver and Preliminary Junction
         Recording Date:              January 29, 2020
         Recording No:                Instrument No. 2020-0044153, of Official Records

         Reference is hereby made to said document for full particulars.

76.      A pending court action as disclosed by a recorded notice:

         Plaintiff:                   U.S. Real Estate Credit Holdings III-A, LP
         Defendant:                   Glenroy Coachella, LLC; et al
         County:                      Riverside
         Court:                       Superior
         Case No.:                    RIC1905743
         Recording Date:              February 13, 2020
         Recording No.:               Instrument No. 2020-0068228, of Official Records

77.      Certificate of Indebtedness of the Receiver – Receiver Certificate No. 1

         Recording Date:              June 12, 2020
         Recording No.:               Instrument No. 2020-0252044 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252045 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252046 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252047 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252048 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252049 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252050 Official Records

         and Recording Date:          June 12, 2020
         and Recording No:            Instrument No. 2020-0252051 Official Records

78.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                    Gauston Corp
         Amount:                      $28,829.75
         Recording Date:              June 25, 2018
         Recording No:                Instrument No. 2018-0255143, of Official Records




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                                                        EXCEPTIONS
                                                         (Continued)

79.      Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed by the
         public records.

         The Company will require, for review, a full and complete copy of any unrecorded agreement, contract, license
         and/or lease, together with all supplements, assignments and amendments thereto, before issuing any policy of title
         insurance without excepting this item from coverage.

         The Company reserves the right to except additional items and/or make additional requirements after reviewing said
         documents.

80.      Any facts, rights, interests or claims that may exist or arise by reason of the following matters disclosed by a
         pending final ALTA/NSPS Survey prepared by Saxon Engineering Services, Inc., dated April 10, 2018, designated
         as Job No. Glenroy Coachella:

         a. Electrical vaults located on the northerly property line of Parcel 4.
         b. A cable television box located along the westerly boundary of Parcel 2.
         c. An electrical transformer located along the westerly boundary of Parcel 2.
         d. A street light pole encroaching in the southwest corner of Parcel 2.

81.      Any easements not disclosed by the public records as to matters affecting title to real property, whether or not said
         easements are visible and apparent.

82.      Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other matters which a correct
         survey would disclose and which are not shown by the public records.

83.      Matters which may be disclosed by an inspection and/or by a correct ALTA/ACSM Land Title Survey of said Land
         that is satisfactory to the Company, and/or by inquiry of the parties in possession thereof.



      PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
            FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.

                                                     END OF EXCEPTIONS




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PRELIMINARY REPORT                                                                               Fidelity National Title Company
YOUR REFERENCE:                                                                             ORDER NO.: 00346566-997-OC1-245


                                              REQUIREMENTS SECTION

1.       In order to complete this report, the Company requires a Statement of Information to be completed by the following
         party(s),

         Party(s):                    All Parties

         The Company reserves the right to add additional items or make further requirements after review of the requested
         Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under this order.
               Any title search includes matters that are indexed by name only, and having a completed Statement of
               Information assists the Company in the elimination of certain matters which appear to involve the parties
               but in fact affect another party with the same or similar name. Be assured that the Statement of Information
               is essential and will be kept strictly confidential to this file.

2.       The Company will require the following documents for review prior to the issuance of any title insurance predicated
         upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company:            Glenroy Coachella, LLC, a Delaware limited liability company,
                                               Force Rubin, LLC, a Delaware limited liability company,
                                               Force Rubin 2, LLC, a Delaware limited liability company
                                               Coachella Resort, LLC, a California limited liability company

         a)          A copy of its operating agreement, if any, and all amendments, supplements and/or modifications thereto,
                     certified by the appropriate manager or member.

         b)          If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendments thereto
                     with the appropriate filing stamps.

         c)          If the Limited Liability Company is member-managed, a full and complete current list of members certified
                     by the appropriate manager or member.

         d)          A current dated certificate of good standing from the proper governmental authority of the state in which
                     the entity is currently domiciled.

         e)          If less than all members, or managers, as appropriate, will be executing the closing documents, furnish
                     evidence of the authority of those signing.

         f)          If Limited Liability Company is a Single Member Entity, a Statement of Information for the Single
                     Member will be required.

         g)          Each member and manager of the LLC without an Operating Agreement must execute in the presence of a
                     notary public the Certificate of California LLC (Without an Operating Agreement) Status and Authority
                     form.

3.       This transaction requires high liability approval prior to close of escrow together with an inspection of the subject
         property.

         Please advise title department with an estimated date that your transaction will close so we can schedule the
         necessary approvals and inspections.

4.       The transaction contemplated in connection with this Report is subject to the review and approval of the Company’s
         Corporate Underwriting Department. The Company reserves the right to add additional items or make further
         requirements after such review.




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                                                      REQUIREMENTS
                                                          (Continued)

5.       Please call the Title Department five (5) days prior to the contemplated closing to determine if additional documents
         or information is required.

         Phone Number:                (949) 788-2800




                                                     END OF REQUIREMENTS




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PRELIMINARY REPORT                                                                              Fidelity National Title Company
YOUR REFERENCE:                                                                            ORDER NO.: 00346566-997-OC1-245


                                       INFORMATIONAL NOTES SECTION

1.       Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this report.

2.       Note: Please contact your Title Officer to obtain the current recording fees. Fidelity National Title Company will
         pay Fidelity National Title Insurance Company 12% of the title premium, as disclosed on lines 1107 and 1108 of the
         HUD-1.

3.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may demand
         arbitration. Arbitrable matters may include, but are not limited to, any controversy or claim between the Company
         and the insured arising out of or relating to this policy, any service of the Company in connection with its issuance
         or the breach of a policy provision or other obligation. Please ask your escrow or title officer for a sample copy of
         the policy to be issued if you wish to review the arbitration provisions and any other provisions pertaining to your
         Title Insurance coverage.

4.       Notice: Please be aware that due to the conflict between federal and state laws concerning the cultivation,
         distribution, manufacture or sale of marijuana, the Company is not able to close or insure any transaction involving
         Land that is associated with these activities.

5.       Pursuant to Government Code Section 27388.1, as amended and effective as of 1-1-2018, a Documentary Transfer
         Tax (DTT) Affidavit may be required to be completed and submitted with each document when DTT is being paid
         or when an exemption is being claimed from paying the tax. If a governmental agency is a party to the document,
         the form will not be required. DTT Affidavits may be available at a Tax Assessor-County Clerk-Recorder.

6.       The Company and its policy issuing agents are required by Federal law to collect additional information about
         certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this transaction is
         required to be reported under a Geographic Targeting Order issued by FinCEN, the Company or its policy issuing
         agent must be supplied with a completed ALTA Information Collection Form ("ICF") prior to closing the
         transaction contemplated herein.

         To protect the private information contained in the attached form and photo ID, please return via a secured
         method.




                                             END OF INFORMATIONAL NOTES

Blake.Uradomo/sp1




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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

          NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
          ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
          USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
          USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                            WIRE0016 (DSI Rev. 12/07/17)
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          Fidelity National Title Company
          1300 Dove Street, 3rd Floor, Newport Beach, CA 92660
          Phone: (949) 788-2800 ● Fax: (949) 341-0251




                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                   Underwritten by FNF Underwriters
CTC – Chicago Title company                                      CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                           CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California             FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California           FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                        CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                     CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                                 CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                               Last Saved: April 2, 2021 by SP1
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                                               FIDELITY NATIONAL FINANCIAL, INC.
                                                        PRIVACY NOTICE
Effective January 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
 contact information (e.g., name, address, phone number, email address);
 demographic information (e.g., date of birth, gender, marital status);
 identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
 financial account information (e.g. loan or bank account information); and
 other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
 information we receive from you or your agent;
 information about your transactions with FNF, our affiliates, or others; and
 information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
 Internet Protocol (IP) address and operating system;
 browser version, language, and type;
 domain name system requests; and
 browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
 To provide products and services to you or in connection with a transaction involving you.
 To improve our products and services.
 To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
 to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
 to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

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 to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
 to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
 in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.

For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.



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Your Consent To This Privacy Notice; Notice Changes; Use of Comments or Feedback
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 934-3354 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                          601 Riverside Avenue
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 1
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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
         For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                       2006 ALTA OWNER’S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: CHAPTER 11 TRUSTEE’S MOTION TO CONVERT CASE TO
ONE UNDER CHAPTER 7 PURSUANT TO 11 U.S.C. §1112(B); MEMORANDUM OF POINTS OF AUTHORITIES;
DECLARATION OF RICHARD A. MARSHACK IN SUPPORT will be served or was served (a) on the judge in chambers
in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On July 28,
2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On July 28, 2021, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on July 28, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA OVERNIGHT MAIL:
PRESIDING JUDGE’S COPY
HONORABLE SHERI BLUEBOND
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
EDWARD R. ROYBAL FEDERAL BUILDING AND COURTHOUSE
255 E. TEMPLE STREET, SUITE 1534 / COURTROOM 1539
LOS ANGELES, CA 90012

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 July 28, 2021                  Layla Buchanan                                                   /s/ Layla Buchanan
 Date                           Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:

       ATTORNEY FOR INTERESTED PARTY EFO FINANCIAL GROUP LLC: Steven M Berman sberman@slk-
        law.com, awit@shumaker.com; bgasaway@shumaker.com
       ATTORNEY FOR CREDITOR SAXON ENGINEERING SERVICES INC AND COMMITTEE OF UNSECURED
        CREDITORS: Daren Brinkman office@brinkmanlaw.com, 7764052420@filings.docketbird.com
       ATTORNEY FOR CREDITOR DOUG WALL CONSTRUCTION: Caroline Djang caroline.djang@bbklaw.com,
        laurie.verstegen@bbklaw.com; wilma.escalante@bbklaw.com
       INTERESTED PARTY COURTESY NEF: Jenny L Doling JD@jdl.law, dolingjr92080@notify.bestcase.com
       ATTORNEY FOR CREDITORS LASERSCOPIC MEDICAL CLINIC, LLC; LASERSCOPIC SPINAL CENTERS
        OF AMERICA, INC.; AND JOE SAMUEL BAILEY: Jonathan R Doolittle jonathan.doolittle@pillsburylaw.com
       ATTORNEY FOR U.S. TRUSTEE (LA): Eryk R Escobar eryk.r.escobar@usdoj.gov
       ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Chad V Haes chaes@marshackhays.com,
        chaes@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com; cmendoza@marshackhays.com;
        kfrederick@ecf.courtdrive.com
       ATTORNEY FOR CREDITOR BLAIR AIR, INC.: Brian S Harnik bharnik@rhlawfirm.com, bharnik@rhlawfirm.com
       ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
        cmendoza@ecf.courtdrive.com
       ATTORNEY FOR CREDITOR ORCO BLOCK & HARDSCAPE: William C Hoggard wch@wchlawgroup.com,
        admin@wchlawgroup.com
       INTERESTED PARTY COURTESY NEF: Mark S Horoupian mhoroupian@sulmeyerlaw.com,
        mhoroupian@ecf.inforuptcy.com; ccaldwell@sulmeyerlaw.com
       ATTORNEY FOR CREDITOR U.S. REAL ESTATE CREDITOR HOLDINGS III-A, LP: Marsha A Houston
        mhouston@reedsmith.com
       INTERESTED PARTY COURTESY NEF: Michael S Kogan mkogan@koganlawfirm.com
       ATTORNEY FOR INTERESTED PARTY GARY STIFFELMAN: Timothy R Laquer trl@ddclaw.com,
        trl@ddclaw.com
       ATTORNEY FOR DEBTOR GLENROY COACHELLA, LLC: Crystle Jane Lindsey crystle@wsrlaw.net,
        crystle@cjllaw.com; gabby@wsrlaw.net; dairi@wsrlaw.net
       INTERESTED PARTY COURTESY NEF: Tinho Mang tmang@marshackhays.com, tmang@ecf.courtdrive.com;
        kfrederick@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com
       TRUSTEE RICHARD A MARSHACK (TR): Richard A Marshack (TR) pkraus@marshackhays.com,
        rmarshack@iq7technology.com; ecf.alert+Marshack@titlexi.com
       ATTORNEY FOR CREDITOR PORSCHE FINANCIAL SERVICES, INC. dba BENTLEY FINANCIAL SERVICES
        and CREDITOR PORSCHE LEASING LTD: Stacey A Miller smiller@tharpe-howell.com
       ATTORNEY FOR INTERESTED PARTY STUART RUBIN: Sean A OKeefe sokeefe@okeefelc.com,
        seanaokeefe@msn.com
       INTERESTED PARTY COURTESY NEF: R Gibson Pagter, Jr.: gibson@ppilawyers.com, ecf@ppilawyers.com;
        pagterrr51779@notify.bestcase.com
       INTERESTED PARTY COURTESY NEF: Matthew D Pham mpham@hahnlawyers.com,
        marias@hahnlawyers.com; mpham@ecf.courtdrive.com
       ATTORNEY FOR CREDITOR LAW OFFICES OF JEFFREY D SEGAL, A PROFESSIONAL CORPORATION:
        Sheila M Pistone sheila@pistonelawoffice.com, sheilapistone@yahoo.com
       ATTORNEY FOR CREDITOR GF INVESTMENT GROUP, INC. DBA THE INVESTMENT CENTER, A
        CALIFORNIA CORPORATION: Maria Plumtree agrow@plumtreelaw.com, mplumtree@plumtreelaw.com
       ATTORNEY FOR CREDITORS AL MILLER & SONS ROOFING CO INC; APPLE J PLUMBING; DESERT
        PALM ELECTRIC INC; JACOBSSON ENGINEERING CONSTRUCTION INC; MASCORRO CONCRETE
        CONSTRUCTION INC; TANDEM WEST GLASS INC; TEMALPAKH INC DBA THE WORKS FLOOR & WALL:
        Thomas J Polis tom@polis-law.com, paralegal@polis-law.com; r59042@notify.bestcase.com
       ATTORNEY FOR CREDITOR CALIFORNIA STATEWIDE COMMUNITIES DEVELOPMENT AUTHORITY:
        Debra Riley driley@allenmatkins.com
       ATTORNEY FOR CREDITOR U.S. REAL ESTATE CREDITOR HOLDINGS III-A, LP: Christopher O Rivas
        crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       ATTORNEY FOR DEBTOR GLENROY COACHELLA, LLC: James R Selth jim@wsrlaw.net, jselth@yahoo.com;
        dairi@wsrlaw.net; gabby@wsrlaw.net; vinnet@ecf.inforuptcy.com

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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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       ATTORNEY FOR INTERESTED PARTY LATHAM MANAGEMENT & CONSULTING SERVICES, INC.:
        Leonard M Shulman lshulman@shulmanbastian.com
       ATTORNEY FOR INTERESTED PARTIES ELLIOT LANDER AND STUART RUBIN: Evan L Smith
        els@elsmithlaw.com
       ATTORNEY FOR INTERESTED PARTY EDWIN W. LESLIE, RECEIVER: Alan G Tippie
        atippie@sulmeyerlaw.com, atippie@ecf.courtdrive.com; pdillamar@sulmeyerlaw.com
       U.S. TRUSTEE (LA): United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       ATTORNEY FOR DEBTOR GLENROY COACHELLA, LLC: Daniel J Weintraub dan@wsrlaw.net,
        vinnet@ecf.inforuptcy.com; gabby@wsrlaw.net; dairi@wsrlaw.net


2. SERVED BY UNITED STATES MAIL: CONTINUED:

 DEBTOR                                            U.S. TRUSTEE
 GLENROY COACHELLA, LLC                            UNITED STATES TRUSTEE (LA)
 ATTN: OFFICER, A MANAGING OR                      915 WILSHIRE BLVD, SUITE 1850
 GENERAL AGENT, OR TO ANY                          LOS ANGELES, CA 90017-3560
 OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO
 RECEIVE SERVICE
 1801 S. LA CIENEGA BLVD., SUITE
 301
 LOS ANGELES, CA 90035-4658




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
